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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 GIUSEPPE BETTIOL and BARRY KING,
 derivatively on behalf of ENERGY TRANSFER
 LP,
                                                      Case No.: 3:19-cv-02890-X
        Plaintiffs,

        vs.
                                                      DEMAND FOR JURY TRIAL
 LE GP, LLC, KELCY L. WARREN, THOMAS
 E. LONG, JOHN W. MCREYNOLDS,
 MARSHALL S. MCCREA, III, MATTHEW S.
 RAMSEY, STEVEN R. ANDERSON,
 RICHARD D. BRANNON, RAY C. DAVIS,
 MICHAEL K. GRIMM, K. RICK TURNER,
 RAY W. WASHBURNE, and WILLIAM P.
 WILLIAMS,

        Defendants,

        and

 ENERGY TRANSFER LP,

        Nominal Defendant.


       VERIFIED CONSOLIDATED AMENDED UNITHOLDER DERIVATIVE
                            COMPLAINT

                                       INTRODUCTION

       Plaintiffs Giuseppe Bettiol (“Plaintiff Bettiol”) and Barry King (“Plaintiff King,” and

together with Plaintiff Bettiol, “Plaintiffs”), by their undersigned attorneys, derivatively and on

behalf of Energy Transfer LP (“Energy Transfer” or the “Company”), file this Verified

Consolidated Amended Unitholder Derivative Complaint against Defendants Kelcy L. Warren,

Thomas E. Long, John W. McReynolds, Marshall S. McCrea, III, Matthew S. Ramsey, Steven

R. Anderson, Richard D. Brannon, Ray C. Davis, Michael K. Grimm, K. Rick Turner, Ray W.


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Washburne, and William P. Williams (collectively, the “Individual Defendants”) and Defendant

LE GP, LLC (“LE GP” or the “General Partner,” and together with the Individual Defendants,

the “Defendants”) for Defendants’ breaches of fiduciary duties, unjust enrichment, waste of

corporate assets, abuse of control, gross mismanagement, and for contribution under Sections

10(b) and 21D of the Securities Exchange Act of 1934 (the “Exchange Act”). As for their

complaint against the Defendants, Plaintiffs allege the following based upon personal

knowledge as to themselves and their own acts, and information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiffs’ attorneys,

which included, among other things, a review of the Defendants’ public documents, conference

calls and announcements made by Defendants, United States Securities and Exchange

Commission (“SEC”) filings, wire and press releases published by and regarding Energy

Transfer, legal filings, news reports, securities analysts’ reports and advisories about the

Company, and information readily obtainable on the Internet. Plaintiffs believe that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable opportunity

for discovery.

                                  NATURE OF THE ACTION

       1.        This is a unitholder (i.e., shareholder) derivative action that seeks to remedy

wrongdoing committed by LE GP and its officers and directors that caused damage to Energy

Transfer from February 25, 2017 through the present (the “Relevant Period”). 1

       2.        Energy Transfer is a natural gas and oil services company based in Dallas, Texas.

The Company’s business activities, which are conducted throughout the U.S., involve

maintaining and operating multiple natural gas and natural gas liquids (“NGL”) pipelines and
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  Because Energy Transfer is a limited partnership, shares of the Company’s equity, which are
publicly traded, are referred to as “units.” Accordingly, holders of these units are referred to as
unitholders, rather than shareholders.
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storage facilities, including the Dakota Access Pipeline, the Rover Pipeline, and the Mariner

East pipelines.

       3.         Energy Transfer is organized as a Delaware limited partnership, and the

Company itself functions as an operating subsidiary of Defendant LE GP, the Company’s

general partner, which manages, directs, and controls all of Energy Transfer’s activities.

According to the Company’s SEC filings, Energy Transfer does not have officers or directors—

instead, it is managed by the Board of Directors (the “Board”) and executive officers of the

General Partner. Consequently, “the executive officers of [the General Partner] are [Energy

Transfer’s] executive officers.” See Energy Transfer’s annual report on Form 10-K filed with

the SEC on February 22, 2019 (the “2018 10-K”). The General Partner’s “directors and officers

have fiduciary duties to manage [Energy Transfer’s] business in a manner beneficial to [Energy

Transfer] and [its] Unitholders.”

       4.         The Company’s operations consist of inter/intrastate natural gas transportation

and storage, NGL transportation, storage, and fractionation services, crude and refined oil

transportation, and terminalling, acquisition, and marketing activities.        Energy Transfer

conducts these operations through its subsidiaries, which include Energy Transfer Operating,

L.P. (“ETO”), as well as Sunoco Logistics Partners L.P. and Sunoco, Inc. (collectively,

“Sunoco”).

       5.         In connection with its operations, the Company owns approximately 12,500

miles of intrastate and interstate natural gas transportation pipelines, which are among the

largest natural gas transportation systems in the U.S. Energy Transfer also owns and operates

three natural gas storage facilities located in Texas.




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        6.     One of the Company’s major pipeline systems is the Mariner East Pipeline, a

nearly $3 billion NGL pipeline project extending across Pennsylvania and through parts of West

Virginia and Ohio. The first phase of the Mariner East Pipeline, Mariner East 1 (“ME1”), began

operating in 2014. Soon after, construction began on Mariner East 2 (“ME2”), which eventually

became operational in December 2018. To date, the construction of the Mariner East Pipeline

has not gone smoothly, and has been marred by numerous temporary shutdowns, fines, and

protests.

        7.     However, the true, vast extent of the problems underlying the Mariner East

Pipeline and the Company’s associated pipeline projects was far greater than Defendants

admitted to the public. As would gradually come to light over the course of the Relevant Period,

Defendants had engaged in a number of fraudulent schemes—in violation of laws and

regulations, and in disregard for human life—in order to hasten the completion of the

Company’s pipelines at all costs.

        8.    The first of these schemes began after Sunoco submitted its initial permit

applications for ME2 to the Pennsylvania Department of Environmental Protection (“PDEP”).

Sunoco’s materials contained so many facial errors and technical deficiencies that PDEP was

required by law to reject the applications. Over two years after the initial submission, John

Quigley (“Quigley”), the former Secretary of PDEP, stated that Sunoco’s materials were still far

from acceptable.

        9.    During this period of time, the Defendants, acting independently or in concert

with the administration of Pennsylvania Governor Tom Wolf (“Governor Wolf”), secretly made

use of coercion, bribery, and/or other illicit means of forcing PDEP to approve the permits that

were vital to continuing the construction of the Mariner East Pipeline (collectively, the



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“Permitting Misconduct”). Ultimately, Quigley was ousted from PDEP, and Governor Wolf’s

administration caused PDEP to push the ME2 permits through in early 2017, albeit with

extensive special conditions to mitigate the still-problematic materials submitted by Sunoco.

       10.      Subsequently, the Defendants conspired to illicitly hire Pennsylvania Constables

(“Constables”) to provide security for the ME2 construction, usurping the Pennsylvania

Commonwealth’s prerogative to keep peace, and misusing the Constables’ authority to

intimidate and harass citizens. Defendants caused the Company to pay these Constables through

a convoluted series of shell companies and then failed to report these payments for wage tax

purposes, and the Constables failed to report the same payments for their income taxes

(collectively, the “Constable Misconduct”).

       11.      Ultimately, the Company’s ME2 and Mariner East 2X (“ME2X”) pipelines

(together and with ME1, the “Mariner East System”) and the expanded Revolution Pipeline

(“Revolution,” and together with the Mariner East System, the “Pipeline Projects”) became,

through Defendants’ rush to construct them quickly at the expense of public safety and the

environment, some of the most dangerous pipelines in Pennsylvania and in the United States.

Defendants further caused public officials in the governor’s administration, career officials at

regulatory agencies, and law enforcement officials to similarly disregard public safety, the

environment, and applicable laws and regulations (collectively, the “Construction Misconduct,”

and together with the Permitting Misconduct and the Constable Misconduct, the “Pipeline

Misconduct”).

       12.      Throughout the Relevant Period, Defendants concealed the Pipeline Misconduct

and the serious risks caused by the misconduct from the market, regulators, and the public,

instead making repeated, disingenuous claims that the safety and welfare of the communities in



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Pennsylvania was Energy Transfer’s utmost priority and highest value. During this period,

Defendants also continually projected dates and numbers for construction completion, in-service

dates, and throughput that were flatly impossible to fulfill at the time Defendants made those

statements. Similarly, Defendants made false representations to investors to conceal their legal

and regulatory noncompliance, which in large part involved further deceptive and untrue

statements made to regulators and the public.

       13.     Defendants also repeatedly, disingenuously claimed that they abided by the

Company’s Code of Business Conduct and Ethics (the “Code” or “Code of Conduct”). In

reality, the Defendants violated the spirit and the letter of the Code. For instance, although the

Code specifically forbade making “Sensitive Payments”—which included “payments to

government[] officials or employees” and “commercial bribes or kickbacks”—“whether lawful

or unlawful, designed to secure special treatment for the Partnership Group,” Defendants bribed

elected Pennsylvania law enforcement officials in plain contravention of Pennsylvania law and

shuffled the payments through subcontractors and shell companies to hide their crimes.

       14.     Safety and environmental issues—and the false and misleading statements that

Defendants made in connection—were material to unitholders because the Pipeline Projects had

unusually great risks, which the Company needed to competently manage so that the Pipeline

Projects could be profitable. Unlike ordinary utility pipelines that carry natural gas for cooking

and heating used by local homes and businesses, the Mariner East System was planned to carry

compressed NGLs, which are odorless and colorless, ordinarily undetectable, and highly

explosive. Specifically, ME2 and ME2X were intended to carry hundreds of millions of barrels

of NGLs from the Marcellus shale gas fields in western Pennsylvania east to the Marcus Hook

Industrial Complex at the eastern edge of Pennsylvania, just 20 miles southwest of Philadelphia.



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       15.     In addition to the heightened risks associated with transporting NGLs, the

Pipeline Projects also contended with Pennsylvania’s difficult topography, which is

characterized by mine voids from historic mining activities, pockets where natural limestone

and dolostone formations are dissolved by subterranean water, creating the potential for surface-

level collapse and unpredictable dissemination of pollutants, and steep and unstable slopes that

can interact with bedrock shale formations to cause “slips.” These geologic conditions make

landslides, sinkholes, and other kinds of subsidence particularly likely.

       16.     Many of the latent risks that the Defendants’ misconduct created were ultimately

realized. Repeated problems from construction of the Pipeline Projects occurred during the

Relevant Period and across the several concurrent projects Energy Transfer was pushing

forward in Pennsylvania. In West Whiteland Township in Chester County, for instance,

improper drilling techniques destroyed a number of homes and properties. As the Mariner East

System’s route went westward, it destroyed several lakes, polluted dozens of water crossings,

and caused hundreds of releases of pollutants. Then, before dawn on September 10, 2018,

Revolution exploded in a “geyser” of fire that destroyed homes and terrified local residents.

       17.     The number, severity, and repetition of violations led to harsh regulatory

scrutiny, millions of dollars in fines and penalties—including one $12.6 million penalty and one

$30.6 million penalty, the largest civil penalty PDEP has ever issued—added delay and costs,

and public and media opprobrium. Moreover, investigations into the Pipeline Misconduct have

been initiated by the Chester County District Attorney, by the Delaware County District

Attorney, by the Pennsylvania Attorney General, 2 by the U.S. Attorney for the Western District


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  The Pennsylvania Attorney General is conducting two investigations. The first, conducted
jointly with the Delaware County District Attorney, concerns ME2. The second concerns
Revolution.
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of Pennsylvania (which led to a federal grand jury subpoena for related documents), and by the

FBI. Defendants’ conduct also has given rise to civil litigation, including, inter alia, litigation

by Lisa Drive homeowners, suits by environmental advocacy groups and a Pennsylvania

legislator which have led to stop work injunctions, and suits brought by NGL producers seeking

to be released from their commitment contracts because of the non-operability of the pipeline by

the promised date.

       18.     The truth about the Pipeline Misconduct and its consequences reached the public

slowly and incompletely, and the disclosure thereof caused significant financial harm to

unknowing unitholders.

       19.     In early August 2018, after the Company disclosed a delay in the completion of

ME2 along with expected reductions in the pipeline’s throughput, the price of the Company’s

units fell from $18.45 per unit at market close on August 8, 2018, to $17.41 per unit on August

13, 2018, a 5.6% decline.

       20.     On October 29, 2018, PDEP ordered a subcontractor to immediately stop work

on Revolution because of unreported landsides and soil erosion from the pipeline route into

waterways. PDEP noted that this was in violation of Chapter 102, and ordered Energy Transfer

to provide a detailed plan to control erosion and landslides by November 9, 2018.

       21.     This news caused Energy Transfer’s unit price to fall from $15.46 per unit at

market close on October 28, 2018, to $14.84 per unit on October 29, 2018, a 4% decline.

       22.     On December 19, 2018, Chester County District Attorney Tom Hogan (“DA

Hogan”) announced that his office was commencing a criminal investigation into Energy

Transfer’s conduct with respect to the construction of ME2 in Chester County.




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       23.     News of the criminal investigation caused Energy Transfer’s unit price to fall

5.4%, from $12.97 per unit at market close on December 19, 2018, to close at $12.24 per unit

on December 21, 2018.

       24.     On August 8, 2019, DA Hogan announced that his office was charging

Pennsylvania Constables hired by Energy Transfer to guard pipeline construction sites with

bribery. As press reports elaborated, two constables were arrested “after prosecutors say they

improperly used their elected positions for personal profit while working security on the

Mariner East Pipeline.”

       25.     News of the charges against the Constables caused Energy Transfer’s unit price

to fall 4.6%, from $14.03 per unit at market close on August 8, 2019, to close at $13.38 per unit

on August 12, 2019.

       26.     On November 12, 2019, the Associated Press issued a report on its website

revealing that the Federal Bureau of Investigation (“FBI”) had begun investigating Governor

Wolf’s administration for corruption, in order to determine whether the administration had

forced PDEP officials to approve Energy Transfer’s construction permits. 3

       27.     News of the FBI investigation caused Energy Transfer’s unit price to fall 6.8%,

from $11.97 per unit at market close on November 11, 2019, to close at $11.16 per unit on

November 13, 2019.

       28.     Finally, on December 3, 2019, DA Hogan filed criminal bribery and conspiracy

charges against Energy Transfer’s head of security for ME2 and ME2X, stating in a press

release:

       Energy Transfer decided they needed security for the pipeline. But rather than
       simply hiring a private security firm, Energy Transfer decided to recruit and hire

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  See https://apnews.com/ffd3c53d855445cebfd0d5148b3860fa (last visited July 30, 2020).
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       armed Pennsylvania Constables to act as a private security force for the
       pipeline. Pennsylvania Constables are elected officials, who are permitted to carry
       out enumerated official duties, and are governed by the Pennsylvania Ethics Act.
       Pennsylvania State Constables are not permitted to use their official position or
       badges for private security jobs.

       29.     News of the Chester County DA criminal charges caused Energy Transfer’s unit

price to fall 2%, from $11.63 per unit at market close on December 2, 2019, to close at $11.40

per unit on December 3, 2019.

       30.     Defendants’ schemes have cost families their homes and communities their sense

of peace; caused serious ongoing risks to human health and safety; adversely impacted valuable

natural resources in the Commonwealth, including game fishing resources that provide

sustenance and recreation for citizens; and have actually delayed the Pipeline Projects, resulting

in reduced throughput and revenues. These costs are not just figurative; unitholders’ equity

stakes have been diminished in value as a result of fines, loss of reputation, increased costs to

redo or repair shoddy work, litigation, and other damages caused by the Defendants’

misconduct.

       31.     In sum, during the Relevant Period, the General Partner and the Individual

Defendants breached their fiduciary duties to Energy Transfer causing the Company to engage

in the Pipeline Misconduct, and by personally making and/or causing the Company to make to

the investing public a series of materially false and misleading statements regarding the

Company’s business, operations, and legal and regulatory compliance. Specifically, the General

Partner and the Individual Defendants willfully or recklessly made and/or caused the Company

to make false and misleading statements to the investing public that failed to disclose, inter alia,

that: (i) the construction permits issued by PDEP in connection with the ME2 and ME2X were

obtained by the Company through the use of coercion, bribery, or other improper methods; (ii)

construction of the Company’s pipelines was not conducted in conformity with the Company’s
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permits and violated both the permits and applicable laws and regulations; (iii) the Company

had in place an “unwritten policy” to hire on-duty law enforcement officials to provide private

security for its Pipeline Projects, which constituted bribery and violated numerous laws; (iv) the

foregoing misconduct substantially increased the risk that the Company would be subjected to

material investigations and/or litigation commenced by government authorities and others; and

(v) the Company failed to maintain internal controls. As a result of the foregoing, the

Company’s public statements were materially false and misleading at all relevant times.

       32.     Furthermore, the General Partner and the Individual Defendants breached their

fiduciary duties by failing to correct and causing the Company to fail to correct these false and

misleading statements and omissions of material fact to the investing public.

       33.     Also in breach of their fiduciary duties, the General Partner and the Individual

Defendants willfully or recklessly caused the Company to fail to maintain an adequate system

of oversight, disclosure controls and procedures, and internal controls over financial reporting.

       34.     In light of the General Partner and the Individual Defendants’ misconduct, which

has subjected the Company, the General Partner’s Chief Executive Officer (“CEO”), the

General Partner’s Chief Financial Officer (“CFO”), the General Partner’s President and Chief

Commercial Officer (“CCO”), the General Partner’s Chief Operating Officer (“COO”), the

General Partner’s former President and a current director, Energy Transfer’s former President,

Crude Liquids and Refined Products, and Energy Transfer’s Vice President of Public Affairs to

being named as defendants in a federal securities fraud class action lawsuit pending in the

United States District Court for the Eastern District of Pennsylvania (the “Securities Class

Action”), and has subjected the Company to criminal litigation and investigations brought by

the Chester County and Delaware County District Attorneys, the Pennsylvania Attorney



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General, the U.S. Attorney for the Western District of Pennsylvania, and the FBI; litigation

brought by Lisa Drive homeowners, environmental advocacy groups, a Pennsylvania legislator,

and NGL producers seeking to be released from their commitment contracts; the need to

undertake internal investigations, the need to implement adequate internal controls, the losses

from the waste of corporate assets, and the losses due to the unjust enrichment of the Individual

Defendants who were improperly over-compensated by the General Partner and/or who

benefitted from the wrongdoing alleged herein, the Company will have to expend many millions

of dollars.

        35.    In light of the breaches of fiduciary duty engaged in by Defendant LE GP, and of

the substantial likelihood of LE GP’s liability in this derivative action and in the Securities

Class Action, and of it not being disinterested and/or independent, LE GP cannot consider a

demand to commence litigation against itself and its officers and directors on behalf of the

Company with the requisite level of disinterestedness and independence.

                                JURISDICTION AND VENUE

        36.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims raise a federal question under Section 10(b) of the Exchange Act, 15. U.S.C. §

78j(b), and Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f).

        37.    This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because Plaintiffs’ claims raise a federal question pertaining to the claims made in the Securities

Class Action based on violations of the Exchange Act.

        38.    This Court has supplemental jurisdiction over Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367(a).

        39.    This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.
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        40.    The Court has personal jurisdiction over each of the Defendants because each

Defendant is either a corporation conducting business and maintaining operations in this

District, or he is an individual who has minimum contacts with this District to justify the

exercise of jurisdiction over them.

        41.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

a substantial portion of the transactions and wrongs complained of herein occurred in this

District, and the Defendants have received substantial compensation in this District by engaging

in numerous activities that had an effect in this District.

        42.    Venue is proper in this District because Energy Transfer and the Defendants

have conducted business in this District, and Defendants’ actions have had an effect in this

District.

                                             PARTIES

        Plaintiff Bettiol

        43.    Plaintiff Bettiol is a current unitholder of Energy Transfer. Plaintiff Bettiol has

continuously held Energy Transfer common units at all relevant times.

        Plaintiff King

        44.    Plaintiff King is a current unitholder of Energy Transfer. Plaintiff King has

continuously held Energy Transfer common units at all relevant times.

        Nominal Defendant Energy Transfer

        45.    Energy Transfer is a Delaware limited partnership with its principal executive

offices located at 8111 Westchester Drive, Suite 600, Dallas, Texas 75225. Energy Transfer’s

common units trade on the New York Stock Exchange (“NYSE”) under the ticker symbol “ET.”

        Defendant LE GP

        46.    LE GP is the general partner of Energy Transfer.
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       47.    Energy Transfer and LE GP are governed by the Company’s Partnership

Agreement. Per the Partnership Agreement, the General Partner conducts, directs and manages

all activities of the Company. All management powers over the business and affairs of the

Company are exclusively vested in the General Partner.

       Defendant Warren

       48.    Defendant Kelcy L. Warren (“Warren”) is a co-founder of the Company, and has

served as the General Partner’s Chairman and CEO since August 2007. He is also the majority

owner of the General Partner. According to the Company’s annual report on Form 10-K filed

with the SEC on February 21, 2020 (the “2019 10-K”), as of February 14, 2020, Defendant

Warren beneficially owned 252,037,063 of the Company’s common units, which represented

9.4% of the Company’s outstanding units as of that date. Given that the price per unit of the

Company’s common units at the close of trading on February 14, 2020 was $12.72, Defendant

Warren owned approximately $3.2 billion worth of Energy Transfer units.

       49.    The Company’s 2019 10-K stated the following about Defendant Warren:

       Kelcy L. Warren. Mr. Warren serves as Chairman and Chief Executive Officer
       of our general partner. He was appointed Co-Chairman of the Board of Directors
       of our general partner, effective upon the closing of our IPO, and in August 2007,
       he became the sole Chairman of the Board of our general partner and the Chief
       Executive Officer and Chairman of the Board of the general partner of ETO.
       Prior to that, Mr. Warren had served as Co-Chief Executive Officer and Co-
       Chairman of the Board of the general partner of ETO since the combination of the
       midstream and intrastate transportation storage operations of ETC OLP and the
       retail propane operations of Heritage in January 2004. Mr. Warren also served as
       the Chief Executive Officer of PennTex Midstream Partners, LP’s general partner
       from November 2016 to July 2017. Prior to the combination of the operations of
       ETO and Heritage Propane, Mr. Warren served as President of the general partner
       of ET Company I, Ltd. the entity that operated ETO’s midstream assets before it
       acquired Aquila, Inc.’s midstream assets, having served in that capacity since
       1996. From 1996 to 2000, he also served as a Director of Crosstex Energy, Inc.
       From 1993 to 1996, he served as President, Chief Operating Officer and a
       Director of Cornerstone Natural Gas, Inc. Mr. Warren has more than 30 years of
       business experience in the energy industry. The members of our general partner

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       selected Mr. Warren to serve as a director and as Chairman because he is ETO’s
       Chief Executive Officer and has more than 30 years in the natural gas industry.
       Mr. Warren also has relationships with chief executives and other senior
       management at natural gas transportation companies throughout the United States,
       and brings a unique and valuable perspective to the Board of Directors.

       Defendant Long

       50.    Defendant Thomas E. Long (“Long”) has served as the General Partner’s CFO

since February 2016, and has served as a director of the General Partner since April 2019.

According to the 2019 10-K, as of February 14, 2020, Defendant Long beneficially owned

221,560 of the Company’s common units. Given that the price per unit of the Company’s

common units at the close of trading on February 14, 2020 was $12.72, Defendant Long owned

approximately $2.81 million worth of Energy Transfer units.

       51.    For the fiscal year ended December 31, 2018, Defendant Long received

$6,609,967 in compensation from the General Partner. This included $537,338 in salary, a

$1,000,000 bonus, $4,251,335 in equity awards, $800,000 in non-equity incentive plan

compensation, and $21,294 in all other compensation. For the fiscal year ended December 31,

2019, Defendant Long received $4,845,208 in compensation from the General Partner. This

included $570,869 in salary, $3,352,795 in equity awards, $900,000 in non-equity incentive

plan compensation, and $21,544 in all other compensation.

       52.    The Company’s 2019 10-K stated the following about Defendant Long:

       Thomas E. Long. Mr. Long has served as the Chief Financial Officer of our
       general partner since February 2016 and a director of our general partner since
       April 2019. Mr. Long also served as the Chief Financial Officer and as a director
       of PennTex Midstream Partners, LP’s general partner from November 2016 to
       July 2017. Mr. Long also serves as Chief Financial Officer of ETO and was
       previously Executive Vice President and Chief Financial Officer of Regency GP
       LLC from November 2010 to April 2015. From May 2008 to November 2010,
       Mr. Long served as Vice President and Chief Financial Officer of Matrix Service
       Company. Prior to joining Matrix, he served as Vice President and Chief
       Financial Officer of DCP Midstream Partners, LP, a publicly traded natural gas

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       and natural gas liquids midstream business company located in Denver, Colorado.
       In that position, he was responsible for all financial aspects of the company since
       its formation in December 2005. From 1998 to 2005, Mr. Long served in several
       executive positions with subsidiaries of Duke Energy Corp., one of the nation’s
       largest electric power companies. Mr. Long has served as a director of Sunoco
       LP since May 2016, and as Chairman of the Board of USAC since April 2018.
       Mr. Long was selected to serve on our Board of Directors because of his
       understanding of energy-related corporate finance gained through his extensive
       experience in the energy industry.

       Defendant McReynolds

       53.    Defendant John W. McReynolds (“McReynolds”) served as the President of the

General Partner from March 2005 until October 2018, on which date he became Special

Advisor to the General Partner. He has also served as a director of the General Partner since

August 2005. According to the 2019 10-K, as of February 14, 2020, Defendant McReynolds

beneficially owned 27,270,400 of the Company’s common units, which represented 1.1% of the

Company’s outstanding units as of that date. Given that the price per unit of the Company’s

common units at the close of trading on February 14, 2020 was $12.72, Defendant McReynolds

owned approximately $384.4 million worth of Energy Transfer units.

       54.    For the fiscal year ended December 31, 2018, Defendant McReynolds received

$1,422,273 in compensation from the General Partner.        This included $606,306 in salary,

$800,000 in non-equity incentive plan compensation, and $15,967 in all other compensation.

       55.    The Company’s 2019 10-K stated the following about Defendant McReynolds:

       John W. McReynolds. Mr. McReynolds became Special Advisor to ET in
       October 2018. Prior to that time, Mr. McReynolds served as our President from
       March 2005 until October 2018. He has served as a Director since August 2005.
       He served as our Chief Financial Officer from August 2005 to June 2013, and
       previously served as a Director of ETO’s general partner from August 2001
       through May 2010. Mr. McReynolds has been in the energy industry for his entire
       career. Prior to joining Energy Transfer, Mr. McReynolds was in private law
       practice for over 20 years, specializing exclusively in energy-related finance,
       securities, corporations and partnerships, mergers and acquisitions, syndications,
       and a wide variety of energy-related litigation. His practice dealt with all forms
       of fossil fuels, and the transportation and handling thereof, together with the
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       financing and structuring of all forms of business entities related thereto. The
       members of our general partner selected Mr. McReynolds to serve in the indicated
       roles with the Energy Transfer partnerships because of this extensive background
       and experience, as well as his many contacts and relationships in the industry.

       Defendant McCrea

       56.    Defendant Marshall S. McCrea, III (“McCrea”) has served as the President and

CCO of the General Partner since October 2018, and he has served as a director of the General

Partner since December 2009. According to the 2019 10-K, as of February 14, 2020, Defendant

McCrea beneficially owned 2,087,848 of the Company’s common units. Given that the price

per unit of the Company’s common units at the close of trading on February 14, 2020 was

$12.72, Defendant McCrea owned approximately $26.5 million worth of Energy Transfer units.

       57.    For the fiscal year ended December 31, 2018, Defendant McCrea received

$10,780,120 in compensation from the General Partner. This included $1,059,976 in salary,

$7,834,782 in equity awards, $1,866,000 in non-equity incentive plan compensation, and

$19,362 in all other compensation. For the fiscal year ended December 31, 2019, Defendant

McCrea received $11,601,341 in compensation from the General Partner.           This included

$1,094,260 in salary, $8,734,720 in equity awards, $1,750,817 in non-equity incentive plan

compensation, and $21,544 in all other compensation.

       58.    The Company’s 2019 10-K stated the following about Defendant McCrea:

       Marshall S. (Mackie) McCrea, III. Mr. McCrea is the President and Chief
       Commercial Officer of our general partner, having served in that role since
       October 2018 following the merger of Energy Transfer Equity, L.P. and Energy
       Transfer Partners, L.P. Prior to that time, he had been the Group Chief Operating
       Officer and Chief Commercial Officer of the Energy Transfer family since
       November 2015. Mr. McCrea has served on the Board of Directors of our general
       partner since December 2009. Mr. McCrea was appointed as a director of the
       general partner of ETO in December 2009. Prior to that, he served as President
       and Chief Operating Officer of ETO’s general partner from June 2008 to
       November 2015 and President – Midstream from March 2007 to June 2008.
       Previously he served as the Senior Vice President – Commercial Development
       since January 2004. In March 2005, Mr. McCrea was named President of La
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       Grange Acquisition LP, ETO’s primary operating subsidiary, after serving as
       Senior Vice President-Business Development and Producer Services since 1997.
       Mr. McCrea also served as the Chairman of the Board of Directors of the general
       partner of Sunoco Logistics from October 2012 to April 2017. The members of
       our general partner selected Mr. McCrea to serve as a director because he brings
       extensive project development and operational experience to the Board. He has
       held various positions in the natural gas business over the past 25 years and is
       able to assist the Board of Directors in creating and executing the Partnership’s
       strategic plan.

       Defendant Ramsey

       59.    Defendant Matthew S. Ramsey (“Ramsey”) has served as the COO of the

General Partner since October 2018, and he has served as a director of the General Partner since

July 2012.   According to the 2019 10-K, as of February 14, 2020, Defendant Ramsey

beneficially owned 258,213 of the Company’s common units. Given that the price per unit of

the Company’s common units at the close of trading on February 14, 2020 was $12.72,

Defendant Ramsey owned approximately $3.28 million worth of Energy Transfer units.

       60.    For the fiscal year ended December 31, 2018, Defendant Ramsey received

$4,400,195 in compensation from the General Partner.        This included $662,486 in salary,

$2,818,415 in equity awards, $900,000 in non-equity incentive plan compensation, and $19,294

in all other compensation. For the fiscal year ended December 31, 2019, Defendant Ramsey

received $4,715,743 in compensation from the General Partner. This included $683,913 in

salary, $3,123,186 in equity awards, $889,100 in non-equity incentive plan compensation, and

$19,544 in all other compensation.

       61.    The Company’s 2019 10-K stated the following about Defendant Ramsey:

       Matthew S. Ramsey. Mr. Ramsey was appointed as a director of ET’s general
       partner in July 2012 and as a director of ETO’s general partner in November
       2015. Mr. Ramsey has been the Chief Operating Officer or our general partner
       since October 2018 following the merger of Energy Transfer Equity, L.P. and
       Energy Transfer Partners, L.P., and currently serves as President and Chief
       Operating Officer of ETO’s general partner since November 2015. Mr. Ramsey
       also served as President and Chief Operating Officer and Chairman of the board
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       of directors of PennTex Midstream Partners, LP’s general partner from November
       2016 to July 2017. Mr. Ramsey is also a director of Sunoco LP, having served as
       chairman of Sunoco LP’s board since April 2015, and of USAC, having served on
       that board since April 2018. Mr. Ramsey previously served as President of RPM
       Exploration, Ltd., a private oil and gas exploration partnership, and previously
       served as a director of RSP Permian, Inc. where he served on the audit and
       compensation committees. Mr. Ramsey formerly served as President of DDD
       Energy, Inc. until its sale in 2002. From 1996 to 2000, Mr. Ramsey served as
       President and Chief Executive Officer of OEC Compression Corporation, Inc., a
       publicly traded oil field service company, providing gas compression services to a
       variety of energy clients. Previously, Mr. Ramsey served as Vice President of
       Nuevo Energy Company, an independent energy company. Additionally, he was
       employed by Torch Energy Advisors, Inc., a company providing management and
       operations services to energy companies including Nuevo Energy, last serving as
       Executive Vice President. Mr. Ramsey joined Torch Energy as Vice President of
       Land and was named Senior Vice President of Land in 1992. Mr. Ramsey holds a
       B.B.A. in Marketing from the University of Texas at Austin and a J.D. from
       South Texas College of Law. Mr. Ramsey is a graduate of Harvard Business
       School Advanced Management Program. Mr. Ramsey is licensed to practice law
       in the State of Texas. He is qualified to practice in the Western District of Texas
       and the United States Court of Appeals for the Fifth Circuit. Mr. Ramsey
       formerly served as a director of Southern Union Company. The members of our
       general partner recognize Mr. Ramsey’s vast experience in the oil and gas space
       and believe that he provides valuable industry insight as a member of our Board
       of Directors.

       Defendant Anderson

       62.        Defendant Steven R. Anderson (“Anderson”) has served as a director of the

General Partner since June 2018. He also serves as a member of the General Partner’s Audit

Committee and Compensation Committee. According to the 2019 10-K, as of February 14,

2020, Defendant Anderson beneficially owned 1,544,598 of the Company’s common units.

Given that the price per unit of the Company’s common units at the close of trading on February

14, 2020 was $12.72, Defendant Anderson owned approximately $19.6 million worth of Energy

Transfer units.

       63.        For the fiscal year ended December 31, 2018, Defendant Anderson received

$135,960 in compensation from the General Partner. This included $91,760 in fees paid in cash

and $44,200 in unit awards. For the fiscal year ended December 31, 2019, Defendant Anderson
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received $222,498 in compensation from the General Partner. This included $122,500 in fees

paid in cash and $99,998 in unit awards.

       64.    The Company’s 2019 10-K stated the following about Defendant Anderson:

       Steven R. Anderson. Mr. Anderson was elected to the Board of Directors of our
       general partner in June 2018 and serves on the audit committee and compensation
       committee. Mr. Anderson began his career in the energy business in the early
       1970's with Conoco in the Permian Basin area. He then spent some 25 years with
       ANR Pipeline and its successor, The Coastal Corporation, as a natural gas supply
       and midstream executive. He later was Vice President of Commercial Operations
       with Aquila Midstream and, upon the sale of that business to Energy Transfer in
       2002, he became a part of the management team there. For the six years prior to
       his retirement from Energy Transfer in October 2009, he served as Vice President
       of Mergers and Acquisitions. Since that time, he has been involved in private
       investments and has served on the boards of directors of the St. John Health
       System and Saint Simeon's Episcopal Home in Tulsa, Oklahoma, as well as
       various other community and civic organizations. Mr. Anderson also served as a
       member of the board of directors of Sunoco Logistics Partners L.P. from October
       2012 until April 2017. The members of our general partner selected Mr.
       Anderson to serve on our Board of Directors based on his experience in the
       midstream energy industry generally, and his knowledge of Energy Transfer’s
       business specifically. Mr. Anderson also brings recent experience on audit and
       compensation committees of another publicly traded partnership.

       Defendant Brannon

       65.    Defendant Richard D. Brannon (“Brannon”) has served as a director of the

General Partner since March 2016. He also serves as the Chairman of the General Partner’s

Audit Committee. According to the 2019 10-K, as of February 14, 2020, Defendant Brannon

beneficially owned 292,102 of the Company’s common units. Given that the price per unit of

the Company’s common units at the close of trading on February 14, 2020 was $12.72,

Defendant Brannon owned approximately $3.71 million worth of Energy Transfer units.

       66.    For the fiscal year ended December 31, 2018, Defendant Brannon received

$294,225 in compensation from the General Partner. This included $194,225 in fees paid in

cash and $100,000 in unit awards. For the fiscal year ended December 31, 2019, Defendant



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Brannon received $224,498 in compensation from the General Partner. This included $125,000

in fees paid in cash and $99,998 in unit awards.

       67.     The Company’s 2019 10-K stated the following about Defendant Brannon:

       Richard D. Brannon. Mr. Brannon was appointed to the Board of Directors of
       our general partner in March 2016 and has served as the Chairman of the audit
       committee snice April 2016. Mr. Brannon is the CEO of CH4 Energy II, CH4
       Energy Six, and CH4 Energy-Finley Utah, LLC, all independent companies
       focused on horizontal oil and gas development. Mr. Brannon previously served
       on the board of directors of WildHorse Resource Development from its IPO in
       December 2016 until June 2018. Mr. Brannon also formerly served on the Board
       of Directors and as a member of the audit committee and compensation
       committee of Sunoco LP, Regency, OEC Compression and Cornerstone Natural
       Gas Corp. He has over 35 years of experience in the energy business, having
       started his career in 1981 with Texas Oil & Gas. The members of our general
       partner selected Mr. Brannon to serve as director based on his knowledge of the
       energy industry and his experience as a director and audit and compensation
       committee member for other public companies.

       Defendant Davis

       68.     Defendant Ray C. Davis (“Davis”) is a co-founder of the Company, and he has

served as a director of the General Partner since July 2018. He also served as a director of ETO

from February 2013 until February 2018. According to the 2019 10-K, as of February 14, 2020,

Defendant Davis beneficially owned 87,891,686 of the Company’s common units, which

represented 3.3% of the Company’s outstanding units as of that date. Given that the price per

unit of the Company’s common units at the close of trading on February 14, 2020 was $12.72,

Defendant Davis owned approximately $1.11 billion worth of Energy Transfer units.

       69.     For the fiscal year ended December 31, 2018, Defendant Davis received $67,700

in compensation from the General Partner for his role as a Company director. This included

$25,000 in fees paid in cash and $42,700 in unit awards.         He also received $49,750 in

compensation from the General Partner for his role as a director of ETO, which consisted

entirely of fees paid in cash. For the fiscal year ended December 31, 2019, Defendant Davis


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received $199,998 in compensation from the General Partner. This included $100,000 in fees

paid in cash and $99,998 in unit awards.

       70.    The Company’s 2019 10-K stated the following about Defendant Davis:

       Ray C. Davis. Mr. Davis was appointed to the Board of Directors of the general
       partner of Energy Transfer LP in July 2018 and served on the Board of Directors
       of Energy Transfer Partners, L.L.C. from February 2018 until July 2018. From
       February 2013 until February 2018, Mr. Davis was an independent investor. He
       has also been a principal owner, and served as co-chairman of the board of
       directors, of the Texas Rangers major league baseball club since August 2010.
       Mr. Davis previously served on the Board of Directors of Energy Transfer LP
       (formerly Energy Transfer Equity, L.P.), effective upon the closing of its IPO in
       February 2006 until his resignation in February 2013. Mr. Davis also served as
       ETO’s Co-Chief Executive Officer from the combination of the midstream and
       transportation operations and the retail propane operations in January 2004 until
       his retirement from these positions in August 2007, and as the Co-Chairman of
       the Board of Directors of our general partner from January 2004 until June 2011.
       Mr. Davis also held various executive positions with Energy Transfer prior to
       2004. From 1996 to 2000, he served as a Director of Crosstex Energy, Inc. From
       1993 to 1996, he served as Chairman of the Board of Directors and Chief
       Executive Officer of Cornerstone Natural Gas, Inc. Our general partner selected
       Mr. Davis to serve as director based on his over 40 years of business experience
       in the energy industry and his expertise in the Partnership’s asset portfolio.

       Defendant Grimm

       71.    Defendant Michael K. Grimm (“Grimm”) has served as a director of the General

Partner since October 2018, and serves as a member of the General Partner’s Audit Committee

and Compensation Committee. He has also served as a director of ETO since December 2005.

According to the 2019 10-K, as of February 14, 2020, Defendant Grimm beneficially owned

110,639 of the Company’s common units. Given that the price per unit of the Company’s

common units at the close of trading on February 14, 2020 was $12.72, Defendant Grimm

owned approximately $1.4 million worth of Energy Transfer units.

       72.    For the fiscal year ended December 31, 2018, Defendant Grimm received

$305,493 in compensation from the General Partner for his role as a director of ETO. This

included $205,425 in fees paid in cash and $100,068 in unit awards. For the fiscal year ended
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December 31, 2019, Defendant Grimm received $229,998 in compensation from the General

Partner. This included $130,000 in fees paid in cash and $99,998 in unit awards.

       73.    The Company’s 2019 10-K stated the following about Defendant Grimm:

       Michael K. Grimm. Mr. Grimm was appointed to the Board of Directors of our
       general partner in October 2018, and has served on the audit committee and
       compensation committee since that time. Prior to that time, Mr. Grimm served as
       a director of ETO’s general partner beginning in December 2005, and served on
       the audit and compensation committee during that time. Mr. Grimm is one of the
       original founders of Rising Star Energy, L.L.C., a privately held upstream
       exploration and production company active in onshore continental United States,
       and served as its President and Chief Executive Officer from 1995 until 2006
       when it was sold. Mr. Grimm is currently President of Rising Star Petroleum,
       LLC. Mr. Grimm was formerly Chairman of the Board of RSP Permian, Inc.
       (NYSE: RSPP) from January 2014 until June 2018 and since November 2018 has
       served on the Board of Directors of Anadarko Petroleum Corporation (NYSE:
       APC). Prior to the formation of Rising Star, Mr. Grimm was Vice President of
       Worldwide Exploration and Land for Placid Oil Company from 1990 to 1994.
       Prior to joining Placid Oil Company, Mr. Grimm was employed by Amoco
       Production Company for thirteen years where he held numerous positions
       throughout the exploration department in Houston, New Orleans and Chicago.
       Mr. Grimm has been an active member of the Independent Petroleum Association
       of America, the American Association of Professional Landmen, Dallas
       Producers Club, Houston Producers Forum, Fort Worth Wildcatters and the All-
       American Wildcatters. He has a B.B.A. from the University of Texas at Austin.
       The members of our general partner selected Mr. Grimm to serve as a director
       because of his extensive experience in the energy industry and his service as a
       senior executive at several energy-related companies, in addition to his contacts in
       the industry gained through his involvement in energy-related organizations.

       Defendant Turner

       74.    Defendant K. Rick Turner (“Turner”) served as a director of the General Partner

from October 2002 until he resigned on June 1, 2018.

       75.    For the fiscal year ended December 31, 2018, Defendant Turner received

$199,701 in compensation from the General Partner for his role as a Company director. This

included $99,701 in fees paid in cash and $100,000 in unit awards. He also received $146,620

in compensation from the General Partner for his role as a director of Sunoco, which consisted

of $46,614 in fees paid in cash and $100,006 in unit awards.
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       76.    The Company’s annual report on Form 10-K filed with the SEC on February 23,

2018 (the “2017 10-K”) stated the following about Defendant Turner:

       K. Rick Turner. Mr. Turner has served as a director of our general partner since
       October 2002. Mr. Turner currently serves as chair of the Compensation
       Committee and a member of the Audit Committee. Mr. Turner is also a director
       of Sunoco LP, serving as chair of Sunoco LP’s compensation and audit
       committees. Mr. Turner is presently a managing director of Altos Energy
       Partners, LLC. Mr. Turner previously was a private equity executive with several
       groups after retiring from the Stephens’ family entities, which he had worked for
       since 1983. He first became a private equity principal in 1990 after serving as the
       Assistant to the Chairman, Jackson T. Stephens. His areas of focus have been oil
       and gas exploration, natural gas gathering, processing industries, and power
       technology. Prior to joining Stephens, he was employed by Peat, Marwick,
       Mitchell and Company. Mr. Turner currently serves as a director of AmeriGas
       Partners, L.P. Mr. Turner earned his B.S.B.A. from the University of Arkansas
       and is a non-practicing Certified Public Accountant. The members of our general
       partner selected Mr. Turner based on his industry knowledge, his background in
       corporate finance and accounting, and his experience as a director and audit
       committee member on the boards of several other companies.

       Defendant Washburne

       77.    Defendant Ray W. Washburne (“Washburne”) has served as a director of the

General Partner since April 2019.     He also serves as a member of the General Partner’s

Compensation Committee. According to the 2019 10-K, as of February 14, 2020, Defendant

Washburne beneficially owned 2,110 of the Company’s common units. Given that the price per

unit of the Company’s common units at the close of trading on February 14, 2020 was $12.72,

Defendant Washburne owned approximately $26,839 worth of Energy Transfer units.

       78.    For the fiscal year ended December 31, 2019, Defendant Washburne received

$81,881 in compensation from the General Partner. This included $48,756 in fees paid in cash

and $33,125 in unit awards.

       79.    The Company’s 2019 10-K stated the following about Defendant Washburne:

       Ray W. Washburne. Mr. Washburne was appointed to the Board of Directors of
       our general partner in April 2019. He is currently President and Chief Executive
       Officer of Charter Holdings, Inc., a Dallas-based investment company involved in
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       real estate, restaurants and diversified financial investments. In addition, he
       currently serves on the President’s Intelligence Advisory Board (PIAB). From
       August 2017 to February 2019, Mr. Washburne served as the President and Chief
       Executive Officer of the Overseas Private Investment Corporation (OPIC), the
       United States government’s development finance institution. From 2000 to 2017,
       Mr. Washburne served on the board of directors of Veritex Holdings, Inc.
       (Nasdaq: VBTX), a Texas -based bank holding company that conducts banking
       activities through its subsidiary, Veritex Community Bank. He has also served as
       an adjunct professor at the Cox School of Business at Southern Methodist
       University. Mr. Washburne is also a member of the Republican Governors
       Association Executive Roundtable, the American Enterprise Institute, the Council
       on Foreign Relations, and is on the Advisory Board of the United States Southern
       Command. The members of our general partners selected Mr. Washburne to serve
       on the Board of Directors because of his expertise in international finance, his
       relationships in government, and his experience on the board of a publicly traded
       company.

       Defendant Williams

       80.    Defendant William P. Williams (“Williams”) served as a director of the General

Partner from March 2012 until he resigned on October 19, 2018.

       81.    For the fiscal year ended December 31, 2018, Defendant Williams received

$228,650 in compensation from the General Partner. This included $128,650 in fees paid in

cash and $100,000 in unit awards.

       82.    The Company’s 2017 10-K stated the following about Defendant Williams:

       William P. Williams. Mr. Williams was appointed as a director in March 2012
       and currently serves as a member of the Audit Committee. Mr. Williams began
       his career in the oil and gas industry in 1967 with Texas Power and Light
       Company as Manager of Pipeline Construction for Bi-Stone Fuel Company, a
       predecessor of Texas Utilities Fuel Company. In 1980, he was employed by
       Endevco as Vice President of Pipeline and Plant Construction, Engineering, and
       Operations. Prior to Endevco, he worked for Cornerstone Natural Gas. Mr.
       Williams later joined Energy Transfer Partners, L.P. as Vice President of
       Engineering and Operations, ending his career as Vice President of Measurement
       in May 2011. The members of our general partner selected Mr. Williams due to
       his experience in the pipeline industry and his familiarity with our business.




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                       FIDUCIARY DUTIES OF THE DEFENDANTS

       83.     By reason of Defendant LE GP’s role as the general partner of Energy Transfer,

and by reason of the Individual Defendants’ positions as officers, directors, and/or fiduciaries of

the General Partner and the Company, and because of their ability to control the business and

corporate affairs of Energy Transfer, Defendant LE GP and the Individual Defendants owed

Energy Transfer and its unitholders fiduciary obligations of trust, loyalty, good faith, and due

care, and were and are required to use their utmost ability to control and manage Energy

Transfer in a fair, just, honest, and equitable manner.

       84.     The General Partner, and each director and officer of the General Partner owes to

Energy Transfer and its unitholders the fiduciary duty to exercise good faith and diligence in the

administration of the Company and in the use and preservation of its property and assets.

       85.     The General Partner, as well as the Individual Defendants, because of their

positions of control and authority as directors and/or officers of the General Partner, were able

to and did, directly or indirectly, exercise control over the wrongful acts complained of herein.

       86.     To discharge their duties, the General Partner and the officers and directors of

the General Partner were required to exercise reasonable and prudent supervision over the

management, policies, controls, and operations of the Company.

       87.     Defendant LE GP, by virtue of its role as general partner of the Company, and

each Individual Defendant, by virtue of his or her position as a director and/or officer, owed to

the Company and to its unitholders the fiduciary duties of loyalty, good faith, and the exercise

of due care and diligence in the management and administration of the affairs of the Company,

as well as in the use and preservation of its property and assets. The conduct of the Individual

Defendants complained of herein involves a knowing and culpable violation of their obligations

as directors and officers of the General Partner, the absence of good faith on their part, or a
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reckless disregard for their duties to the Company and its unitholders that the Individual

Defendants were aware or should have been aware posed a risk of serious injury to the

Company.

       88.     As general partner, and senior executive officers and directors of the general

partner of a publicly-traded company whose common units were registered with the SEC

pursuant to the Exchange Act and traded on the NYSE, the Defendants had a duty to prevent

and not to effect the dissemination of inaccurate and untruthful information with respect to the

Company’s financial condition, performance, growth, operations, financial statements, business,

products, management, earnings, internal controls, and present and future business prospects,

including the dissemination of false information regarding the Company’s business, prospects,

and operations, and had a duty to cause the Company to disclose in its regulatory filings with

the SEC all those facts described in this Complaint that it failed to disclose, so that the market

price of the Company’s common stock would be based upon truthful and accurate information.

       89.     To discharge their duties, the General Partner and the officers and directors of

the General Partner were required to exercise reasonable and prudent supervision over the

management, policies, practices, and internal controls of the Company. By virtue of such

duties, the officers and directors of the General Partner were required to, among other things:

               (a)    ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Delaware and the United States, and

pursuant to Energy Transfer’s own Code of Conduct;

               (b)    conduct the affairs of the Company in an efficient, business-like manner

so as to make it possible to provide the highest quality performance of its business, to avoid

wasting the Company’s assets, and to maximize the value of the Company’s stock;



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               (c)     remain informed as to how Energy Transfer conducted its operations,

and, upon receipt of notice or information of imprudent or unsound conditions or practices, to

make reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of Energy Transfer and procedures for the reporting of the business

and internal affairs to the Board and to periodically investigate, or cause independent

investigation to be made of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that Energy Transfer’s operations would

comply with all applicable laws and Transfer’s financial statements and regulatory filings filed

with the SEC and disseminated to the public and the Company’s unitholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other

financial information concerning the financial affairs of the Company and to make full and

accurate disclosure of all material facts concerning, inter alia, each of the subjects and duties set

forth above.

       90.     At all times relevant hereto, the Individual Defendants were the agents of each

other, of the General Partner, and of Energy Transfer and were at all times acting within the



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course and scope of such agency.

       91.     Because of their advisory, executive, managerial, and directorial positions with

the General Partner, each of the Individual Defendants had access to adverse, non-public

information about the Company.

       92.     The Defendants, because of their positions of control and authority, were able to

and did, directly or indirectly, exercise control over the wrongful acts complained of herein, as

well as the contents of the various public statements issued by Energy Transfer.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       93.     In committing the wrongful acts alleged herein, the Defendants have pursued, or

joined in the pursuit of, a common course of conduct, and have acted in concert with and

conspired with one another in furtherance of their wrongdoing. The Defendants caused the

Company to conceal the true facts as alleged herein. The Defendants further aided and abetted

and assisted each other in breaching their respective duties.

       94.     The purpose and effect of the conspiracy, common enterprise, and common

course of conduct was, among other things, to: (i) facilitate and disguise the General Partner and

the Individual Defendants’ violations of law, including breaches of fiduciary duty, unjust

enrichment, waste of corporate assets, gross mismanagement, and abuse of control; (ii) conceal

adverse information concerning the Company’s operations, financial condition, legal

compliance, future business prospects and internal controls; and (iii) to artificially inflate the

Company’s stock price.

       95.     The     Defendants accomplished their conspiracy, common enterprise, and

common course of conduct by causing the Company purposefully or recklessly to conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance



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of this plan, conspiracy, and course of conduct, the Defendants collectively and individually

took the actions set forth herein.

       96.     The General Partner and each of the Individual Defendants aided and abetted and

rendered substantial assistance in the wrongs complained of herein. In taking such actions to

substantially assist the commission of the wrongdoing complained of herein, each of the

Individual Defendants acted with actual or constructive knowledge of the primary wrongdoing,

either took direct part in, or substantially assisted in the accomplishment of that wrongdoing,

and was or should have been aware of his or her overall contribution to and furtherance of the

wrongdoing.

       97.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants, of the General Partner, and of Energy Transfer, and

was at all times acting within the course and scope of such agency.

                        ENERGY TRANSFER’S CODE OF CONDUCT

       98.     Regarding the Company’s policy objectives, the Company’s Code of Conduct

states the following:

       LE GP, LLC (the “Company”), the general partner of Energy Transfer LP (the
       “Partnership”), has adopted a number of policies dealing with business conduct
       and ethics of the Company and the Partnership (collectively, the “Partnership
       Group”). We believe that strict adherence to these policies is not only right, but is
       in the best interest of the Company, its unitholders, its customers, and the industry
       in general. In all instances, the policies of the Company require that the
       business of the Partnership Group be conducted in a lawful and ethical
       manner. Every Employee acting on behalf of the Partnership Group must
       adhere to these policies. 4

       99.     The Code of Conduct defines the term “Employee” as including “all employees

of the Partnership Group who provide services to or for the benefit of the Partnership Group,

and the officers and members of the Board of Directors of the Company.”
_________________________________
4
  Unless otherwise stated herein, all italics and bold are added.
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       100.    In a section titled, “Compliance with Laws, Rules and Regulations,” the Code of

Conduct provides the following:

       The ethical standards of the Partnership Group rest on obeying the law.
       Employees must respect and obey the laws of the cities, states and countries in
       which the Partnership Group operates. This Code of Business Conduct and Ethics
       obviously cannot mention every law that might be applicable. Although not all
       individuals are expected to know the details of these laws, it is important for
       Employees to be familiar with the laws that apply to their respective areas of
       responsibility, and to know enough to determine when to seek advice from
       supervisors, managers, the Company’s President or other appropriate personnel.
       Because the Company is the general partner of a publicly traded partnership,
       Employees should be aware of the laws regarding the trading of securities of the
       Partnership while in possession of material, non-public information relating to the
       Partnership.

       101.    In a section titled, “Conflicts of Interest,” the Code of Conduct provides, in

relevant part, the following:

       A “conflict of interest” occurs when an individual’s private interest interferes in
       any way, or even appears to interfere, with the interests of the Partnership Group
       as a whole. A conflict situation can arise when an Employee takes actions or has
       interests that may make it difficult to perform his/her work for the Partnership
       Group objectively and effectively. Conflicts of interest also arise when an
       Employee, or a member of his/her family, receives improper personal benefits as
       a result of his/her position in the Partnership Group. Loans to, or guarantees of
       obligations of, such persons are of special concern.

                                              *        *      *

       You must avoid conflicts of interest unless specific, written pre-approval has been
       obtained from the Company’s President. In the absence of pre-approval, you must
       abandon or forfeit the activity or interest that creates the conflict, or seek a waiver
       pursuant to the provisions of this Code of Business Conduct and Ethics. Any pre-
       approval for an executive officer must be obtained from the Board of Directors.

       102.    In a section titled, “Sensitive Payments,” the Code of Conduct provides that

Company funds may not be used to secure special treatment for the Company or the General

Partner, stating the following:

       It is against the policy of the Partnership Group to authorize payment of or to use
       Partnership Group funds or personal funds for Sensitive Payments or other similar
       payment, whether lawful or unlawful, designed to secure special treatment for the

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       Partnership Group. It is also contrary to the policy of the Partnership Group to
       employ any intermediary to make such payments or to disguise such payment(s)
       as a commission, refund or in any other manner. Should an Employee become
       involved in any situation where (i) a request is made for any Sensitive Payment or
       any bribe, kickback or other payment the propriety of which is questionable, or
       where (ii) the Employee has any knowledge of payments being made to an agent
       which are in excess of reasonable fees for services rendered, it is the Employee’s
       responsibility to report the situation immediately to his/her immediate supervisor.

       103.    The Code of Conduct defines the term “Sensitive Payments” as including:

           a) receipts from or payments to governmental officials or employees;

           b) commercial bribes or kickbacks;

           c) amounts received with an understanding that rebates or refunds will be
              made in contravention of the laws of any jurisdiction, either directly or
              through a third party;

           d) corporate political contributions; and

           e) payments or commitments (whether cast in the form of commissions,
              payments or fees for goods or services received or otherwise) made with
              the understanding or under circumstances that would indicate that all or
              part thereof is to be paid by the recipient to governmental officials or
              employees, or as a commercial bribe, influence payment or kickback.

       104.    In a section titled, “Payments and Gifts to Government Officials (U.S. or

Foreign),” the Code of Conduct emphasizes that gifts or other items of value must not be

provided to government officials in connection with Company business without written

approval, stating the following:

       Compliance with the Partnership’s Anti-Corruption Policy and the U.S. Foreign
       Corrupt Practices Act and other anti-corruption laws is required. What is
       acceptable in the commercial business environment may be entirely unacceptable
       in dealings with the government (U.S. or foreign). There are strict laws that
       govern providing gifts, including meals, entertainment, transportation and
       lodging, to certain government (U.S. or foreign) officials, employees and
       consultants. Because of the sensitive nature of these relationships, you should not
       provide gifts or anything of value to government officials, employees and
       consultants, or members of their families, in connection with Company business
       without written approval from the Company’s Chief Compliance Officer or the
       Company’s Legal Department.

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       105.      In a section titled, “Protection and Proper Use of Assets and Proprietary

Information,” the Code of Conduct provides, in relevant part, the following:

       All Employees should protect the assets of the Partnership Group and ensure their
       efficient use. Theft, carelessness and waste have a direct impact on the
       Partnership Group’s profitability. All assets of the Partnership Group should be
       used only for legitimate business purposes. The use of Company equipment,
       property or proprietary information in violation of this Code, or for any use other
       than its intended business use, is prohibited unless otherwise authorized.

       106.      In a section titled, “Ethical Behavior,” the Code of Conduct provides, in relevant

part, the following:

       Every Employee is expected to act with honesty and integrity, in good faith,
       responsibly, with due care, competence and diligence, without misrepresentation
       or omission of material facts, and without compromising their independent
       judgment. Each Employee is required to adhere to the highest ethical standards in
       fulfilling our responsibilities to, and on behalf of the Partnership Group and its
       investors. Each Employee is required to deal fairly and honestly with other
       employees, customers, vendors and third parties. Each Employee should actively
       encourage ethical conduct among his or her fellow officers, directors and
       employees. When collecting information or other data on competitors of the
       Partnership Group, Employees must use only legitimate resources and not take
       any actions that are illegal, unethical or could cause embarrassment to the
       Partnership Group.

       107.      In a section titled, “Financial Record Keeping,” the Code of Conduct provides

the following:

       It is our policy that all books and records of the Partnership Group fully and fairly
       reflect the assets, liabilities, receipts and expenditures of the Partnership Group.
       Attempts to create false or misleading records are forbidden. No undisclosed
       funds or accounts shall be established for any purpose. Knowledge of secret
       cash funds or slush funds should be reported to the Company’s President or to the
       Audit Committee of the Board.

       108.      In a section titled, “Report Preparation,” the Code of Conduct provides the

following:

       Accounting and reporting standards and procedures established by the Partnership
       Group must be followed to ensure that assets are protected and properly used and

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       that financial records and reports are accurate and reliable. Financial statements
       published by the Partnership Group must fairly present its operating results and
       financial position. Improper or fraudulent accounting, documentation or financial
       reporting are in violation of our policy and may also be in violation of applicable
       laws. All internal records supporting the financial statements of the Partnership
       Group must be prepared accurately, completely and properly.

       109.    In a section titled, “Full, Fair, Accurate and Timely Disclosure for SEC Filings,”

the Code of Conduct provides the following:

       The Partnership Group has established policies and procedures that help to ensure
       that each SEC report and public communication (including press releases)
       contains information that is full, fair, accurate, timely and understandable. Every
       Employee must follow these policies and procedures to ensure that this
       information is timely, accurate, consistent and credible.

       110.    In a section titled, “Concealment of Information from Auditors,” the Code of

Conduct provides the following:

       It is our policy for Employees to provide the Company’s Chief Financial Officer
       and his/her accounting staff and outside auditors with any and all information they
       request. Since the audit function is a vital tool of management in the conduct of
       the affairs of the Partnership Group, the concealment of information, whether
       financial or operational, or allowing misleading information to be provided to the
       internal accounting staff or outside auditors could result in inaccurate evaluations
       and improper decisions concerning the activities of the Partnership Group.

       111.    In a section titled, “Reporting Suspected Violations of this Code,” the Code of

Conduct states that all officers and directors must report violations or suspected violations of the

Code of Conduct, including violations pertaining to the securities laws, breaches of fiduciary

duty, and the Company’s internal controls. The Code of Conduct provides as follows:

       Every Employee shall first report violations or potential violations of this Code to
       his or her supervisor(s), or the appropriate officer of the Partnership Group, of the
       Employee’s complaint or concerns.            Every officer and director of the
       Partnership Group, regardless of whether such person is also an Employee,
       shall report violations or potential violations of this Code to another officer or
       director of the Partnership Group to whom such person is required to report,
       one of the Chief Financial Officer, the President, or the Audit Committee, and
       if appropriate, to the Board of Directors. Because Employees may be reluctant
       or unable to report such violations or potential violations dealing with a material

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       violation of the securities laws, breach of fiduciary duty or that relate to
       accounting, internal accounting controls and auditing matters, the Audit
       Committee has also established procedures providing for the confidential and
       anonymous reporting of violations to the Audit Committee or such other
       committee or department established by the Audit Committee for receiving and
       reviewing reports of violations. Retaliation against any employee who in good
       faith reports a suspected violation will not be tolerated. All reports of suspected
       violations will be evaluated by the Audit Committee or persons designated by it
       to investigate such reports. An investigation of the reported violation will be
       conducted if the evaluation indicates that there is a likelihood that a problem
       exists. All Employees are obliged to cooperate with such investigations and to be
       truthful and forthcoming in the course of such investigations. Persons violating
       the standards in this Code, including failure to report fraud, will be subject to
       appropriate disciplinary action, which may include written notice of a violation,
       censure by the Board, demotion, suspension, loss of pay, termination, referral for
       criminal prosecution, and restitution to the Partnership or others for any losses or
       damages resulting from the violation

       112.    The General Partner and the Individual Defendants violated the Code of Conduct

by engaging in or permitting the Pipeline Misconduct, the scheme to issue materially false and

misleading statements to the public, and the scheme to facilitate and disguise the Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, abuse of control,

gross mismanagement, and waste of corporate assets, and failing to report the same. Moreover,

in violation of the Code of Conduct, the Defendants failed to maintain the accuracy of Company

records and reports, comply with laws and regulations, conduct business in an honest and

ethical manner, and properly report violations of the Code of Conduct.

              ENERGY TRANSFER’S SUPPLEMENTAL CODE OF ETHICS

       113.    The Company also maintains a Code of Ethics for Senior Financial Officers (the

“Code of Ethics”), which provides that it applies to the General Partner’s CEO and CFO, and

states that the obligations of the Code of Ethics “supplement, but do not replace, the Code of

Business Conduct and Ethics applicable to all employees of the Company and its subsidiaries,

as well as the Company’s officers and directors.”



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        114.   The Code of Ethics provides that the General Partner’s CEO and CFO

must:

        Act with honesty and integrity, avoiding actual or apparent conflicts of interest
        with the Company and the Partnership in professional relationships that would
        likely be viewed as materially impairing the Senior Financial Officer's exercise of
        judgment on behalf of the Company or the Partnership. Avoid actual or apparent
        conflicts of interest in all cases unless a specific, case‐by‐case exception has
        been made after review and approval of specific circumstances by the Board of
        Directors. Prohibited conflicts of interests for Senior Financial Officers include
        significant work for an outside employer, or transactions between the Company or
        the Partnership and any other enterprise in which the Senior Financial Officer has
        an interest (other than owning a de minimis amount of publicly traded securities),
        including those in which a family member of a Senior Financial Officer has an
        interest.

        Take reasonable steps to cause the Partnership to provide fair, accurate, timely,
        and understandable disclosure in reports and documents that the Partnership files
        with, or submits to, the Securities and Exchange Commission (the “SEC”) and in
        other public communications, including taking reasonable steps to cause the
        employees providing services to the Partnership to follow its internal accounting
        controls at all times.

        Not violate applicable laws, rules and regulations of federal, state and local
        governments, and other appropriate private and public regulatory agencies.
        Although no single individual is expected to know the details of all laws, rules
        and regulations, it is important to take reasonable steps to ensure familiarity with
        all such laws, rules and regulations and to know enough to determine when to
        seek advice or guidance through the retention of qualified legal, financial and
        accounting experts, or other means.

                                              *       *      *

        Establish and maintain disclosure controls and procedures that ensure that
        material information is included in each periodic report during the period in which
        the periodic report is being prepared.

                                              *       *       *

        Bring to the attention of the Chairman of the Audit Committee of the Board of
        Directors matters that could compromise the integrity of the Partnership’s public
        filings and communications, disagreements on accounting matters and violations
        of any part of this Code.




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       115.      Defendants Warren and Long violated the Code of Ethics by engaging in or

permitting the Pipeline Misconduct, the scheme to issue materially false and misleading

statements to the public, and the scheme to facilitate and disguise the Defendants’ violations of

law, including breaches of fiduciary duty, unjust enrichment, abuse of control, gross

mismanagement, and waste of corporate assets, and failing to report the same. Moreover, in

violation of the Code of Ethics, Defendants Warren and Long failed to maintain the accuracy of

Company records and reports, comply with laws and regulations, conduct business in an honest

and ethical manner, and properly report violations of the Code of Ethics.

       ENERGY TRANSFER’S CORPORATE GOVERNANCE GUIDELINES

       116.      Furthermore, the Company maintains Corporate Governance Guidelines adopted

by the Board, which define the Board’s responsibilities to the Company, described therein as the

“Partnership.” Specifically, the Corporate Governance Guidelines outline the following, in

relevant part:

       [t]he function of the Board is to provide guidance to and controls on the activities
       of the Partnership, in the exercise of the business judgment of each individual
       director. In discharging that obligation, directors should be entitled to rely on the
       honesty and integrity of the senior management of the General Partner and the
       Partnership and their outside advisors and auditors.

       117.      In a section titled “Chief Executive Officer Evaluation: Management

Succession” the Corporate Governance Guidelines state the following:

       A. CEO Evaluation. The Compensation Committee will conduct an annual review
       of the Chief Executive Officer’s performance, as provided in its charter. The
       Board of Directors will review the Compensation Committee’s report with a
       view to ensuring that the Chief Executive Officer is providing appropriate
       leadership for the Partnership Group in the long- and short-term.




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                       INDIVIDUAL DEFENDANTS’ MISCONDUCT

       Background

       118.    Energy Transfer is an energy transportation and storage company based in

Dallas, Texas, and conducting business primarily in the U.S. The Company was founded in

2002, and prior to October 2018, operated under the name Energy Transfer Equity, L.P. The

Company is organized as a Delaware limited partnership and operates as a subsidiary of the

Company’s general partner, Defendant LE GP. Defendant LE GP manages and directs all of

Energy Transfer’s activities, and the officers and directors of Defendant LE GP function as the

officers and directors of Energy Transfer.

       119.    Regarding Defendant LE GP’s control over the Company’s activities, the 2019

10-K states the following:

       Our general partner, LE GP, LLC, manages and directs all of our activities. The
       officers and directors of ET are officers and directors of LE GP, LLC. The
       members of our general partner elect our general partner’s Board of Directors.
       The board of directors of our general partner has the authority to appoint our
       executive officers, subject to provisions in the limited liability company
       agreement of our general partner. Pursuant to other authority, the board of
       directors of our general partner may appoint additional management personnel to
       assist in the management of our operations and, in the event of the death,
       resignation or removal of our chief executive officer, to appoint a replacement.

       120.    Energy Transfer possesses several subsidiaries, including Sunoco and ETC

Northeast Pipeline LLC (“ETC NE”), among others, through which the Company conducts its

operations. The Company’s operations include natural gas transportation and storage; NGL

transportation, storage, and fractionation services; crude and refined oil transportation; and

terminalling, acquisition, and marketing activities.

       121.    In connection with its operations, the Company owns three natural gas storage

facilities located in Texas, as well as around 9,400 miles of intrastate natural gas transportation



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pipelines, and around 12,200 miles of interstate natural gas transportation pipelines. Energy

Transfer’s natural gas transportation systems are among the largest in the U.S.

       122.    One of the Company’s most significant pipeline systems is the Mariner East

System, an almost $3 billion NGL pipeline project extending across Pennsylvania. The Mariner

East System was designed to transport NGLs from the Marcellus and Utica Shales in West

Virginia, Ohio, and parts of Western Pennsylvania to industrial complexes throughout

Pennsylvania, including the Company’s Marcus Hook complex on the Delaware River (the

“Marcus Hook Industrial Complex”). The first phase of the Mariner East System, ME1,

commenced intrastate in 2014 and interstate operations in 2016. It carries approximately 70,000

bls/d of NGLs through retrofitted 1930s pipelines.

       123.    The second phase of the project, ME2, was planned as an entirely new 20-inch

diameter pipeline that would be able to carry a maximum of 450,000 bls/d of NGLs from the

same Marcellus and Utica Shales to industrial complexes.

       124.    When Energy Transfer introduced ME2 on March 2, 2015, Energy Transfer

announced that it expected ME2 to commence operations in the fourth quarter of 2016. But,

unlike ME1, which involved converting a 1930s-era gasoline pipeline for use in transporting

NGLs, ME2 involved more complex and time-consuming greenfield construction. ME2 was

planned to span approximately 350 miles across 17 Pennsylvania counties, and cross 570

wetlands and more than 1,200 streams.      ME2 was also slated to cut through approximately

2,700 properties.

       125.    Additionally, Energy Transfer planned to possibly construct what it called the

ME2X pipeline, a 16” pipeline that would run parallel to ME2 and expand capacity along the

route by an additional 250,000 bls/d.



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       126.    Energy Transfer also planned to expand the existing Revolution, 20 miles of 16-

inch diameter pipe, by adding 110 miles of pipes with assorted 20-inch, 24-inch, and 30-inch

diameters. This was called the Revolution Project. Revolution was to feed into ME2, gathering

additional volumes of NGLs from the Marcellus Shale to be processed at the Marcus Hook

Industrial Complex.

       127.    ME1, ME2, ME2x, and Revolution comprised a $3 billion pipeline project

stretching across three states and hundreds of miles, consisting of a hodgepodge of older

retrofitted pipes, new pipes along old routes, and new pipes breaking through new ground.

       128.    NGLs carried by the Mariner East System primarily consist of ethane, as well as

propane and butane. These gases are condensed into liquid under the high pressure of the

pipeline system, but, in the event of a pipeline leak, becomes a highly reactive, explosive gas.

This gas is colorless and odorless, and can be ignited by as little as turning on a light, ringing a

doorbell, making a phone call, or starting a car.

       129.    Although Defendants described the pipelines as “critical energy infrastructure,”

the ethane transported by the Mariner Pipelines is not principally used to produce domestic

energy. Instead, after being transported to the Marcus Hook Industrial Complex, where it is

processed into ethylene, which is exported to northern Europe to be manufactured into plastics.

Ethylene is also used in detergents and anti-freeze.

       130.    In light of the scope of the Mariner East System and the potential for significant

environmental impact and risk to human life from ME2’s construction and operation, the

Company was required to go through an extensive regulatory review process prior to beginning

construction. Of particular importance, the project required extensive reviews and subsequent




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permitting by the PDEP focused on several key Pennsylvania environmental regulations,

including, inter alia, Chapter 102 and the Clean Streams Law.

       131.    The Defendants caused the Company to rush this essential step. However,

individuals living in Delaware and Chester Counties, with the help of the Clean Air Council,

commissioned a risk assessment (the “Citizens’ Risk Assessment”), which was produced by

Quest Consultants, Inc. (“Quest”) and released on October 19, 2018. The Citizens’ Risk

Assessment used a quantitative risk analysis methodology which combined the magnitude of

potential events with how likely those events were to occur. Findings included, inter alia, that

fatal impacts of release events would extend as far as 2,135 feet from the pipelines; that the

highest risk points were at the pipeline valve stations, where risks were in excess of

international criteria for tolerable risk; and that risks were greater where more than one pipeline

was co-located along the route.

       132.    The Defendants were motivated to bring the pipelines into service as quickly as

possible, not only because returns from the expensive infrastructure investment could only be

realized once the pipelines were operational, but also because the Defendants had caused the

Company to contract third-party commitments to transport NGLs using the Pipelines which

were conditioned on specified service dates; in some cases, “drop-dead” dates entirely released

third parties from their commitments if the Company failed to bring the Pipelines into service

on time.

       133.    In fact, Defendants’ statements alluded to the importance of bringing ME2 into

service as expeditiously as possible: on an August 9, 2017 earnings call, Defendant Ramsey

noted that “it’s kind of hard to bring new customers on until you get a project that’s been in the

works for many years in service;” but that he was “highly confident” that returns would increase



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“after we bring the pipeline into service.” On a November 8, 2017 investor call, Defendant

McCrea likewise stated that “once we get them in service, we couldn’t be more excited about

the returns…. Mariner needs to come online.”

       Defendants’ Highly Irregular Permit Application

       134.    On March 2, 2015, Sunoco announced that ME2 construction was expected to be

completed, and the pipeline operating, in the fourth quarter of 2016. ME2, the second phase of

the Mariner East System, would extend the pipeline to the Marcus Hook Industrial Complex.

       135.    The Company had submitted permit applications in connection with ME2 as

early as May 2015. According to a number of news sources reporting on the proposed second

phase project, the Company had previously experienced significant challenges to obtaining

approval of these permit applications due to numerous deficiencies in the applications, as well

as public concern over the environmental impact of the projects. As such, the speed at which

the ME2 permit was approved was surprising.

       136.    For instance, a State Impact Pennsylvania NPR (“NPR”) article published on

September 15, 2016, titled “DEP gives Sunoco long to-do list on Mariner East 2 pipeline plan”

noted that PDEP had identified “hundreds of issues” remaining in the Company’s construction

plans over a year after Sunoco, which was handling construction of the pipeline, had submitted

permit applications. 5

       137.    Sunoco planned to use Horizontal Directional Drilling (“HDD”), an excavating

technique which creates certain unique risks. HDD drills a small-diameter hole along the

intended path of the pipeline, then enlarges the hole, and finally pulls the pipe back through the

enlarged hole. Throughout, a mixture of water, clay, and chemicals called “drilling mud”

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5
  See https://stateimpact.npr.org/pennsylvania/2016/09/15/dep-rejects-sunocos-plan-to-protect-
water-ways-along-mariner-east-2-pipeline/ (last visited July 30, 2020).
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facilitates the drilling, supports the enlarged bore, and reduces friction as the pipeline is

threaded through the excavated pathway. However, drilling mud can seep through the ground,

either rising to the surface or seeping down into and contaminating groundwater, including

nearby private well-water that supplies drinking water for nearby homeowners. The PDEP

required Sunoco to address this phenomenon, known as “inadvertent return” or a “frac-out”

incident,” during the ME2 permit process.

       138.   In summer 2015, Energy Transfer submitted the first Chapter 102 and Chapter

105 permit applications for ME2. Chapter 102 and 105 pertain to erosion and sedimentation

control and to water encroachment. They incorporate by reference sections of the Clean Streams

Law and the Dam Safety and Encroachments Act, respectively. Both lay out analogous

permitting requirements, which provide the following five requirements to approve applications:

       Criteria for permit issuance and denial. (a) In addition to the other requirements of
       this chapter, a permit application will not be approved unless the applicant
       demonstrates that the following conditions are met:

       (1) The application is complete and accurate.

       (2) The proposed project or action complies with the standards and criteria of
       this title and with other laws administered by the Department, the Fish and Boat
       Commission and river basin commissions created by interstate compact.

       (3) The proposed project or action will adequately protect public health, safety
       and the environment.

       (4) The proposed project or action is consistent with the environmental rights
       and values secured by Pa. Const. Art. I, § 27 and with the duties of the
       Commonwealth as trustee to conserve and maintain public natural resources of
       this Commonwealth.

       (5) The applicant has not been found to be in continuing violation of this title or
       other laws administered by the Department, the Fish and Boat Commission, or a
       river basin commission created by interstate compact, including, but not limited
       to, a violation of an adjudication and order, agreement, consent order or decree,
       whether or not the applicant’s violation resulted in an order or civil penalty
       assessment.


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       139.    As provided above, there were numerous reasons for PDEP to reject Sunoco’s

applications, and accordingly, PDEP prepared numerous comment letters—some as long as 70

pages—explaining how the applications were deficient and how Sunoco could fix them.

       140.    With respect to the twenty separate permits required for ME2, PDEP initially

rejected each application on the grounds of numerous substantive deficiencies, including the

risk of pollution at water crossings which Sunoco failed to identify in its applications and risk of

frac-out incidents, which PDEP enumerated in 20 technical deficiency letters. For the rest of the

year, Sunoco resubmitted application materials which failed to address PDEP comments, and

PDEP was unable to approve the inadequate and incomplete permits. From summer 2015

through March 2016, PDEP Secretary Quigley noted that Sunoco “wasn’t even close to

submitting a complete application” for each required permit. In fact, he described the materials

PDEP received as “woefully inadequate,” despite PDEP’s “hand-holding” and what he

characterized as extensive support to get the application materials to an acceptable standard.

Quigley further noted that 98% of projects were ultimately approved by PDEP, due to PDEP’s

support of and cooperation with applicants.

       141.    In March 2016, Quigley met with Sunoco executives, including Sunoco’s CEO,

Michael J. Hennigan (“Hennigan”), Sunoco’s engineering contractor, Tetra Tech, Inc. (“Tetra

Tech”), and the ME2 project manager. In that meeting, Quigley “read them the riot act.”

Quigley also “told Sunoco leadership that their continued inability to complete their permit

application appeared to be willful and had to be immediately remedied or the application would

be denied.”

       142.    Upon realizing the PDEP would not approve the necessary permits unless and

until the application materials were sufficient, Hennigan, along with Sunoco’s Senior Manager



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for Public Affairs, Joseph McGinn (“McGinn”), exerted intense and improper pressure on

public officials in the governor’s administration and PDEP to grant the permits notwithstanding

the inadequate applications.

       143.    Quigley has stated that he feels sure that Hennigan then appealed to Governor

Wolf, who had received substantial campaign contributions from the oil and gas industry,

because Quigley “wouldn’t roll over and issue a permit” for ME2 as long as the application

materials were so inadequate.

       144.    Quigley has also stated that special assistant to the governor Yesenia Bane

(“Bane”), who, as well as being among the highest-paid individuals on Governor Wolf’s staff,

has raised concerns about impropriety due to her significant involvement in matters that benefit

her husband’s clients, 6 approached Quigley to ask why he could not just approve the permit.

Quigley replied that he would forget that she had asked that question “because [she] had just

crossed a whole bunch of lines.”

       145.    On May 20, 2016, shortly after these discussions, Quigley “was ushered out of

[PDEP].” He was replaced as Secretary by Patrick McDonnell (“McDonnell”).

       146.    Quigley stated that, after his departure, he heard that “the Governor’s office

ordered [his] successor to issue the permit, and [McDonnell] capitulated” in short order.


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  In the article about Yesenia Bane’s alleged conflicts of interest (“Wolf aide married to gas
industry lobbyist may be violating Pa.’s ethics law,” NPR, December 10, 2016), NPR noted that
a review of her daily schedule in 2016 revealed that she was “frequently involved in matters
related to her husband’s clients and their business interests.” Yesenia Bane’s husband is a gas
industry lobbyist, and his clients “include[ed] key players in the oil and gas industry.” When
NPR sought comment on the allegations from the governor’s office, a spokesperson wrote by
email that, “[i]n fact, there is no appearance of any violation” of ethics rules. As a separate
article published by the Guardian indicated (“Pennsylvania governor under scrutiny for role in
approving pipeline, the Guardian, April 8, 2019), Yesenia Bane’s husband left lobbying to work
for EQT Corporation, which contracted to use ME2 and gave $20,000 to Governor Wolf’s 2018
reelection campaign.
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       147.   In December 2016, some months before the final permit would be suddenly

issued, Sunoco had mostly ceased working on getting the application materials to pass muster

and had pivoted to begin mobilizing the actual construction work.

       148.   After Quigley had been ousted and PDEP was run by McDonnell, treatment of

the ME2 application became extremely questionable. For instance, at an internal PDEP meeting,

a high level PDEP official instructed staff involved with the ME2 permitting to use phone calls

whenever possible, and to keep emails to a minimum.

       149.   Additionally, workers participating in the construction of ME2 reported hearing

discussions of the Wolf administration’s “big role” in the ME2 permit approvals in several

instances and under various circumstances.

       150.   Bane, who had been rebuffed by Quigley for improperly pressing PDEP to issue

the permit, actively monitored new Secretary McDonnell’s and PDEP’s progress on the ME2

permits. She frequently planned and attended meeting between PDEP, Sunoco and its

consultants, and the governor’s office. Bane also instructed PDEP to not move forward with its

regulatory actions until informing the governor’s office. When asked by NPR, a spokesperson

from the governor’s office stated that “the decision on Sunoco’s permit applications lies

squarely with the [PDEP].” 7

       151.   Sunoco instructed the Wolf administration, which pressured PDEP, that it

required that the final permits be issued by February 2017. Sunoco said that Energy Transfer,

which was due to acquire Sunoco by merger, pushing the permitting timeline. Quigley stated,

“It was an inside job, and it was the Governor’s office ordering my successor” to issue the



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  See https://stateimpact.npr.org/pennsylvania/2017/02/07/deps-mcdonnell-meets-with-mariner-
east-pipeline-opponents/ (last visited July 30, 2020).
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permits on Sunoco’s schedule. Others, including another former PDEP official, corroborated

Quigley’s assessment.

       152.     On February 13, 2017, PDEP issued final permits to Sunoco for ME2. The

permits were issued with a raft of “special conditions” that Sunoco had to satisfy during its

construction of ME2. A former PDEP official noted that he “had never known a situation where

permits were issued despite the presence of deficiencies,” or where “special conditions”

operated in lieu of satisfying the minimum statutory requirements.

       153.     The permits were issued days before Sunoco released its annual financial results,

which occurred as scheduled on February 24, 2017. Sunoco was therefore able to include and

highlight the fact that ME2 permits had received final approvals in its phone calls with investors

and analysts.

       154.     Shortly thereafter, on April 28, 2017, Energy Transfer consummated its

acquisition by merger of Sunoco.

       155.     An NPR article published on February 13, 2017, titled, “DEP approves Mariner

East 2 permits,” commented on the permit application process and the surprising speed at which

the permits had been approved as follows: 8

       The [PDEP] has approved earth-moving and water-crossing permits for Sunoco’s
       controversial Mariner East 2 pipeline project, paving the way for construction on
       the 350-mile line that would begin in Ohio and West Virginia, and travel through
       17 counties across Pennsylvania to Sunoco’s Marcus Hook plant in Delaware
       County. The pipeline would carry natural gas liquids from Marcellus and Utica
       Shale fields to Sunoco’s export terminal, where the plan is to ship the gas to
       Scotland to make plastics.

       The company began its permit applications in May 2014, and was sent back to
       the drawing table several times by [P]DEP for glaring deficiencies. Acting


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  See https://stateimpact.npr.org/pennsylvania/2017/02/13/dep-approves-mariner-east-2-permits/
(last visited July 29, 2020).
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       [P]DEP Secretary Patrick McDonnell said in a release that permits were issued
       “after extensive review.”
                                        *       *      *

       Critics of the pipeline project are skeptical that the hundreds of deficiencies
       detailed previously by the agency could have been corrected in such a short
       period of time. Gerhart says the application doesn’t even include mention of her
       drinking water well.
                                            *       *     *
       “[P]DEP issued the permits for the ME II pipeline, despite continuing complaints
       from the public, citizens’ groups and environmental organizations, about risks to
       public health and safety, inaccurate delineation of wetlands, incomplete and
       deficient permit applications and the agency’s denial of repeated requests for a
       new public comment period,” said Pam Bishop.

       156.    A subsequent NPR article published on March 10, 2017, titled, “DEP approves

Mariner East 2 permits despite deficiencies, documents show,” pointed out that PDEP had

approved the construction permits even though the Company had not yet met all necessary

regulatory requirements, stating the following:

       [PDEP] issued final permits for the Mariner East 2 pipeline even though the
       pipeline’s builder, Sunoco Logistics, had not met all regulatory requirements at
       the time of issuance, DEP documents show.

       The state’s top environmental regulator acknowledged that the company’s
       applications for permits on water crossings and soil disturbance contained many
       “deficiencies,” but gave the multi-billion dollar project a green light anyway,
       according to the documents obtained by [NPR].

                                             *     *       *

       “The Bureau explained that minimum standards have been met and many
       remaining identified deficiencies are not required to be addressed for permit
       issuance,” said the document, dated Feb. 10, three days before the permits were
       issued. “Therefore, at the direction of the Bureau, special conditions have been
       drafted to address the outstanding items.”

       157.    Upon information and belief, PDEP could not, under Chapter 102 and Chapter

105, issue the required Chapter 102 and 105 permits unless and until all the regulatory

requirements had been met. The fact that it did so underscores just how irregular and improper

the events described herein were.

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       158.   A subsequent NPR article published on January 26, 2018, titled, “Mariner East 2:

Texts raise questions about Wolf Administration role in permitting process,” highlighted the

irregular circumstances of PDEP’s sudden grant of the ME2 permits. Specifically:

       A senior staffer for Pennsylvania Gov. Tom Wolf asked the state’s chief
       environmental regulator not to send letters to Sunoco detailing problems with
       its permit applications for a controversial pipeline project until the governor was
       updated, according to text messages obtained through a lawsuit.

       The texts also show the official asking the [PDEP] whether some deficiencies
       cited in Sunoco’s Mariner East 2 plans could “remain flexible for field
       adjustments.”

                                            *       *      *

       Friedman takes issue with a text he says shows a Sunoco lobbyist… asking Wolf
       aide Yesenia Bane instead of DEP for a call on the status of the permits. Bane
       texted then-acting DEP Secretary Patrick McDonnell:

       “Where are we? McGinn is asking for a call.”

                                            *       *      *

       For pipeline opponents, another issue regarding the texts is that Bane is married
       to a gas industry lobbyist. [NPR] reported in December 2016 about Bane’s
       potential conflict of interest, and last month, a Chester County resident filed a
       complaint against her with the Pennsylvania State Ethics Commission.

       State Sen. Andy Dinniman, a Chester County Democrat and outspoken opponent
       of Mariner East 2, said it appears that Yesenia Bane had a conflict of interest
       and should not have been the person to communicate with DEP over the
       Mariner East 2 permits. Abbott, Wolf’s spokesman, said there was no conflict of
       interest.

       159.   As would be revealed on April 4, 2019, when the Guardian published an article

titled, “Pennsylvania governor under scrutiny for role in approving pipeline,” under McDonnell,

the PDEP engaged in questionable communications with Sunoco, including with the then-CEO

of Sunoco, Hennigan, shortly before the ME2 permits were approved. 9 The article, which


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  See https://www.theguardian.com/us-news/2019/apr/08/pennsylvania-governor-pipeline-tom-
wolf-per (last visited July 30, 2020).
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contained information based on internal governmental records obtained by the Guardian, stated

the following, in relevant part:

       Emails, text messages and regulatory records show that the secretary of PDEP,
       Patrick McDonnell, directed staff to cut short their environmental review even
       as numerous shortcomings remained in the project’s permit application. The
       department also appeared to be under pressure from Wolf’s office at the time.

       DEP staff internally circulated two “deficiency letters” on 20 January 2017 that
       they were preparing to send to an ETP subsidiary, Sunoco Logistics, citing
       inadequacies in the company’s plans concerning earth disturbance activities and
       drilling beneath water bodies.

       Five days later, a senior official in Wolf’s office, Yesenia Bane, texted
       McDonnell to request the agency refrain from sending a deficiency letter, pending
       a meeting involving Wolf, the governor’s chief of staff, and McDonnell.

       “Understood,” McDonnell wrote in response. Less than an hour later, McDonnell
       emailed several staff members involved in the pipeline review that “Govs [sic]
       office needs a list of the outstanding issues ASAP”.

       Roughly two weeks after that, the DEP approved the pipeline without requiring
       many of the environmental safeguards it had initially sought. A DEP senior
       official who was involved in the Mariner East 2 project, John Stefanko, noted in a
       later legal deposition that McDonnell had directed staff “that we needed to make a
       decision by February 10th”, although the review had been scheduled to persist for
       at least several additional months.

       The text messages and a handwritten note from a DEP staff member show that the
       then CEO of Sunoco, Mike Hennigan, regularly talked to McDonnell in the
       lead-up to the permit authorization, and that [PDEP secretary] McDonnell
       reported to the governor’s staff on those conversations.

       160.    On February 13, 2017, despite the fact that many important and substantive

deficiencies enumerated in the deficiency letters issued between summer 2015 up until February

1, 2017 had not been corrected and despite the fact that citizens were not allowed a public

comment period in which to raise their concerns about the permitting process and pipeline,

PDEP issued the required permits for ME2 construction to commence.

       161.    Noting citizens’ significant and ultimately unaddressed concerns about the

permitting process, the Philadelphia Inquirer noted that “pipeline opponents are likely to appeal
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the [ME2] permits, and any deficiencies will increase the likelihood those opponents will

prevail in court.”

       162.    In light of the media coverage documenting the extensive, credible evidence in

support of further investigation of impropriety in the issuance of ME2 permits, Pennsylvania

state legislators met with Secretary McDonnell to press for further and more detailed answers

about the permit approval process.

       163.    Subsequently, the FBI had opened a formal corruption probe into the PDEP’s

permit issuance for ME2. On November 12, 2019, the Associated Press reported that the

investigation had been ongoing for at least six months prior and that “[t]he focus of the agents’

questions involves the permitting of the pipeline, whether Wolf and his administration forced

environmental protection staff to approve construction permits and whether Wolf or his

administration received anything in return.”

       Defendants’ Pattern of Environmental Violations

       164.    Predictably, the deficient permits foreshadowed deficient construction, exposing

the Company to further liability and the unitholders to further losses.

       165.    Construction began almost before the ink was dry on the final permits. By May

3, 2017, DEP had received reports of a frac-out and released pollutants.

       166.    Simultaneously, Energy Transfer was litigating an appeal of the PDEP’s issuance

of the ME2 permits brought by environmental advocates. The advocates requested an injunction

to prevent Energy Transfer from continuing construction so as to protect the environment.

       167.    On June 10, 2017, while the above litigation was ongoing, Sunoco caused the

release of 140 gallons of drilling pollutants in two related frac-out incidents. Sunoco claimed




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that the incidents were related to historic coal mining activities, which should have been

identified and addressed in a complete permit application.

        168.   On July 25, 2017, the Environmental Hearing Board (the “EHB”) granted the

injunction against Sunoco’s continuing construction, ordering work to halt immediately.

According to an anonymous source identified as an employee of one of the contractors Sunoco

employed, site managers repeatedly ignored stop-work orders and pressed forward with

construction despite lacking proper permits. Managers told the source that the Company knew

the permits would come and that it was better to make a head start and hope that they would not

be caught.

        169.   On August 10, 2017, the EHB lifted the stop-work order and entered a Stipulated

Order, under which Sunoco agreed to commission a reevaluation of the safety of HDD at a total

of 63 sites, as well as at any sites where a frac-out would occur over the course of construction.

Sunoco was also required to revise the incident response plan it had submitted as part of the

permitting process (the “HDD IR Plan”), which was not performing effectively; under the HDD

IR Plan, Sunoco was required to immediately inform PDEP after each frac-out incident.

        170.   After the 63 reevaluations, Sunoco ultimately was required to perform 27

redesigns which required new DEP approvals to make its plans compliant with PDEP

regulations.

        171.   In all, DEP issued 36 notices of violation in 2017, and 55 notices of violation in

2018.

        Lisa Drive Site and the Swedesford Site

        172.   Among the reevaluated sites were two sites that ultimately came to pose major

problems for Sunoco. HDD Site #S3-0381, Permit ID #PA-CH-0219 (the “Swedesford Site”)



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was located off Swedesford Road in West Whiteland Township, Chester County, PA, a

prosperous Philadelphia mainline suburb. HDD Site #S30400, Permit ID #PA-CH-0256 (the

“Lisa Drive Site”) was located only half a mile away, in the same township.

       173.    As part of the reevaluation, Energy Transfer submitted a Void Mitigation Plan

for Karst Terrain and Underground Mining on August 8, 2017, which classified the Swedesford

Site as having a “low” risk of encountering subsurface voids, and the Lisa Drive Site as having

a “very low” risk. However, two contractors—Groundwater & Environmental Services (“GES”)

and Tetra Tech—had each identified serious sinkhole risks, GES stating in its report that the

rock formations underneath the two sites and in the area generally “are prone to sinkhole

development and solution opening, and should be thoroughly investigated before construction.”

       174.    The underlying formation is generally known as “karst,” topography formed by

soluble rocks like the local limestone and dolostone that create underground caverns and rivers

that can cause the overlaying surface to collapse into depressions and sinkholes. In addition,

because the underground rivers flow freely through the subterranean caverns, any pollutants

which reach these rivers can be rapidly dispersed into the local drinking water supply.

       175.    On November 11, 2017, drilling in Whiteland Township karst caused a 500-

gallon frac-out and five sinkholes to appear at the Lisa Drive Site. Lisa Drive residents

described the frac-out as “geysers of drilling fluids” spewing out of the ground and across their

properties. PDEP investigation confirmed that Energy Transfer had caused the frac-out and,

moreover, had failed to immediately notify PDEP as required under both the Special Permits

and the HDD IR Plan.

       176.    On November 16, 2017, PDEP issued a Notice of Violation to Energy Transfer.

PDEP cited the “history of incidents” at the site, the numerous frac-outs, and the noncompliance



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with notification requirements under the Special Conditions and the HDD IR Plan. PDEP stated

that it was “very concerned with Energy Transfer’s continued failure to provide the required

notifications,” and ordered Energy Transfer to file belated incident reports for August 2017

frac-outs and any other frac-outs that had not yet been reported.

       177.     Throughout November, problems persisted. Additional sinkholes appeared at the

Lisa Drive Site, casing structural damage to homes and causing the public water utility, Aqua

America, to perform emergency work to prevent the collapse of water lines. Aqua America had

specifically warned Energy Transfer against using HDD in the area, noting that joint aquifer

testing indicated that HDD could cause the permanent loss of local wells that supplied drinking

water to the area.

       178.    Although Energy Transfer consultants and public agencies both warned about

risks of using HDD in the area’s karst geology, Energy Transfer spokesperson Jeff Shields

stated that “construction through this area is safe. There is some karst north of this area, but it

does not impact this area.”

       179.    In March 2018, despite these assertions, continuing work in the area led to

additional sinkholes. Without permission or permit, Energy Transfer dumped at least eight

cement truckloads of cement grout into the sinkholes, and PDEP and the Public Utilities

Commission (the “PUC”) immediately sought and were granted a stop work order against

Energy Transfer. Local residents reported that “[t]he neighborhood is being dug up by backhoes

in an emergency effort to uncover the full extent of the disaster wrought by Sunoco. The

underground had been so altered by Sunoco’s [s]inkholes that [PDEP] and PUC are concerned

about imminent and catastrophic hazard… arising from the damage to [ME1,] the existing




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natural gas pipeline.” They also reported that Sunoco had installed seismic monitors because of

“concerns that the pipeline will shift and explode.”

       180.    An additional NPR article published on September 25, 2018, titled, “Mariner

East 2: Sunoco’s incidents, fines and shutdowns fuel residents’ safety concerns” described

myriad fines and shutdowns imposed by PDEP and other Pennsylvania authorities over the

course of the construction of ME2, including a $12.6 million penalty levied against Sunoco for

“egregious” violations. The article stated, in relevant part, the following: 10

       Critics of the project say Sunoco has paid little heed to the fines and shutdowns
       handed out by Pennsylvania regulators. They note that the company has continued
       to spill drilling fluid into waterways, prompting the [PDEP] to issue dozens of
       violations, as recently as Sept. 18 [2018], despite the agency’s $12.6 million
       penalty and permit suspension earlier this year for what it called “egregious”
       violations.

                                               *        *      *

       Data from the Pipeline and Hazardous Materials Safety Administration show
       Sunoco Pipeline reported 302 incidents from its pipelines carrying hazardous
       liquids such as crude oil or petroleum products nationwide from 2006 to 2018,
       year-to-date. That was the second-most among 2,152 operators in the agency’s
       database after Enterprise Crude Pipeline, a carrier of crude oil, which reported
       306 incidents. Sunoco also had 175 federal inspections and 37 enforcement
       actions during the period.

       181.    Even after ME2 went online in December 2018, sinkholes continued to appear.

For instance, on January 20, 2019, another sinkhole appeared at the Lisa Drive Site. At PUC’s

suggestion, the pipeline was shut off while further investigation was conducted. Local news

reporting on the most recent sinkhole indicated that Energy Transfer was “blaming recent heavy

rains” for causing the subsidence.

       182.    Because of the ongoing damages to the Lisa Drive Site, Energy Transfer

ultimately purchased two of the most affected houses for $400,000 each.
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   See https://stateimpact.npr.org/pennsylvania/2018/09/25/mariner-east-2s-incidents-fines-and-
shutdowns-fuel-residents-safety-concerns/ (last visited July 29, 2020).
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       183.    In addition to the incidents specific to the Lisa Drive Site and the Swedesford

Site, Energy Transfer was cited for repeated environmental violations throughout the length of

ME2 and the duration of its construction.

       Shoen Road Drill Area

       184.    Between July 6, 2017 and July 10, 2017, 14 different homeowners near the

“Shoen Road Drill Area,” also in West Whiteland Township, reported issues with their well

water supply as a result of Energy Transfer’s HDD technique.

       185.    On July 24, 2017, PDEP and Sunoco entered into a Consent Order and

Agreement under which the PDEP found Sunoco culpable for the damage to well water and in

violation of the requirement to notify PDEP of adverse impacts to private water supplies. PDEP

further ordered Sunoco to cease HDD activities and implement a contingency plan to address

further adverse impacts to private water supplies.

       Loyalhanna Lake

       186.    That same summer, in Loyalhanna Township, Westmoreland County, Sunoco

used HDD to install pipeline under Loyalhanna Lake. On May 13, 2017, Sunoco caused a frac-

out under the lake, which had been assessed by the Pennsylvania Fish and Boat Commission in

2014 and been found to have fair to very good populations of gamefish.

       187.    On June 1, 2017, the Westmoreland County Conservation District (“WCCD”)

inspected the surrounding area and determined that Sunoco was noncompliant with its Chapter

102 permit and the Clean Streams Law, and had failed to implement Best Management Practice

(“BMPs”) as required by that permit and law.

       188.    On June 6, 2017, Sunoco caused two additional frac-outs. Sunoco also caused a

frac-out on July 16, 2017, and another on July 17, 2017.



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       189.    On July 27, 2017, in response to the repeated frac-outs, WCCD conducted a

follow-up inspection in which it again determined that Sunoco had violated its Chapter 102

permits and the Clean Streams Act, had failed to maintain BMPs, and further had caused

pollution to waters of the Commonwealth.

       190.    On September 7, 2017, a third inspection conducted by WCCD determined that

Sunoco had failed to remedy its noncompliance, had violated its Chapter 102 permits and the

Clean Streams Act, had failed to maintain BMPs, had caused pollution to waters of the

Commonwealth, and had failed to remediate the pollution it had caused in Loyalhanna Lake.

       191.    On December 15, 2017, PDEP fined Energy Transfer $79,000 in connection with

repeated violations at Loyalhanna Lake. It also ordered Energy Transfer to clean up the

pollution, regularly report on its progress to PDEP, conduct studies to determine the extent of

the pollution, and fund a program to repopulate the gamefish of Loyalhanna Lake.

       Raystown Lake

       192.    Despite this, Defendants caused Energy Transfer to continue conduct similar

HDD activities—and cause similar environmental damages and create liability for the

Company—at Raystown Lake in Huntingdon County (“Raystown Lake HDD Site”).

       193.    On December 11, 2017, Sunoco reported a 2,000-gallon frac-out, which

discharged into Raystown Branch Juanita River. On December 20, 2017, Sunoco reported an

additional surface-level release of pollutants.

       194.    Between the December 11, 2017 and December 20, 2017 incidents, Sunoco

caused almost daily unreported incidents of pollutant releases, discharging nearly one million

gallons of pollutants into the environment near Raystown Lake. Each incident was required to

be reported to PDEP under Sunoco’s permits and HDD IR Plan. Sunoco did not report any of



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the releases in this paragraph until March 2018, three months later, and did not file a formal

evaluation and report to PDEP until December 6, 2018, almost a calendar year after the releases

had occurred.

       195.     On February 18, 2019, Sunoco reported that between April 9, 2017 and October

30, 2017, it had caused 39 unreported frac-outs which, cumulatively, resulted in the release of

two million gallons of pollutants released in the vicinity of Raystown Lake-- in addition to the

one million gallons released in December 2017 and tardily reported. Sunoco had only reported

one of these incidents, although under its Chapter 102 permits and HDD IR Plan it had been

required to immediately report at least 30 of the incidents.

       196.     On July 16, 2019, Sunoco submitted a report to PDEP which stated that the

cumulative three million gallons of pollutants released between April 2017 and December 2017

had contaminated approximately eight acres of the lakebed of Raystown Lake.

       197.     On January 3, 2020, PDEP issued a Consent Agreement and Order which

required Sunoco to pay a $1.95 million fine, conduct a clean-up of 110 acres of the bottom of

Raystown Lake, and submit a Fish Habitat Improvement Plan to the DEP within the month.

       Lebanon County

       198.     On December 21, 2017, PDEP fined Sunoco $44,000 for multiple violations of

its ME2 permits and the Clean Stream Law related to failures to implement and maintain

erosion and sedimentation control BMPs at three ME2 sites throughout Lebanon County. It also

ordered Sunoco to implement and maintain erosion and sedimentation control BMPs at all sites.

       Hay Creek, Berks County and Other Unpermitted HDD Sites

       199.     On November 11, 2017, the PDEP received a notice from a third party and

subsequently confirmed through investigation by the Berks County Conservation District



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(“BCCD”) that Sunoco had caused a frac-out at a site in Berks County (the “Berks 1 Site”),

which had caused pollutants to be discharged into Hay Creek, a Class A wild trout water and

Exceptional Value Water. Sunoco had not reported the frac-out, as it was required to do under

its permit. Clean-up and containment lasted a week.

          200.   PDEP also noted that the relevant permit did not allow HDD at the site; it

provided for open bore trenching.

          201.   PDEP further noted that under the permit, Sunoco was barred from performing

in-stream work between October 1 and April 1 unless it received prior written approval from the

Pennsylvania Fish and Boat Commission. In July 2017, Sunoco had applied to the Fish & Boat

Commission for a waiver to perform in-stream work year-round, and the application had been

denied.

          202.   Because of the multiple and flagrant violations of the Berks 1 Site permit, BCCD

also inspected a similar nearby site (the “Berks 2 Site”). BCCD determined that, like at the

Berks 1 Site, Sunoco was conducting unpermitted HDD activities and had been conducting in-

stream work during the restriction period.

          203.   On November 21, 2017, PDEP issued a Notice of Violation to Sunoco, and also

ordered Sunoco to provide PDEP with a list of ME2 sites where Sunoco had permits for open

trenching work but had conducted HDD instead.

          204.   On November 28, 2017, Sunoco replied and identified seven locations where

Sunoco had unilaterally “field changed” the pipeline crossing method from open bore trenching

to HDD without any notification, permit modification, or any kind of authorization from PDEP.




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       Perry Bridge

       205.    On December 5, 2017, PDEP responded to another third-party complaint that

Sunoco had built a bridge at a water-crossing site in Perry County (the “Perry Bridge Site”).

Sunoco had not obtained the required Chapter 105 permits to build a bridge in the location. In

addition to the seven sites where Sunoco violated its permits by conducting unauthorized HDD

activities, Sunoco had unilaterally “field changed” the crossing method at the Perry Bridge Site

without ever notifying PDEP.

       206.    PDEP requested a meeting with Sunoco and an explanation for why the Perry

Bridge Site had not been included in the list of water crossings that had been constructed

without notification to the PDEP or modification of applicable permits. At the December 6,

2017 meeting, Sunoco averred that it was not aware of any other instances in which Sunoco was

in violation of its permits, and agreed to apply for a post hoc permit to construct the Perry

Bridge and provide Perry County and PDEP with a detailed analysis so that the regulators could

evaluate the safety of the bridge.

       Additional “Field Changes” to HDD

       207.    On December 18, 2017, Sunoco reported to the PDEP that Sunoco had received

two complaints from Cumberland County residents that their water had become contaminated.

The Cumberland County Conservation District (“CCCD”) determined that Sunoco had used

HDD in violation of their permits, which provided for open trench boring. Notably, like the

Perry Bridge Site, the site at issue had not been included in Sunoco’s November 28, 2017

communication to PDEP which purported to disclose all such “field changes”, nor had Sunoco

taken the opportunity to disclose the change at its December 6, 2017 meeting with PDEP, when

PDEP asked whether Sunoco was in violation of any other permits.



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        A Total Stop-Work Order

        208.   On January 3, 2018, PDEP ordered a total halt on construction of ME2 and

ME2X.

        209.   In the January 3, 2018 order (the “January 2018 Order”). PDEP stated:

        Sunoco’s unlawful conduct… demonstrates a lack of ability or intention on the
        part of Sunoco to comply with the Clean Streams Law, the Dam Safety and
        Encroachments Act, and the permits issued thereunder. Suspension of the
        permits… is necessary to correct the egregious and willful violations described
        herein. Other enforcement procedures, penalties and remedies available to
        [PDEP] under the Clean Streams Law and the Dam Safety and Encroachments
        Act would not be adequate to effect prompt or effective correction of the
        conditions or violations demonstrated by Sunoco’s lack of ability or intention to
        comply.

        210.   Sunoco was therefore required to “immediately suspend all work” on ME2 and

ME2X unless that work was expressly authorized by PDEP in writing. PDEP also, again,

ordered Sunoco to report any other changes it had made to the permits it had been issued. Work

was stopped for over a month.

        211.   On February 8, 2018, PDEP assessed a $12.6 million fine, one of the largest civil

penalties ever issued by PDEP. Thereafter, Sunoco was permitted to resume work on ME2 and

ME2X.

        212.   On March 7, 2018, not even a month after Sunoco had been allowed to resume

construction on ME2 and ME2X, the PUC granted an emergency request made by its Bureau of

Investigation and Enforcement, and ordered Energy Transfer to temporarily shut down ME1,

due to concerns about the “integrity of the pipeline” that arose when new sinkholes in Chester

County revealed some of the subterranean pipeline. Sunoco completed corrective action in late

April 2018, and ME1 operations were allowed to resume on May 3, 2018.

        213.   On April 25, 2018, Pennsylvania State Senator Andrew Dinniman (“Dinniman”)

filed a formal complaint against Sunoco before the PUC with respect to Sunoco’s HDD
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operations in West Whiteland Township, Chester County. He sought, inter alia, an injunction to

prohibit Sunoco from constructing ME2 or ME2X within fifty feet of any home, industrial

building, or public gathering place in West Whiteland Township and from continuing to operate

ME1. His complaint and the relief sought were based on Sunoco’s history of accidents,

pollution, noncompliance, and willful and egregious conduct towards regulators, many instances

of which are enumerated herein. The emergency petition was granted on May 21, 2018.

        214.    In the decision, Judge Barnes stated:

        Sunoco has made deliberate managerial decisions to proceed in what appears to
        be a rushed manner in an apparent prioritization of profits over the best
        engineering practices available in our time that might best ensure public safety.

        Fines Levied for Additional Violations

        215.    On April 27, 2018, PDEP found that Sunoco had violated its permits and

Pennsylvania laws with respect to 69 frac-outs that occurred in just over two months. PDEP

fined Energy Transfer an additional $355,000.

        216.    On August 2, 2018, PDEP fined Energy Transfer an additional $147,000 for

multiple instances of violations which were reported by affected citizens, fifteen of whom were

in Chester County and one each in Berks and Lebanon Counties. All violations were caused by

HDD activities, resulted in the contamination of private well water supplies, and were not

reported by Sunoco to PDEP as required under the Special Permits and the HDD IR Plan.

        217.    On August 20, 2019, PDEP fined Energy Transfer an additional $240,000 for

more than 100 violations of Special Conditions and Pennsylvania laws in ten counties.

        218.    On August 21, 2019, the very next day, PDEP fined Energy Transfer an

additional $78,000 for further violations of permits which required Sunoco to implement and

maintain erosion and sedimentation control BMPs in Cumberland County and which Sunoco

failed to do.
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       219.    In March 2020, the Company applied for and was granted a waiver from

Pennsylvania’s requirement that all non-essential work cease due to Covid-19.

       220.    In the waiver request, Energy Partners enumerated the work remaining on ME2:

           •   46 horizontal directional drill (“HDD”) locations across the Commonwealth of
               Pennsylvania, which included:

                  o HDD that was at only the first, pilot stage at (i) Milford Road/Little
                    Conestoga Road in Chester County; and (ii) Bow Tree/Matlack
                    Stratsburg Road in Chester County. At both locations, groundwater was
                    surfacing through the HDD borehole;

                  o HDD that was at 54% of the final ream stage at Arch Bishop/South
                    Chester Road in Chester County. Groundwater was also surfacing at this
                    location;

                  o HDD at Creek T-307 in Lebanon County; and Case 2:20-cv-00200-GAM
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                  o HDD at Whitehouse Lane in Dauphin County.

           •   Three in-progress HDDs on property owned by the U.S. Army Corps of
               Engineers, specifically Loyalhanna Lake in Loyalhanna Township,
               Westmoreland County (discussed above in Section IV.F.2); Livermore Road in
               Derry Township, Westmoreland County; and Raystown Lake in Penn Township,
               Huntingdon County (discussed above in Section IV.F.2);

           •   Construction activity at a road bore underway at Pottstown Pike, located in West
               Whiteland Township, Chester County; and the open cut of a portion of
               Appalachian Drive, located in Middlesex Township, Cumberland County; and

           •   Four work locations on the ME2/2X pipeline project where open excavation
               trenches/pits still existed, which included: Piney Creek (Blair County); Delmont
               Terminal (Westmoreland County); Beckersville Terminal (Berks County); and
               Chestnut Hill (Berks County).

       Defendants’ Bribery Scheme at Lisa Drive

       221.    In addition to Defendants’ environmental violations and improper conduct in

connection with the permitting of ME2, Defendants also caused Energy Transfer to orchestrate

a bribery scheme in brazen violation of Pennsylvania law.




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       222.    In order to control ME2 sites, including the Lisa Drive Site, Defendants caused

Energy Transfer to illegally hire Pennsylvania Constables to act as private security, assuming

the guise of the authority of the Commonwealth and its courts to intimidate citizens and repress

objections to its operations.

       223.    In fact, Energy Transfer had an “unwritten policy” to employ Constables as

private security for the Pipeline Projects. Energy Transfer further directed the Constables to

wear uniforms and display their badges and firearms so as to conceal unlawful construction

practices.

       224.    Energy Transfer further created a series of shell companies through which it paid

the Constables so as to conceal what it was doing.

       225.    The Constables, under Pennsylvania law, are elected officials who are paid by

the Pennsylvania state courts as provided by statute. Constables are authorized, inter alia, to

serve arrest warrants and civil process, to transport criminal defendants, to serve as courtroom

security, and to preserve the peace at polling locations. They are prohibited from representing

themselves as officers of the court when not engaged in official duties. They are also prohibited

from holding private detective licenses. They are governed by the Pennsylvania Ethics Act,

under which they are prohibited from using their office for their own private pecuniary benefit.

       226.    On December 19, 2018, DA Hogan initiated a criminal investigation into ME2

construction, which led to charges of criminal bribery and conspiracy against Energy Transfer’s

security manager and four employees at the two independent security contractors employed by

Energy Transfer, TigerSwan LLC (“TigerSwan”) and Raven Knights LLC (“Raven Knights”).

       227.    Subsequently, the Delaware County Attorney General and Pennsylvania

Attorney General commenced a parallel investigation into similar misconduct in Delaware



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County.

       228.    On August 17, 2017, Energy Transfer’s security manager for the Mariner East

System, Frank Recknagel (“Recknagel”) sent a text message which read, “working on a plan to

have a licensed/un[i]formed PA State Constable provide coverage at this specific area.”

       229.    On November 30, 2017, a TigerSwan employee proposed using off-duty police

officers; Recknagel replied in an email that it was Energy Transfer’s “unwritten policy” to use

“On Duty” officers to provide armed security. Rather than hire a private security firm, Energy

Transfer specifically employed uniformed and armed Constables because it anticipated that their

official badges and firearms would be more authoritative than a private security guard uniform.

       230.    On January 22, 2019, Energy Transfer claimed that it had “engaged security at

Lisa Drive at the request of the impacted homeowners to restrict access to their property as

they were concerned not only with protecting their privacy, but the possibility of people

trespassing on their property.”

       231.    However, while Lisa Drive homeowners had expressed concerns, those concerns

were about the presence of armed security in close proximity to their homes and families. In

response to these concerns, on April 12, 2018, an Energy Transfer executive directed Recknagel

to have the Constables make themselves available to meet with local parents.

       232.    Local police also filed several reports documenting encounters with the

Constables. March 5, 2018 and March 24, 2018 reports, in which the West Whiteland Township

police officers were responding to complaints of trespassing, note that the officers spoke with

Constable Kareem Johnson, who stated that he had been hired by Sunoco. Likewise, a May 7,

2018 report by an officer responding to a disturbance notes that the officers spoke to Dauphin




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County Constable Tyrai Anderson, who stated that he had been “hired as a deterrent and to

monitor the Lisa Drive location.”

       233.    As part of DA Hogan’s investigation into the ME2 construction and illegal use of

Constables, on January 2, 2019, Chester County Detective Ben Martin (“Detective Martin”)

conducted a visit to the Lisa Drive Site. 11 While there, he interviewed Thomas Allen, who

owned property on Lisa Drive which had an easement that Energy Transfer used to construct

and operate ME2. Allen said that he had seen armed individuals on his property, and that a

Sunoco subcontractor had identified one as a Constable.

       234.    On January 4, 2019, as part of the same investigation, Detective Martin

interviewed State Senator Dinniman. Dinniman said that he had received reports from his

constituents that at an ME2 site, Energy Transfer employed security personnel who displayed

official badges, were armed, and identified themselves as Constables. Dinniman further said that

the constituents reported being intimidated by the security personnel and that the security

personnel restricted residents’ movements on the residents’ own properties.

       235.    On January 21, 2019, Detective Martin again visited the Lisa Drive site, where

he was approached by Constables to intimidate him. He parked in a legal space on a public

street at approximately 10:30 am, when an armed security guard approached. The guard, who

identified himself as Constable Mike Robel (“Robel”) was a Constable in Northumberland

County and wore a “patrol style duty belt with a firearm” and a visible constable badge. Robel

told Martin that he could not park in the legal space on the public street, and that he would have

to move the vehicle. Martin informed Robel that he was a Chester County detective, and that he

would move the vehicle when he had finished what he was doing.

_________________________________
11
   Information about Detective Martin’s investigation is derived from DA Hogan’s criminal
complaint against Recknagel and the four TigerSwan and Raven Knights employees.
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       236.    Later on January 21, 2019, Martin again spoke with Robel. Robel stated that he

worked as a subcontractor for Sunoco through James Murphy, who was associated with Raven

Knights, the security contractor Sunoco employed. Robel stated that he was being paid by

Sunoco, not by the courts, because “Sunoco wanted certified Constables in uniform as private

security for the project.”

       237.    On March 13, 2019, Martin spoke with Constable Tyrone Harley, Jr (“Harley”).

Harley stated that he had been recruited by James Murphy of Raven Knights to work as security

for the Mariner East System. Harley stated that he reported to Mike Boffo (“Boffo”), of

TigerSwan, and that he used WhatsApp, a secure end-to-end encrypted texting app, to

communicate about the work. Harley also stated that he was paid $25 per hour in paper checks.

       238.    On April 8, 2019, Martin spoke with Constable Paul Norris (“Norris”). Norris

stated that he had heard about the work from Constable Kareem Johnson, who had passed along

Norris’s information. Several weeks afterwards, “a security supervisor” contacted Norris to join

the security team. Norris stated that he had faxed his credentials and qualifications to James

Murphy, of Raven Knights.

       239.    At an unspecified date, Martin spoke with Constable Kareem Johnson

(“Johnson”). Johnson stated that he called a number provided by Constable Harley, and spoke to

an individual who Johnson believes was Nikolas McKinnon (“McKinnon” of TigerSwan. Soon

after, Johnson went to the Fairfield Inn in Lionville, PA, where Johnson met with Boffo and

Bobbie Ripley, both of TigerSwan, and provided his credentials and certifications. Johnson

stated that during this meeting, he was wearing his uniform and that he was told to do so when

he was working as security on the Mariner East System.




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       240.    According to Constable Norris, Boffo set up a suite of rooms at the Fairfield Inn

in Lionville, PA from which to run the security operations for the Mariner East System.

       241.    According to Constable Harley, Boffo provided him with a body camera to use

while he worked as security for the Lisa Drive Site.

       242.    McKinnon, a TigerSwan employee, conveyed both specific and general

information reported by the Constables to Recknagel.

       243.    As stated above, the Constables identified themselves to citizens, West

Whiteland Township police, and Chester County Detective Martin as Constables employed by

Sunoco.

       244.    On August 8, 2019, Chester County law enforcement arrested Constables Robel

and Johnson and charged them with bribery, official oppression, and violations of the

Pennsylvania Ethics Act.

       245.    Energy Transfer spokesperson Lisa Coleman stated in an email:

       Constables Johnson and Robel were not Sunoco or Energy Transfer employees.
       They were employed by Raven Knights, who provided security services and
       personnel. We have a code of conduct for all of [our] contractors and third party
       vendors that clearly states what are acceptable behaviors and business practices,
       and we expect our contractors and their employees to adhere to that.

       246.    Charges brought against Energy Transfer allege that Energy Transfer and Sunoco

illegally hired 19 constables in connection with construction of ME2. DA Hogan named not

only Recknagel, but also James Murphy and Richard Lester, respectively operator of and owner

of Raven Knights, and McKinnon and Boffo, respectively senior security adviser and site

security manager of TigerSwan.

       247.    Raven Knights is controlled by former Pennsylvania state troopers James

Murphy and Richard Lester, and were hired by and controlled by TigerSwan.



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       248.    TigerSwan has long been associated with Energy Transfer, including with its

controversial projects. TigerSwan employees McKinnon and Boffo both previously worked on

the Dakota Access Pipeline Project, located in North Dakota, and TigerSwan was a defendant in

litigation related to allegations of unlicensed security work related to that project. In Louisiana,

with respect to Energy Transfer’s Bayou Bridge Pipeline, TigerSwan was accused of improperly

registering a new company to circumvent the denial of a license to perform security work.

TigerSwan also faced negative press coverage related to its conduct at the Dakota Access

Pipeline, which detailed TigerSwan’s militaristic “counterterrorism” tactics used against

protestors lawfully exercising their Constitutional rights.

       249.    Upon information and belief, Energy Transfer, at the direction of Defendants,

directly controlled the operations of Raven Knights and TigerSwan and through them, illegally

hired Constables to use the authority of their official positions to intimidate citizens.

       250.    As alleged in DA Hogan’s complaint, Energy Transfer paid the constables

through a convoluted series of accounts “in a fashion calculated to avoid legally-mandated

reporting requirements.” The contractors were paid a total of $804,590 between September

2017 and February 2019, in more than 23 separate transactions. The Constables were paid from

a Ravens Knight bank account funded by deposits made by TigerSwan and by two Energy

Transfer construction subcontractors without any involvement or operational control over the

Constables. However, TigerSwan and Raven Knights communicated extensively with Energy

Transfer via Recknagel about, inter alia, payments made to the Constables, a quarterly spending

breakdown for the Lisa Drive Site, the hiring process, credentialing, training, scheduling, and

duties. The emails differentiated between the private security and the Constables when




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discussing personnel and budgets. Moreover, the Constables failed to report the income on their

Pennsylvania Ethics Statements, as they were legally required to do.

       Another Pattern of Environmental Violations at Revolution Project

       251.   Revolution was a system of “feeder” lines that was intended to gather NGLs

from the Marcellus Shale and transport them to the transmission lines, including ME2.

       252.   Like with the ME2 Pipeline, Defendants claimed that, for Revolution, their

highest priority was safety for employees, the surrounding community, and the general public;

that the Company met and exceeded all environmental standards and regulations, and that the

Company was doing its utmost to ensure the safe and timely completion of Revolution.

However, like with ME2, Defendants acted with severe recklessness and a total disregard for

Pennsylvania law when constructing Revolution.

       253.   After a series of misconduct and mishaps throughout Revolution construction, on

September 10, 2018, problems at Revolution came to a head when the pipeline actually

exploded, demonstrating the very real danger to human health and the environment that the

pipeline posed.

       254.   Energy Transfer relied on its subsidiary ETC Northeast Pipeline LLC (“ETC

NE”) throughout the construction of Revolution. The project envisioned a pipeline to transport

gas drilled by third parties to a cryogenic gas procession plant (the “Revolution Plant”). These

third parties would be customers, paying Energy Transfer for use of the pipeline. Energy

Transfer would also profit by its operations at the Revolution Plant, where it would process and

separate the raw liquid natural gas into methane and other NGLs. These would be compressed

and then transported through ME2 or another Energy Transfer pipeline, Rover.




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       255.    Construction on Revolution began on March 14, 2017, with an anticipated

completion date of mid-2017, only a few months later.

       256.    However, this deadline was impossible to meet from the beginning. In early

2017, EdgeMarc Energy Holdings, LLC (“EdgeMarc”) abandoned its commitment to transport

NGLs through Revolution when Energy Transfer failed to meet the “drop dead” date in the

Energy Transfer-EdgeMarc commitment contract, under which EdgeMarc could back out

without penalty if Energy Transfer failed to have Revolution operational by that date.

       257.    In order to entice customers back to Revolution, Defendants orchestrated a

campaign of misrepresentations, promising customers firm completion dates and, again,

providing “drop dead” dates in contracts, under which the customers could exit the contract

without penalty if Energy Transfer failed to deliver on its promised completion date. This was

fortuitous for the customers because failing to deliver on Revolution’s completion date is

exactly what Energy Transfer did.

       258.    EdgeMarc entered a subsequent commitment contract with Energy Transfer,

under which EdgeMarc committed to using Revolution and Energy Transfer committed to

having a safe, legal, structurally sound pipeline in-service by January 1, 2019. If Energy

Transfer failed to do so, EdgeMarc could walk away without penalty.

       259.    PennEnergy Resources, LLC (“PennEnergy”), another customer, entered into a

similar contract under which PennEnergy committed to using Revolution and Energy Transfer

committed to having a safe, legal, structurally sound pipeline in-service by October 1, 2018. If

Energy Transfer failed to do so, PennEnergy could walk away without penalty.

       260.    Because of these “drop dead” dates, timing was of critical importance to Energy

Transfer, and that motivated Energy Transfer to cut corners and engage in unsafe, illegal



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construction practices.

       261.    Defendant McCrea was ultimately responsible for Revolution, as well as the

contracts with EdgeMarc and PennEnergy. Defendant McCrea was the actual decision maker

for ETC NE, and had “final sign off” for Revolution.

       262.    The route for Revolution traversed 110 miles, including geological areas prone to

landslides, soil erosion, and sedimentation. This was known to Defendants based on the many

geological studies of the area and route prepared by Energy Transfer and its consultants, as well

as from public records, including studies conducted by the U.S. Geologic Survey, which

specifically designates the area in Western Pennsylvania as having a high incidence of

landslides.

       263.    Over the course of 2017, the completion date for Revolution was continually

pushed back. Although in March 2017, the completion date was projected to be “mid-2017,” by

May 4, 2017, Defendant Long stated on an earnings call that Revolution “is still on schedule to

be in service in the fourth quarter on 2017.” On another earnings call on August 9, 2017,

Defendant Long repeated the fourth quarter 2017 completion date. By the November 8, 2017

earnings call, Defendant Long admitted that Revolution would not be completed in the fourth

quarter of 2017, or in fact during 2017 at all, stating that “[c]onstruction is scheduled to be

completed in the first quarter of 2018.” On February 28, 2018, Defendant Long again walked

back the completion date, stating that “construction is mechanically complete,” and that in-

service dates were dependent on Rover and ME2 (which he also falsely suggested were

imminently going to go online).

       264.    Despite all these assertions that Revolution was on the verge of completion, in

fact, Energy Transfer had been conducting daily inspections of Revolution which found that the



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pipeline had repeated surface failures along its route, and found areas where the ground nearby

appeared to be experiencing subsidence due to the underlying geologic conditions, which had

been known or should have been known to Defendants throughout planning and construction.

       265.    In order to progress as far and as fast as they did, Defendants caused the

Company to break numerous laws and regulations related to safety and environmental

protections, which, once Defendants’ misconduct was discovered, would cause fines, civil

penalties, and litigation, and would necessitate additional work to bring Revolution into

compliance.

       266.    In January 2016, pre-construction, Energy Transfer hired an engineering

consultant firm, Terracon Consultants, Inc. (“Terracon”), to evaluate the safety of the proposed

pipeline route. The consulting firm’s report stated that the proposed path was highly dangerous

and crossed terrain known to experience landslides. However, because obtaining easements for

another route would have been time-consuming and would likely delay completion, and because

Defendants had put the Company under such extreme pressure to meet the promised completion

dates, construction of Revolution along the original, highly dangerous route went forward.

Terracon produced a Geohazard Evaluation Report (the “Geohazard Report”), which was for

use by field personnel to control risks associated with constructing the pipeline along this

particularly dangerous route.

       267.    In order to construct Revolution, Energy Transfer applied for and obtained

numerous permits, including Erosion and Sedimentation Control General Permit Authorizations

(the “ESCG Permits”), which provided that noncompliance would constitute not only a

violation of the permit itself, but also of the Clean Streams Law and the 2012 Oil and Gas Act.




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       268.    In addition to the ESCG Permits, Energy Transfer also applied for and obtained

permits for “limited encroachments” on waters of the Commonwealth (“Encroachment

Permits”), which were required under the Dam Safety Act.

       269.    The ECSG Permits and the Encroachment Permits required that Energy Transfer

use “Best Management Practices” (“BMPs”) to minimize and control soil sedimentation and

erosion, manage stormwater runoff when moving earth for construction purposes, and ensure

that the area around Revolution was properly stabilized. The ECSG Permits also required

Energy Transfer to create Erosion and Sedimentation Control Plans (“E&S Plans”) and Post-

Construction Stormwater Management Plans (“PCSM Plans”).

       270.    These safeguards were particularly necessary because the route passed through

shale bedrock formations, which are known to have a high potential for geological hazards.

Additionally, the route passed over steep slopes, holes and shafts from historical mining

operations, and areas with high risks of landslides and sinkholes.

       271.    Terracon conducted four scan line reviews. Scan line reviews are field

reconnaissance of segments of the pipeline path, and, of the four reviews conducted, one was

within five hundred feet of the site where Revolution ultimately exploded in September 2018.

At that sites, Terracon reported that the area showed multiple signs of being particularly

susceptible to landslides.

       272.    Landslides are more likely to occur in areas with rotational slips and/or

hammocky topography. Rotational slips are when land mass moves downwards along a slope,

often when the weight of heavy rainwater exerts pressure on the land mass. Hammocky

topography is highly irregular and wavy ground located near the bottom of a rotational slip,

often caused by previous landslides.



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       273.    Terracon advised that because of the signs rotational slip and hammocky

topography, removal of vegetation (which naturally stabilizes the ground) and restriction of

natural drainage—both of which would be necessary to construct Revolution—may increase in

even greater susceptibility to landslides.

       274.    Nevertheless, Defendants insisted on building Revolution on the original, highly

dangerous path.

       275.    In addition to ignoring their own experts’ reports, Defendants repeatedly caused

Energy Transfer to violate permits while constructing Revolution.

       276.    BMPs included use of compost filter socks, waterbars, stabilized road entrance,

erosion control blankets, and seeding. ECSG Permits required inspection of the BMPs weekly

and after each stormwater event. E&S Plans required that, in areas susceptible to slope failures,

i.e. landslides, construction activities “should be investigated and evaluated by a licensed

Geotechnical Engineer in order to address any stability issues.”

       277.    In January 2017, preconstruction, PDEP and other regulators issued technical

deficiency letters with respect to many of Energy Transfer’s planned E&S Plans and BMPs.

       278.    In May 2017, during construction activity, PDEP inspections identified

violations related to improper BMP implementation.

       279.    At one location, from November 2017 until March 2018, at least ten separate

PDEP inspections identified over a dozen violations of the Clean Stream Laws and ultimately

led to a June 2018 Consent Order and Agreement (the “June 2018 Order”), which found that

Energy Transfer had violated the Dam Safety & Encroachments Act, the Clean Streams Law,

and regulations related to dam safety, water management, erosion, and sedimentation control.




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       280.    PDEP also cited Energy Transfer for failing to prevent spoiled material from

sliding downslope into Racoon Creek, a waterway close to the site of the September 2018

Revolution Explosion. The slide resulted in a “significant loss of the streambank,” affecting (i.e.

destabilizing) some 290 linear feet. Energy Transfer paid a $145,250 penalty related to its

violations at Raccoon Creek and agreed to implement restoration plans to remediate the

damage, and to monitor the site for five years.

       281.    At a different section in Independence Township near the intersection of

Newman Road and Route 30, PDEP conducted three separate inspections from May 3 until May

29, 2018, and issued at least fifteen citations for violations of the Clean Streams Law, related to

failures to maintain BMPs, failures to stabilize the area, and failures to comply with permit

conditions.

       282.    In February 2018, a “major” landslide, which damaged trees and gouged land

down to a nearby stream, occurred in the pipeline right-of-way near Penny Hollow Road in

Beaver County.

       283.    In April 2018, another landslide occurred near Highway 151 in Independence

Township, only thirty feet from the site of the Revolution Explosion. There, Energy Transfer

attempted to stabilize the area by desaturating soil, moving the soil uphill, and installing

unpermitted underground drainage. Not only was the work conducted without proper permits,

but PDEP later determined that no engineer or geotechnical expert was consulted by field staff

when performing this structural geotechnical work.

       284.    Altogether, Revolution was subject to numerous soil stability issues, including

landslides, slope failures, and ground cracks, in at least 39 different locations.




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       285.    Nevertheless, on or about June 1, 2018, Energy Transfer reported to PDEP that

Revolution was “mechanically complete and ready to be placed into commercial service.”

       286.    The soil stability issues that had plagued Revolution’s construction continued as

Energy Transfer prepared to place the pipeline into service in summer 2018.

       287.    In fact, in the days before the Revolution Explosion, Energy Transfer installed

curtain drains and erosion matting, mixed calcimite into the soil, and re-seeded the slope,

indicating that it was clearly aware of the risks associated with instability at the location, and yet

continued to attempt to bring Revolution into commercial service to transport quantities of

highly explosive NGLs along the pipeline’s unstable route through residential areas.

       288.    On September 9, 2018, Energy Transfer began the multi-day commissioning

process to bring Revolution online or “in-service.” This required purging all air from inside the

pipeline and then filling the pipelines with gas to the necessary pressure levels.

       289.    Energy Transfer never completed the commissioning process, and Revolution

never commenced commercial service.

       290.    At approximately 4:56 a.m. on the morning on September 10, 2018, residents of

Ivy Lane in Center Township, a municipality near Pittsburgh, reported that they were woken by

a geyser of fire exploding from the pipeline, so loud that they thought a plane was crashing into

their homes. Several homes were destroyed, and one family nearly killed, by the Revolution

Explosion.

       291.    Callers to emergency services variously reported plane crashes, meteorite, and

power plant explosions. Neither the residents nor local fire department nor other local

government officials were aware that gas had begun flowing through Revolution the day before.




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       292.    On September 11, 2018, Energy Transfer sent a letter to affected homeowners,

blaming the Revolution Explosion on a landslide due to “unprecedented” rainfall, even though

rainfall was within the expected range for the area.

       293.    ETC NE, which was in charge of contracts with customers, sent a letter to

EdgeMarc and one to PennEnergy, which claimed that Revolution had been placed into service

on September 9, 2018, despite the fact that the multi-day commissioning process had not been

completed and the pipeline had never been able to transport NGLs commercially.

       294.    The letters from ETC NE to EdgeMarc and PennEnergy further claimed that a

force majeure event, outside of Energy Transfer’s control, had occurred, making Energy

Transfer unable to accept gas from its customers.

       295.    Defendants knew or should have known that Revolution had never been in-

service.

       296.    Both PennEnergy and EdgeMarc ultimately contested Energy Transfer’s claims

under the contracts, noting that they were not liable for the contracts because Energy Transfer

had failed to put Revolution in-service by October 1, 2018 and January 1, 2019, respectively.

They also contested Energy Transfer’s characterization of the landslide and resulting Revolution

Explosion as a force majeure event.

       297.    Defendants knew or should have known that what occurred was not a force

majeure event, but rather, an entirely foreseeable landslide that occurred at a site particularly

susceptible to landslides, through which Energy Transfer had nevertheless chosen to construct

the pipeline over safer alternative routings, at which Energy Transfer had repeatedly failed to

comply with permits meant to protect public safety and the environment, and at which, when the

heavy rain that normally affected the region occurred, the pipeline foreseeably failed.



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       298.      Post hoc review of permitting documents for the Revolution Explosion site

showed that Energy Transfer knew, since at least 2015, that the area “included a ‘slip’ landslide

area” with “dangerous and unstable hillslope terrain.”

       299.      Not only did Defendants’ mismanagement of Revolution create unacceptable

risks to public health and safety and the environment, it also caused foreseeable economic loss

to the Company due to failure to meet the contractual “drop dead” dates with customers.

       300.      The Company was further subjected to regulatory consequences. On October 29,

2018, PDEP issued an order (the “October 2018 Order”) to “immediately stabilize disturbed

areas, repair erosion control features, and stop all other earth moving activities associated with

the Revolution.” PDEP also ordered Energy Transfer to submit a detailed plan to repair the

damage caused by the Revolution Explosion. A public press release commenting on the October

2018 Order stated that ““inspections discovered violations including unreported landslides,

impacts to aquatic resources, construction activities occurring in unpermitted areas, and several

sections of the pipeline that required the installation of additional measures to prevent

accelerated erosion.”

       301.      In addition to PDEP’s regulatory response, public prosecutors initiated several

investigations into the Revolution Explosion. The U.S. Attorney for the Western District of

Pennsylvania issued a federal grand jury subpoena seeking documents relevant to the

Revolution Explosion. The Pennsylvania Attorney General is also conducting its own

investigation.

       302.      On November 26, 2018, PDEP rejected Energy Transfer’s first erosion control

plan pursuant to the October 2018 Order. On December 3, 2018, PDEP rejected Energy

Transfer’s first Stabilization Plan, Landslide Plan, and Updated ESC Plan (the “Repair Plan”).



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Energy transfer submitted a subsequent five Repair Plan to PDEP, all of which were rejected as

technically deficient, before receiving approval on the seventh plan submitted.

       303.     Additionally, between September 10, 2018 and the first week of January 2019,

PDEP performed 46 separate inspections of Revolution, each finding continuing violations.

       304.     On January 9, 2019, PDEP issued a notice to Energy Transfer (the “January 2019

Notice”). The January 2019 Notice stated that Energy Transfer had “failed to comply with the

[October] 2018 Order.” It further stated that Energy Transfer had “[f]ailed to install flagging,

markers, or signs at the site,” had failed to “cease sediment laden discharges into

Commonwealth waters,” and had failed to “temporarily stabilize disturbed areas.” The January

Notice further stated that not only was Energy Transfer noncompliant, “[m]ultiple inspections

by [PDEP] staff” had determined that Energy Transfer “was not progressing towards

compliance.”

       305.     On February 8, 2019, PDEP issued another letter to Energy Transfer. The letter

stated the Energy Transfer was continuing to fail to remedy the site damaged in the Revolution

Explosion, and to comply with the October 2018 Order generally.

       306.     On February 8, 2019, PDEP issued a hold on all Energy Transfer Clean Water

Permit approvals and modifications. The hold was to continue until PDEP was satisfied that

Energy Transfer had corrected all misconduct. The hold affected not just Revolution, but all

permits and projects Energy Transfer with which Energy Transfer was involved in

Pennsylvania.

       307.     On December 13, 2019, more than fifteen months after the Revolution

Explosion, PDEP conditionally approved Energy Transfer’s Repair Plan.




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        308.   During those fifteen months, numerous PDEP inspections identified at least 19

distinct segments that were not properly stabilized, at least 353 distinct instances of accelerated

erosion and sedimentations, and at least 540 distinct instances of discharge of sediment-laden

water in the waters of the Commonwealth, each a flagrant violation of relevant permits and

laws.

        309.   Moreover, as to the permits, PDEP identified at least 868 BMPs that were

improperly implemented or maintained; at least 1,589 BMPs that were not installed or

improperly installed; and at least 244 instances where Energy Transfer failed to submit

corrective action reports in response to BMP failures.

        310.   On January 3, 2020, exactly two years after the January 2018 Order (pertaining

to “willful and egregious” misconduct involving ME2), PDEP issued a further order to Energy

Transfer (the “January 2020 Order”). The January 2020 Order admonished Energy Transfer for

“willful and egregious” violations during its planning and construction process for Revolution.

        311.   The January 2020 Order enumerated repeated findings of misconduct by Energy

Transfer, in violations of safety and environmental obligations. It stated:

        “[F]rom the commencement of construction on March 14, 2017 to September 10,
        2018, [Energy Transfer] failed to inform the people that performed construction
        work on the Revolution Pipeline of the ESCGP Geohazard Requirements, the
        Construction Sequence, or any other part of the Narrative of the ESCGP.”

        312.   PDEP Secretary McDonnell commented:

        “[ETC NE]’s lack of oversight during construction of Revolution Pipeline and
        their failure to comply with DEP’s October 2018 compliance order demanded
        serious accountability. Their inaction led directly to this unprecedented civil
        penalty.”

        313.   The PDEP’s “unprecedented civil penalty” was a $30.6 million fine, in addition

to injunctions that Energy Transfer remediate the effects of its prior misconduct, and bring itself

into compliance before proceeding any further with Revolution. In addition to the $30.6 million

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fine, PDEP also assessed $20,000 per day of noncompliance, which, upon information and

belief, is still accruing against the Company. As of May 1, 2020, Energy Transfer owed DEP

nearly $2.5 million from the accrued per diem fines, but had yet to pay PDEP any of that

amount.

       314.    Despite this, by April 27, 2020, the Pittsburgh Post-Gazette had published an

article titled “Energy Transfer racks up more violations on Revolution Pipeline,” reporting that

Energy Transfer was “already negotiating a new settlement to address a slew of violation found

since” the January 2020 Order. The new settlement was supposed to address 596 new

violations, which included causing soil displacement, erosion, and sediment laden water to enter

waters of the Commonwealth, violations in like kind of those that had led to the January 2020

Order and its $30.6 million fine. The newspaper calculated that inspections of Revolution

comprised less than one percent of the 8,200 inspections PDEP conducted between January 1,

2020 and the date of publication, but accounted for 19% of violations. Revolution garnered

nearly ten violations per inspection.

       315.    The Pittsburgh Post-Gazette also reported that Energy Transfer had not yet been

able to demonstrate to PDEP’s satisfaction that Energy Transfer had attained control of erosion

at the site of the Revolution Explosion, and, consequently, Energy Transfer was not able to

begin actually repairing the ruptured pipeline.

       316.    As of the filing of this Complaint, daily fines against Energy Transfer continue to

accrue, and Revolution has remained inoperable.

       False and Misleading Statements

       February 24, 2017 Form 10-K

       317.    During after-market hours on February 24, 2017, the Company filed with the

SEC its annual report on Form 10-K for the fiscal year ended December 31, 2016 (the “2016
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10-K”). The 2016 10-K was signed by Defendants Warren, Long, McReynolds, McCrea,

Ramsey, Brannon, Turner, and Williams, and contained certifications pursuant to Rule 13a-

14(a) and 15d-14(a) under the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”)

signed by Defendants McReynolds and Long attesting to the accuracy of the financial

statements contained therein, the disclosure of any material changes to the Company’s internal

controls, and the disclosure of any fraud committed by the Company, its officers, or its

directors.

        318.   The 2016 10-K emphasized the Company’s extensive corporate governance,

stating that “[t]he Board of Directors has adopted both a Code of Business Conduct and Ethics

applicable to our directors, officers and employees, and Corporate Governance Guidelines for

directors and the Board.”

        319.   The 2016 10-K further noted “[s]pecific provisions [of the Company’s corporate

governance] are applicable to the principal executive officer, principal financial officer,

principal accounting officer and controller, or those persons performing similar functions, of our

General Partner.” The 2016 10-K directed the investing public to the Company’s Code of

Conduct by stating, “[c]urrent copies of [the Company’s] Code of Business Conduct and Ethics

. . . are available on [the Company’s] website.”

        320.   The 2016 10-K also stated that the Company believed that it had valid title to all

of its properties, and that the Company had obtained or was in the process of obtaining all

necessary permits and authorizations for its properties, including its pipelines. The 2016 10-K

stated the following:

        We believe that we have satisfactory title to or valid rights to use all of our
        material properties. Although some of our properties are subject to liabilities and
        leases, liens for taxes not yet due and payable, encumbrances securing payment
        obligations under non-competition agreements and immaterial encumbrances,

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     easements and restrictions, we do not believe that any such burdens will
     materially interfere with our continued use of such properties in our business,
     taken as a whole. In addition, we believe that we have, or are in the process of
     obtaining, all required material approvals, authorizations, orders, licenses,
     permits, franchises and consents of, and have obtained or made all required
     material registrations, qualifications and filings with, the various state and
     local government and regulatory authorities which relate to ownership of our
     properties or the operations of our business.

     Substantially all of our subsidiaries’ pipelines, which are described in “Item 1.
     Business” are constructed on rights-of-way granted by the apparent record owners
     of the property. Lands over which pipeline rights-of-way have been obtained may
     be subject to prior liens that have not been subordinated to the right-of-way
     grants. Our subsidiaries have obtained, where necessary, easement agreements
     from public authorities and railroad companies to cross over or under, or to lay
     facilities in or along, watercourses, county roads, municipal streets, railroad
     properties and state highways, as applicable. In some cases, properties on which
     our subsidiaries’ pipelines were built were purchased in fee. ETP also owns and
     operates multiple natural gas and NGL storage facilities and owns or leases other
     processing, treating and conditioning facilities in connection with its midstream
     operations.

     321.   The 2016 10-K also specifically referenced the Mariner East System as follows:

     NGL Pipelines

     Sunoco Logistics owns approximately 900 miles of NGLs pipelines, primarily related to
     the Mariner systems in the northeast and southwest United States.

        •   The Mariner East pipeline transports NGLs from the Marcellus and Utica
            Shales areas in Western Pennsylvania, West Virginia and Eastern Ohio to
            destinations in Pennsylvania, including our Marcus Hook Industrial
            Complex on the Delaware River, where they are processed, stored and
            distributed to local, domestic and waterborne markets. The first phase of
            the project, referred to as Mariner East 1, consisted of interstate and
            intrastate propane and ethane service and commenced operations in the
            fourth quarter of 2014 and the first quarter of 2016, respectively. The
            second phase of the project, referred to as Mariner East 2, will expand
            the total takeaway capacity to 345,000 Bbls/d for interstate and intrastate
            propane, ethane and butane service, and is expected to commence
            operations in the third quarter of 2017.
                                   *        *    *
        •   Marcus Hook Industrial Complex. In 2013, Sunoco Logistics acquired
            Sunoco, Inc.’s Marcus Hook Industrial Complex. The acquisition
            included terminalling and storage assets, with a capacity of approximately
            3 million barrels of NGL storage capacity in underground caverns, and

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               related commercial agreements. The facility can receive NGLs via marine
               vessel, pipeline, truck and rail, and can deliver via marine vessel, pipeline
               and truck. In addition to providing NGLs storage and terminalling services
               to both affiliates and third-party customers, the Marcus Hook Industrial
               Complex currently serves as an off-take outlet for the Mariner East 1
               pipeline, and will provide similar off-take capabilities for the [ME2]
               pipeline when it commences operations.

       322.    With respect to the Company’s internal controls, the 2016 10-K stated the

following, in relevant part:

       The management of Energy Transfer Equity, L.P. and subsidiaries is responsible
       for establishing and maintaining adequate internal control over financial
       reporting, as such term is defined in Exchange Act Rule 13a-15(f). Under the
       supervision and with the participation of our management, including the President
       and Group Chief Financial Officer of our General Partner, we conducted an
       evaluation of the effectiveness of our internal control over financial reporting
       based on the framework in the 2013 Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission (“COSO Framework”).

       Based on our evaluation under the COSO framework, our management concluded
       that our internal control over financial reporting was effective as of December 31,
       2016.

       323.    With respect to changes in the Company’s internal controls, the 2016 10-K

further stated, “[t]here has been no change in our internal controls over financial reporting (as

defined in Rules 13a–15(f) or Rule 15d–15(f)) that occurred in the three months

ended December 31, 2016 that has materially affected, or is reasonably likely to materially

affect, our internal controls over financial reporting.”

       324.    The foregoing statements made in the 2016 10-K were materially false and

misleading because Defendants failed to disclose the Pipeline Misconduct, and because

Defendants knew, or should have known, that completing ME2 and bringing it into service at

the promised time and throughput was impossible due to delays caused by Defendants’ repeated

noncompliance with permits, which caused the Company to be saddled with additional work to



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bring the pipeline into regulatory compliance, repeated stop work orders from regulators,

multiple bouts of litigation, and other delays. Additionally, Defendants caused delays with

respect to Revolution by causing Energy Transfer to undertake significant portions of the

construction without proper and necessary permitting, by violating permits, and other

misconduct.

       May 4, 2017 Earnings Call

       325.    On May 4, 2017, the Company held an earnings call with investors, attended by

Defendants Hennigan, Long, McCrea, and Warren. On the call, Defendant Long stated, “Our

Revolution Project is still on schedule to be in service in the fourth quarter of 2017.”

       326.    This statement was materially false and misleading because Defendants knew, or

should have known, that completing Revolution by the fourth quarter of 2017 was impossible.

Completing ME2 and bringing it into service was a necessary precondition to completing and

bringing into service Revolution, and, as discussed above, ME2 could not be brought into

service on the promised schedule because of delays caused by Defendants’ repeated

noncompliance with permits, which caused the Company to be saddled with additional work to

bring the pipeline into regulatory compliance, repeated stop work orders from regulators,

multiple bouts of litigation, and other delays. Additionally, Defendants caused delays with

respect to Revolution by causing Energy Transfer to undertake significant portions of the

construction without proper and necessary permitting, by violating permits, by causing the

release of millions of gallons of pollutants into waters of the Commonwealth, which

subsequently had to be remediated, by failing to use required BMPs for soil erosion which

caused significant structural risk to the pipelines, and other misconduct.




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       May 31, 2017 MLPA Investor Conference

       327.   On May 31, 2017, Energy Transfer executives attended the 2017 MLPA Investor

Conference, during which Defendants stated that ME2 would be in-service “by the end of Q3

2017” with “initial capacity of 275,000 barrels per day with upside of up to 450,000 barrels

per day.” Defendants also stated that the Company forecast “strong distributable cash flow

expected from growth projects coming online in 2017,” and indicated that ME2, ME2X, and

Revolution were among these “growth projects.” Additionally, Defendants stated that

Revolution would be “in-service Q4 2017.”

       328.   Defendants would go on to make the same above-described representations

regarding ME2’s operational date and capacity at numerous conference calls following the May

31, 2017 conference, including the August 16, 2018 Citi One-on-One MPL Conference; the

September 6, 2017 Barclays CEO Energy-Power Conference; the November 15, 2017 RBC

Capital Markets Midstream Conference; the November 29, 2017 Jeffries 2017 Energy

Conference; the December 6, 2017 Wells Fargo Pipeline, MLP and Utility Symposium; the

January 9, 2017 UBS Midstream & MLP Conference; the February 28, 2018 Morgan Stanley

Midstream Energy Conference; the April 9, 2018 Mizuho Energy Summit; the May 21, 2018

2018 MLP & Energy Infrastructure Conference; and the June 19, 2018 J.P. Morgan 2018

Energy Conference.

       329.   These statements were materially false and misleading because Defendants

knew, or should have known, that completing Revolution by the fourth quarter of 2017 was

impossible. Completing ME2 and bringing it into service was a necessary precondition to

completing and bringing into service Revolution, and, as discussed above, ME2 could not be

brought into service on the promised schedule and at the promised capacity because of delays



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caused by Defendants’ repeated noncompliance with permits, which caused the Company to be

saddled with additional work to bring the pipeline into regulatory compliance, repeated stop

work orders from regulators, multiple bouts of litigation, and other delays. Additionally,

Defendants caused delays with respect to Revolution by causing Energy Transfer to undertake

significant portions of the construction without proper and necessary permitting, by violating

permits, by causing the release of million gallons of pollutants into waters of the

Commonwealth, which subsequently had to be remediated, by failing to use required BMPs for

soil erosion which caused significant structural risk to the pipelines, and other misconduct.

       June 27, 2017 J.P. Morgan Equity Conference

       330.    On June 27, 2017, Energy Transfer executives attended the 2017 J.P. Morgan

Equity Conference, during which Defendants stated that the Company would have ““strong

distributable cash flow expected from growth projects coming online in 2017.” They described

ME2 and Revolution as two of these “growth projects.”

       331.    Defendants also stated that ME2 would be in-service “by the end of Q3 2017,”

with initial capacity of 275,000 bls/d and “with upside of up to 450,000 bls/d,” and that

Revolution would be completed and “in-service Q4 2017.”

       332.    These statements were materially false and misleading because Defendants

knew, or should have known, that completing Revolution by the fourth quarter of 2017 was

impossible. Completing ME2 and bringing it into service was a necessary precondition to

completing and bringing into service Revolution, and, as discussed above, ME2 could not be

brought into service on the promised schedule and at the promised capacity because of delays

caused by Defendants’ repeated noncompliance with permits, which caused the Company to be

saddled with additional work to bring the pipeline into regulatory compliance, repeated stop



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work orders from regulators, multiple bouts of litigation, and other delays. Additionally,

Defendants caused delays with respect to Revolution by causing Energy Transfer to undertake

significant portions of the construction without proper and necessary permitting, by violating

permits, by causing the release of million gallons of pollutants into waters of the

Commonwealth, which subsequently had to be remediated, by failing to use required BMPs for

soil erosion which caused significant structural risk to the pipelines, and other misconduct.

       August 9, 2017 Earnings Call

       333.    On August 9, 2017, the Company held an earnings call with investors

announcing its second quarter 2017 financial results. The call was attended by Defendants

Long, McCrea, Ramsey, and Warren. On the call, Defendant Long stated that, “[o]n our

Revolution project, construction is scheduled to be completed in the fourth quarter of 2017.”

Also, Defendant McCrea stated that Revolution “will be up and ready for service in the fourth

quarter,” and Defendant Ramsey stated that ME2 would be online “sometime in the fourth

quarter” of 2017.

       334.    These statements were materially false and misleading because Defendants knew

or should have known that the Company could not deliver on the timelines Defendants

promised to investors because of delays caused by Defendants’ repeated noncompliance with

permits, which caused the Company to be saddled with additional work to bring the pipelines

into regulatory compliance, repeated stop work orders from regulators, multiple bouts of

litigation, and other misconduct.

       November 8, 2017 Earnings Call

       335.    On November 8, 2017, the Company held an earnings call with investors

announcing its third quarter 2017 financial results. On the call, Defendant Long stated that the



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Company was “very focused on safely and responsibly bringing our projects into service,

including [ME2].”

       336.    On the Company’s November 8, 2017 earnings call, Defendant Long also spoke

about the long-delayed completion date for Revolution, pushing the date out and stating at that

time that “On our Revolution project[, c]onstruction is scheduled to be completed in the first

quarter of 2018.”

       337.    These statements were materially false and misleading because Defendants knew

or should have known that the Company was constructing its Pipeline Projects, specifically

ME2 and Revolution, unsafely and irresponsibly. Moreover, the Company could not deliver on

the timelines Defendants promised to investors because of delays caused by Defendants’

repeated noncompliance with permits, which caused the Company to be saddled with additional

work to bring the pipelines into regulatory compliance, repeated stop work orders from

regulators, multiple bouts of litigation, and other misconduct.

       January 3, 2018 Public Statement

       338.    On January 3, 2018, spokesperson Jeff Shields responded to media inquiries

about PDEP’s stop work order on ME2 and PDEP’s statement that the stop work order was

because of “egregious and willful violations” of ME2 permits and relevant laws. Shields stated,

“We… reiterate our commitment to the highest levels of construction expertise and our

dedication to preserving and protecting the environment in which we conduct our work.”

       339.    These statements were materially false and misleading because Defendants knew

or should have known that the Company was constructing its Pipeline Projects, specifically

ME2 and Revolution, unsafely and irresponsibly, and that the Defendants caused the Company




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to completely disregard public safety, construction guidelines including relevant permit

requirements, and environmental safety throughout the construction process.

       February 8, 2018 Public Statement

       340.       On February 8, 2018, spokesperson Jeff Shields responded to media inquiries

about the $12.6 million fine the Company agreed to pay to lift the above stop work order.

Shields stated:

       [The Company is] committed to fully complying with the [PDEP] order, which
       includes following all permit requirements… Safety is paramount for any energy
       infrastructure project that we do—the safety of the communities in which we
       work and operate, the safety of our employees, and the safety of the environment.

       341.       These statements were materially false and misleading because Defendants knew

or should have known that the Company was constructing its Pipeline Projects, specifically

ME2 and Revolution, unsafely and irresponsibly. Furthermore, Defendants knew or should have

known that numerous violations were part of a pattern of noncompliance, which put the safety

of people and environments in the vicinity of the pipelines at serious risk.

       February 22, 2018 Earnings Call

       342.       On February 22, 2018, the Company held an earnings call with investors to

discuss its 2017 financial results, which would be released on Form 10-K the next day. On the

call, Defendant Long stated that “[w]e continue to make progress on the construction of [ME2

and ME2X], with 94% of mainline construction complete and 83% of HDDs completed or

underway. At this time, we continue to target placing ME2 into service by the end of the second

quarter of 2018.”

       343.       On the call, Defendant Long also stated that the Company “remain[s] committed

to working closely with… [PDEP] and other regulatory agencies are [is] focused on safely and

responsibly bringing Phase 2 of… ME2… into service.”


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       344.    Regarding Revolution, Defendant Long claimed that “On our Revolution project,

construction is mechanically complete, and we will go into full service once Rover and Mariner

East 2 are in service” and Defendant McCrea added that “Revolution, as you know, that is built

to feed Rover, and it’s built to feed Mariner. . . And we’re very hopeful that we’ll have Rover

complete. We’re very close on that soon and that sometime in the second quarter, we’ll have

Mariner on and ready to take barrels from Revolution.”

       345.    Also during the call, Defendant Ramsey stated the following:

       I think we have a good working relationship with PA DEP. We have a weekly
       meeting with them, where we look at the gating items. We are still under court
       order deadlines that we have to adhere to and they have to adhere to. But I think
       our progress is good, and so I don’t see a change in the time line from what we’ve
       given you before.

       346.    These statements were materially false and misleading because Defendants knew

or should have known that there was no way to get ME2 and Revolution into service on the

timeline Defendants promised to investors. In fact, according to a contractor cited to in the

Securities Class Action who worked on ME2 from fall 2017 through March 2018, as of March

2018, which was after the February 22, 2018 call occurred, ME2 was never even close to 90%

complete, and, in fact, could not have been more than 80% complete.

       February 23, 2018 Form 10-K

       347.    On February 23, 2018, the Company filed with the SEC its annual report on

Form 10-K for the fiscal year ended December 31, 2017 (the “2017 10-K”). The 2017 10-K was

signed by Defendants Warren, Long, McReynolds, McCrea, Ramsey, Brannon, Turner, and

Williams, and contained SOX certifications signed by Defendants McReynolds and Long

attesting to the accuracy of the 2017 10-K.




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       348.    The 2017 10-K made the same representations pertaining to Energy Transfer’s

corporate governance as outlined in the 2016 10-K and referenced in the Company’s Code of

Conduct, stating the following:

       The Board of Directors has adopted a Code of Business Conduct and Ethics
       applicable to our officers, directors and employees. Specific provisions are
       applicable to the principal executive officer, principal financial officer, principal
       accounting officer and controller, or those persons performing similar functions,
       of our general partner.

       349.    The 2017 10-K made substantively the same representations as those made in the

2016 10-K regarding the validity of the Company’s title and rights to its properties, stating the

following:

       We believe that we have satisfactory title to or valid rights to use all of our
       material properties. Although some of our properties are subject to liabilities and
       leases, liens for taxes not yet due and payable, encumbrances securing payment
       obligations under non-competition agreements and immaterial encumbrances,
       easements and restrictions, we do not believe that any such burdens will
       materially interfere with our continued use of such properties in our business,
       taken as a whole. In addition, we believe that we have, or are in the process of
       obtaining, all required material approvals, authorizations, orders, licenses,
       permits, franchises and consents of, and have obtained or made all required
       material registrations, qualifications and filings with, the various state and
       local government and regulatory authorities which relate to ownership of our
       properties or the operations of our business.

       Substantially all of our subsidiaries’ pipelines, which are described in “Item 1.
       Business,” are constructed on rights-of-way granted by the apparent record
       owners of the property. Lands over which pipeline rights-of-way have been
       obtained may be subject to prior liens that have not been subordinated to the right-
       of-way grants. Our subsidiaries have obtained, where necessary, easement
       agreements from public authorities and railroad companies to cross over or under,
       or to lay facilities in or along, watercourses, county roads, municipal streets,
       railroad properties and state highways, as applicable. In some cases, properties on
       which our subsidiaries’ pipelines were built were purchased in fee. ETP also owns
       and operates multiple natural gas and NGL storage facilities and owns or leases
       other processing, treating and conditioning facilities in connection with its
       midstream operations.

       350.    The 2017 10-K also specifically referenced the Mariner East System as follows:



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       The Mariner East pipeline transports NGLs from the Marcellus and Utica Shales
       areas in Western Pennsylvania, West Virginia and Eastern Ohio to destinations in
       Pennsylvania, including ETP’s Marcus Hook Industrial Complex on the Delaware
       River, where they are processed, stored and distributed to local, domestic and
       waterborne markets. The first phase of the project, referred to as Mariner East 1,
       consisted of interstate and intrastate propane and ethane service and commenced
       operations in the fourth quarter of 2014 and the first quarter of 2016, respectively.
       The second phase of the project, referred to as [ME2], will expand the total
       takeaway capacity to 345 MBbls/d for interstate and intrastate propane, ethane
       and butane service, and is expected to commence operations in the second
       quarter of 2018.

       351.    With respect to the Company’s internal controls, the 2017 10-K stated the

following, in relevant part:

       The management of Energy Transfer Equity, L.P. and subsidiaries is responsible
       for establishing and maintaining adequate internal control over financial
       reporting, as such term is defined in Exchange Act Rule 13a-15(f). Under the
       supervision and with the participation of our management, including the President
       and Group Chief Financial Officer of our General Partner, we conducted an
       evaluation of the effectiveness of our internal control over financial reporting
       based on the framework in the 2013 Internal Control – Integrated
       Framework issued by the Committee of Sponsoring Organizations of the
       Treadway Commission (“COSO Framework”).

       Based on our evaluation under the COSO framework, our management concluded
       that our internal control over financial reporting was effective as of December 31,
       2017.

       352.    With respect to changes in the Company’s internal controls, the 2017 10-K

further stated, “[t]here has been no change in our internal controls over financial reporting (as

defined in Rules 13a–15(f) or Rule 15d–15(f)) that occurred in the three months

ended December 31, 2017 that has materially affected, or is reasonably likely to materially

affect, our internal controls over financial reporting.”

       353.    The foregoing statements made in the 2017 10-K were materially false and

misleading because Defendants failed to disclose the Pipeline Misconduct, and because

Defendants knew, or should have known, that completing ME2 and bringing it into service at

the promised time and throughput was impossible due to delays caused by Defendants’ repeated
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noncompliance with permits, which caused the Company to be saddled with additional work to

bring the pipeline into regulatory compliance, repeated stop work orders from regulators,

multiple bouts of litigation, and other delays. Additionally, Defendants caused delays with

respect to Revolution by causing Energy Transfer to undertake significant portions of the

construction without proper and necessary permitting, by causing the release of three million

gallons of pollutants at Raystown Lake, which subsequently had to be remediated, by failing to

use BMPs for soil erosion which caused significant structural risk to the pipelines, and other

misconduct.

       March 22, 2018 Statement to Media

       354.    On March 22, 2018, Company spokesperson Jeff Shields responded to

allegations that HDD operations on ME2 caused risk to Lisa Drive homeowners, stating that

there were no karst formations at the Lisa Drive Site and that karst did not affect the Lisa Drive

Site. Specifically, he stated: “professional geologists are always a part of the planning and

operating of our pipelines, and ME2 and ME2X are no exception…. [C]onstruction through this

area is safe. There is some karst north of this area, but it does not impact this area.”

       355.    This statement was materially false and misleading because Defendants knew

that at the Lisa Drive Site, at least the first third of the pipeline route was through known

limestone formations, which is a type of karst.

       2018 Full Page Ad

       356.    In early 2018, the Company paid for the following full-page ad to be printed in a

Harrisburg, PA newspaper:

       Mariner East Going Above and Beyond

       Energy Transfer and Sunoco Pipeline are Committed to the Long-Term Integrity
       and Safe Operation of the Mariner East 2 Pipeline. At Energy Transfer and


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       Sunoco Pipeline, we pledge to the communities we cross and the customers we
       serve that we will operate our pipeline with highest level of safety at all times.

       Safety is what we do – providing the same and reliable transportation of energy
       resources.

       Mariner East 2 exceeds federal safety regulations in many areas:

          •   It starts in the pipe mill, where our inspectors oversee the manufacture of
              the pipe to our strict standards, then inspect the pipe when it arrives in the
              construction site.

          •   Before and after the pipeline is buried, and again once it is in operation,
              we put our pipelines through rigorous testing above and beyond what is
              required by federal safety regulations. Then we monitor them 24/7, 365
              days a year.

          •   We employ heavier pipe wall thickness than required by the U.S.
              Department of Transportation. The higher quality of pipe reduces the risk
              of damage from sources such as excavating equipment or ground
              movement.

          •   We bury the pipeline deeper underground than required in most cases – at
              least 4 feet and up to 200 feet. We inspect 100% of pipeline welds by X-
              ray; rather than the 10% required.

          •   We patrol our Mariner East pipelines more frequently than required by
              ground and air.

       In addition:

          •   We team with local emergency responders along the route to provide
              information and training on emergency pipeline response. We have trained
              more than 2,000 emergency responders and public officials.

          •   State and federal regulators spent more than 100 inspection days during
              2017 on the Mariner East project, more inspection days than on any other
              pipeline in Pennsylvania.

       We’re paying extra attention to safety, because that’s what you deserve – safe,
       clean, reliable energy and a stronger economy for Pennsylvania.

       357.   These statements were false and misleading because, in fact, the Company did

not “bury the pipeline deeper underground than required in most cases;” in some cases, the

Company actually buried the pipelines shallower than permits required. For instance, on May


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21, 2018, a public water utility installing a residential water main had been informed by Sunoco

that ME2 was buried 9 feet below the surface at the location. In fact, the utility’s contractor hit

ME2 pipeline at 6.2 feet below ground. ME2 was not yet in service at that time, thankfully,

because leaked NGLs carried by ME2 are highly explosive and can be ignited by as little as

ringing a doorbell, making a phone call, or starting an engine. Additionally, the fact that “state

and federal regulators spent… more inspection days” at Mariner East System sites than at any

other pipelines was largely due to repeated inspections necessitated by the repeated, serious,

unremedied violations of applicable permits and laws at many sites, not, as implied in the ad,

because of civic concerns about the public safety.

       May 3, 2018 Press Release

       358.    On May 3, 2018, the Company issued a press release titled, “Mariner East 1

Released for Service by Pennsylvania Public Utility Commission.” The press release discussed

the purported benefits of the Mariner East System and announced a positive report from the

Pennsylvania Public Utility Commission regarding the safety and integrity of the pipeline,

stating the following:

       DALLAS--(BUSINESS WIRE)--May 3, 2018-- Energy Transfer Partners, L.P.
       (NYSE: ETP) announced today that its subsidiary, Sunoco Pipeline L.P. (SPLP),
       received a unanimous vote from the Pennsylvania Public Utility Commission
       (PUC) to resume operations of its Mariner East 1 pipeline. SPLP has worked
       diligently with the PUC’s I&E Division and their outside experts on the matter for
       several weeks and is pleased that all investigations concur regarding the safety
       and integrity of the pipeline. The procedures to resume public utility service on
       the pipeline will begin immediately.

       Mariner East 1 is a major transporter of propane in Pennsylvania, which is
       ultimately delivered to local communities, providing affordable fuel to heat
       homes and run businesses. When Mariner East 1 was shut-in as a precautionary
       measure, there were no issues with the pipeline, which has been safely operating
       for decades. Its continued safe operation has now been verified by all parties.




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       Mariner East 1 is part of a larger public utility system including the [ME2] and
       [ME2X] pipelines, which are currently under construction. [ME2] mainline
       construction is 98% complete and 93% of the HDDs are either complete, in-
       progress or have been released for restart. [ME2] is a critical energy infrastructure
       project, not only for Pennsylvania’s economy, but for the thousands of people it
       puts to work every day. The total potential economic impact from all Mariner East
       construction in Pennsylvania is estimated to be more than $9 billion, supporting
       approximately 9,500 total jobs each year over six years of construction, with
       estimated wages of nearly $3 billion. These projects provide an economic boost in
       the 17 counties where they are located and across the entire Commonwealth.

       359.   These statements were materially false and misleading because they

misrepresented the completion status of ME2 and ME2X, which were, at the time the statements

were made, far from finished. Moreover, the characterization of ME2 as a “critical energy

infrastructure project” was materially false or misleading because ME2 was designed primarily

to transport NGLs to be exported and made into plastics, not provide energy to Pennsylvanians

or anybody else.

       May 10, 2018 Conference Call

       360.   On May 10, 2018, the Company held a call to discuss its financial results for the

first quarter of 2018. Defendants Long, McCrea, Ramsey, and Warren attended the call. On the

call, Defendant Ramsey stated that ME2 would enter service by “mid to late” third quarter 2018.

       361.   This statement was materially false and misleading because Defendants knew

that it would be impossible to have ME2 in service by mid-to-late 2018, and were, at the time

the statement was made, actually abandoning their existing strategy to complete ME2 and were

instead seeking PDEP and municipal permission to use preexisting, century-old pipe for a

segment of the route, which would seriously reduce the pipeline’s throughput.

       June 19, 2018 J.P. Morgan Energy Conference

       362.   On June 19, 2018, the Company presented at the 2018 J.P. Morgan Energy

Conference. During the conference, Defendants characterized ME2 as a “growth project,” and

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stated that it would go “in-service in Q3 2018.” They continued to state that it would have

“initial capacity of 275,000 barrels per day with upside of up to 450,000 barrels per day.”

       363.    These statements were materially false and misleading because Defendants knew

that it would be impossible to have ME2 be in service by the third quarter of 2018, and were, at

the time the statement was made, actually abandoning plans to complete ME2 as planned and

seeking PDEP and municipal permission to use preexisting century old pipe for a segment of the

route, which would seriously reduce the pipeline’s throughput.

       August 9, 2018 Earnings Call

       364.    On August 9, 2018, the Company held an earnings call with investors.

Defendants Long and McCrea attended the call. On the call, Defendant Long stated,

       PUC’s commissioners have overturned the prior decision that prevented
       continued construction in West Whiteland Township. To avoid any delays in the
       ME2 project schedule, we will utilize a section of the existing pipeline in the
       affected area for initial in-service. This plan does not require any new permits and
       we have made all applicable regulatory notifications… [W]e continue to expect to
       place ME2 in service by the end of this [third] quarter. This will allow us to bring
       sufficient capacity online to meet all of our initial contractual commitments.

       365.    When asked for clarification on how “utilize[ing] a section of the existing

pipeline in the affected area for initial in-service” would work, Defendant McCrea refused to

comment on the effects on initial in-service capacity, but stated that “the utilization of the 12-

inch more than provides the necessary capacity to move the volumes we’ve contracted.”

       366.    Also during the call, Defendant Ramsey stated the following:

       Let me expand on that a little bit. On ME2, I guess it’s the, obviously, the first
       issue with use of the 12-inch line through there. We have, kind of repeating what
       was said in the earlier remarks, 99% of the mainline construction is complete, the
       1% that remains on mainline construction is associated with the HDD’s that we
       are completing right now. So we have 16 HDD’s to complete, all those have been
       approved by PA DEP and they’re either drilling ahead or they’re in the stage
       where we’re going back to PA DEP with – when we have an inadvertent return.
       But they’ve all been approved so we don’t have to have any changes approved by
       PA DEP going forward like that. All the road bores are finished. And as Tom said
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       in the early remarks, 80% of the line has been hydro tested. So we feel confident
       that we’ll be finished with ME2 and in service by the end of the third quarter of
       this year.

       367.    These statements were materially false and misleading because Defendants

represented that the ME2 project was proceeding apace, even though the old pipeline

interpolated into ME2 would significantly reduce throughput, and therefore profitability, for the

project—a fact that would have been highly material to investors. Furthermore, Defendants

knew or should have known that, even while they opted to abandon ME2 as envisioned, they

would still be unable to bring ME2 online by the end of the third quarter of 2018.

       July 3, 2018 Statement

       368.    On July 3, 2018, Energy Transfer spokesperson Vicki Granado commented on

the state of ME2, purporting that “[w]e have identified an existing pipeline that will allow us to

meet our customer obligations to get natural gas liquids to the Marcus Hook Industrial Complex

while work on the Mariner East system continues,” and that “[a] minimum amount of work will

be required to change this line from a refined products line to a[n] NGL pipeline – e.g.,

connection pipeline and five new mainline valves, which can be done quickly and safely.”

       369.    These statements were materially false and misleading because Defendants knew

or should have known that the old pipeline interpolated into ME2 would significantly reduce

throughput, and therefore profitability, for the project—a fact that would have been highly

material to investors. Furthermore, Defendants knew or should have known that, even while

they opted to abandon ME2 as envisioned, they would still be unable to bring ME2 online by

the end of the third quarter of 2018.

       July 27, 2018 Press Statement

       370.    On July 27, 2018, NPR reported that PDEP had settled with environmental



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activist groups over concerns about PDEP’s handling of the ME2 permits. NPR quoted

Company spokesperson Lisa Dillinger on the safety of ME2 construction, about which she

stated, “From the outset, Sunoco has maintained that the permits were… fully protective of the

environment.”

       371.     NPR again quoted Lisa Dillinger on the propriety of the permitting, about which

she stated, “From the outset, Sunoco has maintained that the permits were properly and lawfully

issued by [PDEP].”

       372.     These statements were materially false and misleading because the Company’s

permits were highly irregular in that they relied heavily on special conditions, and were

therefore not fully protective of the environment. Furthermore, this irregularity was heightened

by the extremely questionable and improper pressure that Sunoco brought to bear against the

governor’s office and the PDEP to have the permits granted despite numerous facial

deficiencies.

       September 10, 2018 Statements

       373.     On September 10, 2018, the Company held a press conference to address the

media and the public with respect to the September 9, 2018 Revolution Explosion. The

Pittsburgh Post-Gazette reported Company spokesperson Vicki Granado’s statements:

       Energy Transfer spokeswoman Vicki Granado said the company would join the
       PUC in the investigation beginning Tuesday. “Our obligation to homeowners is
       100 percent — that people continue to be safe and secure,” Ms. Granado said at
       a news conference at the Center municipal building Monday night. Ms. Granado
       said she couldn’t recall a similar incident involving Energy Transfer, which has
       83,000 miles of pipeline throughout the United States.

       She said there were no environmental health risks to residents in the aftermath
       of the explosion. The Revolution pipeline had been in the commissioning phase
       — a kind of dress rehearsal — since Sept. 3, according to Ms. Granado. It wasn’t
       yet operating commercially, but gas was running through the pipe during the trial
       period, just as it would during normal operations, she said.


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       Ms. Granado didn’t know how much pressure was in the line before it burst; it is
       designed to operate at a maximum pressure of 1,440 pounds per square inch.

       Recent rain has ETC and its regulators focused on erosion control, Ms. Granado
       said, when asked about past landslides. “It’s something definitely that is being
       actively managed.”

       374.    On September 10, 2018, the Company also sent a letter to homeowners on Ivy

Lane, which had been affected by the Revolution Explosion. The letter stated, “Our first priority

continues to be the safety of those who live in this community.” It further stated that its initial

assessment indicated that the Revolution Explosion had been caused by a landslide, and stated,

“[T]his type of land movement had been occurring throughout the state due to the

unprecedented amount of rainfall.”

       375.    These statements were materially false and misleading because they

mischaracterized the cause of the Revolution Explosion. The landslide and land movement were

not due to environmental factors; they were due to the construction that the Company rushed

through in order to meet the Defendants’ promises to investors, which failed to satisfy the

applicable permits and, specifically, the BMPs for controlling erosion and sedimentation.

Furthermore, the precipitation was not “unprecedented”; the Company had simply failed to

design and build a pipeline that could withstand precipitation within the normal range of

variation.

       September 15, 2018 NPR Article

       376.    On September 15, 2018, NPR published an article about incidents, fines, and

shutdowns on the ME2 project. It quoted spokesperson Lisa Dillinger:

       Lisa Dillinger, a spokeswoman for Sunoco’s parent, Energy Transfer Partners,
       said . . . that since Sunoco Pipeline’s integration with ETP on May 1, 2017,
       accidents have been “drastically reduced,” and that the company spent $429
       million on assets in 2017.



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       “It is our priority to maintain and operate our assets to the highest safety
       standards, not just because it makes good business sense, but because it is the
       right thing to do,” she said.

       377.    These statements were materially false and misleading because throughout the

ME2 project, Defendants caused the Company to construct and operate its pipelines in a manner

that was demonstrably inconsistent with “the highest safety standards,” and, in fact, frequently

fell below the minimal state-mandated standards for safe construction and operation, as

evidenced by the numerous fines, delays, and lawsuits that resulted.

       October 21, 2018 Pittsburg Post-Gazette Article

       378.    On October 21, 2018, the Pittsburgh Post-Gazette published an article in which

it discussed the $12.6 million fine assessed by PDEP and PDEP officials’ remarks that ME2 had

more than 70 permit violations and that “[t]he reality is that they were not meeting those permit

obligations.” It quoted spokesperson Lisa Dillinger:

       When asked about noncompliance last week, Ms. Dillinger noted only one
       instance, when Sunoco initiated a horizontal underground drilling operation on a
       site that was permitted for trenching.

       “That was rectified about eight months ago,” she said. “We are committed not
       only to following the strict guidelines set forth in our permits but to employing
       the highest levels of construction expertise and to preserving and protecting the
       environment in which we conduct our work.”

       379.    These statements were materially false and misleading because, in fact, at least

eight locations were identified where excavation used unpermitted HDD techniques but the

Company’s permits only allowed trenching. Moreover, not only did Sunoco continually,

repeatedly fail to follow the strict guidelines set forth in its permits, this was part of a pattern of

behavior that reflected reckless disregard for the environment.

       November 1, 2018 Observer-Reporter Article

       380.    On November 1, 2018, the Observer-Reporter published an article about the stop


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work order for Revolution. It quoted spokesperson Alexis Daniel:

       Energy Transfer spokeswoman Alexis Daniel said in an email the company
       remains in “continued communication” with [PDEP].

       “We have been and will continue to comply with their orders,” she wrote,
       adding that the safety of the surrounding area is “our first priority.”

       381.    These statements were materially false and misleading because Defendants had

not been complying with PDEP orders, and, because the safety of the people and environment

were not their “first priority,” Defendants had no intention of compliance going forward.

       November 21, 2018 Statement

       382.    On November 21, 2018, spokesperson Lisa Dillinger responded by email to a

petition filed two days before by seven Pennsylvania residents, in which the residents had

requested the PUC issue a stop work order for ME2 construction and noted their concerns that

Energy Transfer was unprepared to respond to leaks and that the placement of a highly volatile

NGL pipeline that mostly supplied exports to international petrochemical industries, not

domestic energy, through these highly-populated residential areas was inappropriate and

constituted “an unnecessary and unacceptable risk to public safety.” Dillinger stated via email,

“We do not believe the claim is valid… The integrity of our [ME1] and [ME2] pipelines has

been verified in the last few months by the PUC and PHMSA through numerous tests and

data collection along the routes.”

       383.    This statement was materially false and misleading because, in fact, testing and

data collection did not demonstrate the integrity of the Mariner East System, but rather showed

that because of subsidence caused by Defendants’ noncompliance with permits and surface

wear on the pipelines, the Mariner East System was highly unsafe.

       December 19, 2018 Statement

       384.    On December 19, 2018, Energy transfer released a statement in response to DA

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Hogan’s announcement of a criminal investigation into ME2 construction. As to the safety of

the project, the Company stated, “The safety of all those who live and work along our pipeline

is our first priority and this project was planned and implemented based on that fact.”

       385.    As to the Company’s legal compliance in ME2 permitting and construction, the

Company stated the following:

       We were surprised to learn that the Chester County District Attorney believes
       there is a legal basis for conducting a criminal investigation into our company and
       the Mariner East pipelines. We vehemently deny any such wrongdoing and we
       take issue with the many factual inaccuracies contained in the District Attorney’s
       press release. We have worked closely with Commonwealth officials and
       inspectors to respond to citizen concerns as evidenced by the information on our
       project that is readily available on the PUC and DEP websites. We are confident
       that we have not acted to violate any criminal laws in the Commonwealth of
       Pennsylvania and we are committed to aggressively defending ourselves against
       these baseless allegations. We look forward to opening a dialogue with the
       District Attorney’s Office in the hope that we can bring this matter to an
       appropriate resolution.

       386.    These statements were false and misleading because the accusations brought by

DA Hogan were not “baseless” at all—Defendants had caused the Company to engage in

criminal conduct, including constructing significant portions of ME2 and Revolution without

appropriate permits, violating environmental regulations, and bribing uniformed Constables to

intimidate citizens. Defendants clearly knew or should have known that their acts were criminal

because not only did they use the Constables to conceal their crimes, Defendants obscured

payments to the Constables because Defendants knew that it was illegal to pay law enforcement

for the use of their official authority. The Defendants knew or should have known that, by so

doing and by their inadequate planning of ME2 (reflected in the fact that Sunoco never

submitted facially adequate permit application materials), Defendants constructed a pipeline

project that was highly unsafe for the surrounding communities.




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       December 29, 2018 Press Release

       387.     On December 29, 2018, the Company issued a press release titled, “Energy

Transfer Announces Mariner East 2 Pipeline is in Service,” which boasted of the purported

benefits ME2 would provide, stating the following, in relevant part:

       DALLAS--(BUSINESS WIRE)--Dec. 29, 2018-- Energy Transfer LP (NYSE:
       ET) announced that effective today its Mariner East 2 natural gas liquids (NGLs)
       pipeline is in service, available for both interstate and intrastate service. The 350-
       mile NGL pipeline transports domestically produced ethane, propane and butane
       east from processing plants in Ohio across West Virginia and Pennsylvania to
       Energy Transfer’s Marcus Hook Industrial Complex in Delaware County, PA,
       where the NGLs are stored for distribution to local, domestic and waterborne
       markets.

       Mariner East 2 is part of Energy Transfer’s Mariner East system of pipelines
       designed to provide much-needed NGL takeaway capacity for the Marcellus
       and Utica Shale production areas in Eastern Ohio, West Virginia and Western
       Pennsylvania. The Mariner East 2X pipeline, which parallels Mariner East 2, is
       expected to be in service in late 2019. The Mariner East system will provide both
       operational flexibility and enhanced security of NGL supply from producing areas
       to key markets in the region and beyond.

       According to a 2015 economic impact study by EConsult Solutions, the total
       impact from the construction of the Mariner East pipelines is estimated to be more
       than $9.1 billion in Pennsylvania alone. When complete, the projects will have
       provided more than 9,500 construction jobs per year for six years, with associated
       earnings totaling more than $2.7 billion.

       388.    These statements were materially false and misleading because ME2 was in a

real sense incomplete—it relied upon the “Frankenpipe” arrangement, meaning ME2’s

purported 350 miles of brand-new, 20” diameter NGL pipeline would never be fully realized.

Furthermore, Defendants knew or should have known that they would ultimately be unable to

bring ME2X into service by late 2019, and in fact, ME2X is still not in service at the time of the

filing of this Complaint.

       January 4, 2019 Statements

       389.    On January 4, 2019, DA Hogan announced the appointment of former federal

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prosecutor Seth Weber to the ME2 investigation, noting that it “certainly sends a message that

we are taking it very seriously, and that somebody who has experience in this field is taking it

very seriously.” In a statement to NPR, Energy Transfer characterized the investigation as

“meritless.”

       390.    NPR quoted spokesperson Lisa Dillinger, who stated that investigators “would

not be able to avoid the inescapable conclusion that Energy Transfer has not engaged in any

form of criminal activity, and the issues referenced have already each been thoroughly

investigated, reviewed, and ultimately resolved by the appropriate government agencies.”

       391.    These statements were materially false and misleading because Defendants had

repeatedly engaged in several forms of criminal behavior with respect to the environment,

public safety, and law enforcement.

       January 22, 2019 Statements

       392.    On Jan 22, 2019, NBC Philadelphia reported the following Energy Transfer

statement:

       We have engaged security on Lisa Drive at the request of the impacted
       homeowners to restrict access to their property as they were concerned not only
       with protecting their privacy, but the possibility of people trespassing on their
       property,” company spokeswoman Lisa Dillinger said in a statement. “I will
       decline to discuss any further details of our security efforts, beyond that we do
       use security on our projects as needed to ensure the safety of our employees, our
       assets and those who live in the area.”

       393.    These statements were materially false and misleading because not only had the

Lisa Drive homeowners never requested that Defendants illegally bribe Constables, the

homeowners in fact reported that they were “terrified” by the Constables’ unlawfully restricting

their movements on their own property. The Lisa Drive homeowners also sought assistance

from elected representatives and others to get to the bottom of why the Constables were

suddenly present. Defendants knew or should have known that the Lisa Drive homeowners were
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not proponents of the Constables’ presence because Defendants caused the Constables to make

themselves available to the Lisa Drive homeowners to address concerns.

       February 22, 2019 Form 10-K

       394.    On February 22, 2019, the Company filed the 2018 10-K with the SEC. The

2018 10-K was signed by Defendants Warren, Long, McReynolds, McCrea, Ramsey, Anderson,

Brannon, Davis, and Grimm, as well as non-party A. Troy Sturrock, and contained SOX

certifications signed by Defendants Warren and Long attesting to the accuracy of the 2018 10-

K.

       395.    The 2018 10-K made the same representations pertaining to Energy Transfer’s

corporate governance as outlined in the 2016 and 2017 10-K, and referenced the Company’s

Code of Conduct as follows:

       The Board of Directors has adopted a Code of Business Conduct and Ethics
       applicable to our officers, directors and employees. Specific provisions are
       applicable to the principal executive officer, principal financial officer, principal
       accounting officer and controller, or those persons performing similar functions,
       of our general partner.

       396.    The 2018 10-K made substantively the same representations as those made in the

2016 and 2017 10-K regarding the validity of the Company’s title and rights to its properties,

stating the following:

       We believe that we have satisfactory title to or valid rights to use all of our
       material properties. Although some of our properties are subject to liabilities and
       leases, liens for taxes not yet due and payable, encumbrances securing payment
       obligations under non-competition agreements and immaterial encumbrances,
       easements and restrictions, we do not believe that any such burdens will
       materially interfere with our continued use of such properties in our business,
       taken as a whole. In addition, we believe that we have, or are in the process of
       obtaining, all required material approvals, authorizations, orders, licenses,
       permits, franchises and consents of, and have obtained or made all required
       material registrations, qualifications and filings with, the various state and
       local government and regulatory authorities which relate to ownership of our
       properties or the operations of our business.

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       Substantially all of our pipelines, which are described in “Item 1. Business,” are
       constructed on rights-of-way granted by the apparent record owners of the
       property. Lands over which pipeline rights-of-way have been obtained may be
       subject to prior liens that have not been subordinated to the right-of-way grants.
       We have obtained, where necessary, easement agreements from public authorities
       and railroad companies to cross over or under, or to lay facilities in or along,
       watercourses, county roads, municipal streets, railroad properties and state
       highways, as applicable. In some cases, properties on which our pipelines were
       built were purchased in fee. We also own and operate multiple natural gas and
       NGL storage facilities and own or lease other processing, treating and
       conditioning facilities in connection with our midstream operations.

       397.    The 2018 10-K also specifically referenced the Mariner East Pipeline as follows:

       The Mariner East pipeline transports NGLs from the Marcellus and Utica Shales
       areas in Western Pennsylvania, West Virginia and Eastern Ohio to destinations in
       Pennsylvania, including our Marcus Hook Industrial Complex on the Delaware
       River, where they are processed, stored and distributed to local, domestic and
       waterborne markets. The first phase of the project, referred to as Mariner East 1,
       consisted of interstate and intrastate propane and ethane service and commenced
       operations in the fourth quarter of 2014 and the first quarter of 2016, respectively.
       The second phase of the project, referred to as Mariner East 2, began service in
       December 2018.

       398.    With respect to the Company’s internal controls, the 2018 10-K stated the

following, in relevant part:

       The management of Energy Transfer LP and subsidiaries is responsible for
       establishing and maintaining adequate internal control over financial reporting, as
       such term is defined in Exchange Act Rule 13a-15(f). Under the supervision and
       with the participation of our management, including the Chief Executive Officer
       and Chief Financial Officer of our General Partner, we conducted an evaluation of
       the effectiveness of our internal control over financial reporting based on the
       framework in the 2013 Internal Control – Integrated Framework issued by the
       Committee of Sponsoring Organizations of the Treadway Commission (“COSO
       Framework”).

       Based on our evaluation under the COSO framework, our management concluded
       that our internal control over financial reporting was effective as of December 31,
       2018.

       399.    With respect to changes in the Company’s internal controls, the 2018 10-K

further stated, “[t]here has been no change in our internal controls over financial reporting (as

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defined in Rules 13a–15(f) or Rule 15d–15(f)) that occurred in the three months

ended December 31, 2018 that has materially affected, or is reasonably likely to materially

affect, our internal controls over financial reporting.”

       400.    The foregoing statements made in the 2018 10-K were materially false and

misleading because Defendants failed to disclose the Pipeline Misconduct, and because

Defendants knew, or should have known, that completing ME2 and bringing it into service at

the promised time and throughput was impossible, because of delays caused by Defendants’

repeated noncompliance with permits, which caused the Company to be saddled with additional

work to bring the pipeline into regulatory compliance, repeated stop work orders from

regulators, multiple bouts of litigation, and other delays. Additionally, Defendants caused delays

with respect to Revolution by causing Energy Transfer to undertake significant portions of the

construction without proper and necessary permitting, by causing the release of three million

gallons of pollutants at Raystown Lake, which subsequently had to be remediated, by failing to

use BMPs for soil erosion which caused significant structural risk to the pipelines, and other

misconduct.

       March 20, 2019 Statement

       401.    On March 20, 2019, Chester SPIRIT quoted the following statement from

Company spokesperson Lisa Dillinger:

       “Safety is our priority. There’s no legitimate basis for conducting a criminal
       investigation into our company and the Mariner East pipelines,” Energy Transfer
       spokeswoman Lisa Dillinger told The SPIRIT. “We have worked closely with
       commonwealth officials and inspectors to respond to citizen concerns as
       evidenced by the information that is readily available on the PUC and DEP
       websites and we are confident that we have not acted to violate any criminal laws
       in the Commonwealth of Pennsylvania and are committed to aggressively
       defending ourselves,” Dillinger said. “We look forward to opening dialogue with
       the attorney general’s and district attorney’s offices in the hopes that we can bring
       this matter to an appropriate resolution,” Dillinger said.

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       402.    These statements were materially false and misleading because Defendants had

repeatedly engaged in several forms of criminal behavior with respect to the environment,

public safety, and law enforcement.

       July 6, 2019 Statement

       403.    On July 6, 2019, Philadelphia Magazine quoted Company spokesperson Lisa

Dillinger, who stated that Energy Transfer remains “confident that we have not acted to violate

any criminal laws in the Commonwealth of Pennsylvania and are committed to aggressively

defending ourselves.”

       404.    This statement was materially false and misleading because Defendants had

repeatedly engaged in several forms of criminal behavior with respect to the environment, the

public safety, and law enforcement.

       August 8, 2019 Statement

       405.    On August 8, 2019, Phillymag.com reported on a statement issued by the

Company regarding the use of Constables, stating the following:

       In its own statement, Energy Transfer stressed that constables Johnson and
       Robel “were not Sunoco or Energy Transfer employees.” “They were employed
       by Raven Knights, who provided security services and personnel,” the Energy
       Transfer statement continued. “We have a code of conduct for all of contractors
       and third party vendors that clearly states what are acceptable behaviors and
       business practices, and we expect our contractors and their employees to adhere
       to that.”

       406.    These statements were materially false and misleading because Defendants knew

or should have known that they did employ Constables, including Johnson and Robel.

Defendants also knew or should have known that they had an “unwritten policy” of employing

“on-duty” law enforcement as private security, violating criminal laws and their own Code, and

that they failed to uphold the Code and did not expect their contractors to abide by it.



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         The Truth Gradually Emerges

         407.   On August 9, 2018, the Company held a conference call with investors. On the

call, Defendant Long stated that Energy Transfer would only be able to meet its much-delayed

promise to have ME2 online by the end of third-quarter 2018 by using a pre-existing 1930s-era

12” pipeline for a segment of the route. That is, ME2 could only be brought into service on the

promised schedule by not being completed at all. Defendant Long stated:

         We continue to make progress on the construction of ME2 with 99% of mainline
         construction complete and 80% of hydro testing complete. In addition, 100% of
         HDDs are completed, or in process, in line with our approved HDD plan with no
         more drilling re-evaluation reports required from DEP. The Pennsylvania PUC’s
         commissioners have overturned the prior decision that prevented continued
         construction in West Whiteman Township. To avoid any delays in the ME2
         project schedule, we will utilize a section of an existing pipeline in the affected
         area for initial in-service. This plan does not require any new permits and we
         have made all applicable regulatory notification.

         As a result, we continue to expect to place ME2 in service by the end of this
         quarter. This will allow us to bring sufficient capacity online to meet all of our
         initial contractual commitments. Construction of ME-2X also continues and we
         expect the pipe to be online in mid-2019.

         408.   On the same call, Defendant Ramsey stated: that only “1%” of the pipeline was

incomplete and that 1% related solely to 16 incomplete HDD sites. He also stated that “we feel

confident that we’ll be finished with ME2 and in service by the end of the third quarter of this

year.”

         409.   Despite the fact that Defendants had finally disclosed that ME2 could not be

completed as planned, a brand-new 350 mile line of 20” diameter pipe, Defendants continued to

falsely insist that the modified ME2 would be “completed” by the end of third quarter 2018; that

there was minimal work remaining; and that the new arrangement would significantly reduce

the overall ME2 throughput because the rate at which NGLs could flow through ME2 was




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limited to the lowest flow rate of any section, i.e., by the lower flow rate of the old 12” diameter

pipes.

         410.      Analysts promptly nicknamed Defendants’ hodgepodge pipe plan the

“Frankenpipe”.

         411.      On August 10, 2018, analysts from Wolfe Research, LLC (“Wolfe”) and Wells

Fargo Securities, LLC (“Wells Fargo”) released reports commenting on Defendants’

representations during the August 9, 2018 conference call.

         412.      Wolfe characterized the August 9, 2018 call as “confusing” and noted that

“transparency and disclosure on this project” was “very low.” It stated:

         Mariner East is messier than expected but consistent with our conservative
         modeling. Discussion of ME 2 on the call was confusing. We talked to the
         company afterward. The “interim solution” with re-purposing of pipes is large
         enough to satisfy contracts plus some walk-up volumes. We estimate this could
         provide $150M - $250M of EBITDA starting in Q4. However, ME 2 may not
         reach full capacity (previously disclosed as 275 mbd) until 4Q19 (one year
         delay). Due to construction / regulatory issues, the company is using a
         hodgepodge of different sized pipes that will then be re-worked / upsized over
         time. A final connection involving a small amount of ME 2 / ME 2x capacity
         won’t be completed until 4Q20.

         413.      Wells Fargo corroborated that the August 9, 2018 call had “seemed to confuse

the market,” and noted that Wells Fargo had followed up to confirm its understanding of the

plan. It stated:

         Energy Transfer plans to utilize different diameter NGL pipelines in various
         segments of Mariner East 2’s pipeline route in an effort to bring capacity into
         service as quickly as possible. Eventually, ME 2 will consist of one 20-inch
         pipeline and ME 2X will consist of one 16-inch pipeline (ME1 is an 8 inch line).
         However, in the interim, smaller diameter pipes (e.g. an existing 12-inch refined
         products line and a greater amount of smaller 16-inch lines rather than 20-
         inch) will be used to allow capacity to be brought online faster. Based on our
         understanding, partial ME 2 service will begin in Q3’18 (we estimate roughly 100
         MBbls/d of capacity), almost full ME 2 / ME 2X service will begin in late Q3’19
         (we estimate roughly 475 MBbls/d of capacity), and full ME 2 / ME 2X service
         will begin in Q3’20 (full 525 MBbls/d of capacity). In our previous model, we


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       had assumed full ME 2 service by the end of Q4’18 and full ME 2X service by
       the end of Q3’19.

       414.    The initial capacity of 100 MBLs/d, or 100,000 barrels per day—a figure that

Wells Fargo shared with Energy Transfer, and that Energy Transfer did not correct—

represented a nearly 65% reduction from the initial capacity Energy Transfer referenced at the

2018 J.P. Morgan Energy Conference just two months earlier.

       415.    News of the “Frankenpipe” configuration, the completion delay, and the adverse

effect on throughput caused the price of Energy Transfer units to sink over the course of the

next several trading days from $18.45 per unit at market close on August 8, 2018, to $17.41 per

unit at market close on August 13, 2018, a 5.6% decline.

       416.    On October 27, 2018, the Associated Press published “Pipeline ruptures bring

new scrutiny to Pennsylvania geology,” an expose originally run in the Pittsburgh Post-Gazette,

which detailed the risks that Pennsylvania’s geography and long history of sub-surface mining

posed along the pipeline’s route. The article further detailed how Defendants had caused Energy

Transfer to issue misleading, incomplete, and plainly false statements about those well-known

risks, and on how Defendants’ misstatements and the Company’s rush to build had resulted in

preventable tragedies and negative impacts for Pennsylvanians near the route. It stated:

       With a soaking spring and summer, western Pennsylvania has had its share of
       [landslides] in recent months, including the Sept. 10 slip that ruptured a newly
       activated natural gas pipeline in Beaver County. The pipeline was built by Energy
       Transfer Partners.

       The resulting explosion burned down a home and brought a new level of alarm to
       residents near the yet-unfinished Mariner East 2 pipeline - a path that stretches
       303 miles across picturesque hills underlain by hundreds of miles of old mines.

       Before construction began, Sunoco, which merged with Texas-based Energy
       Transfer Partners last year, told Pennsylvania regulators that the chances of its
       drills running into voids was either “low” or “very low.” The schematic for the
       horizontal drilling planned to go under [a local family’s (the Seamans’)] home
       shows the entire area sits on top of the old Pittsburgh Coal Co.’s Cincinnati Mine.

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      Opened in 1835, the mine was notorious for one of the worst explosions in the
      history of the industry, which killed 96 miners and one rescuer in 1913.

      Sunoco’s drilling work near the couple’s Washington County home began May
      27, 2017. The first signs of trouble showed up within the first week.

      Drilling mud came out of the ground in three unexpected places: two near a travel
      trailer sales parking lot and one just outside the Seamans’ home, flowing into a
      culvert that emptied into the high-quality stream known as Froman Run.

      Sunoco stopped drilling, placed filter socks and straw bales around the spills
      then carried on.

      On June 10, about 40 gallons of drilling mud oozed out of the ground outside
      Mingo Presbyterian Church, a 187-year-old building with a bright red roof next to
      the Seamans’ place. A pumper truck was called in to vacuum the spill.

      The next day, some 100 gallons of muddy water showed up in an old pump house
      behind the Seamans’ home.

      Sunoco dispatched vacuum trucks and stationed someone from the company to sit
      outside the couple’s kitchen window 24 hours a day for weeks, monitoring the old
      water well to ensure a quick response to subsequent mud spills.

      Deep underground coal mining

      In its initial report to the [PDEP], Sunoco said the spills were likely related to
      conditions below the surface caused by “historic deep underground coal mining in
      the area.”

      When Tetra Tech, the same contractor that had prepared the original spill
      response plan, was asked to reevaluate the design of drills in the area, it
      determined the risk of further spills was inherent to drilling in that spot. It was
      bound to happen. “In response to a better understanding of the subsurface
      geology and degree of fracturing,” Sunoco said, it decided to abandon attempts to
      install the pipeline through horizontal directional drilling - a method of tunneling
      under obstacles – and to instead use a combination of trenches and shallower,
      shorter bores. That’s when Sunoco cut down the trees on the steep slope in the
      Seamans’ backyard and dug a trench that has remained empty since this summer,
      save for a large hole filled with muddy water.

      The homeowners, meanwhile, wondered: If a pipeline is ever laid there, will it be
      vulnerable to landslides?

      Rethinking pipeline failures

      So far, spills and mishaps at Sunoco’s horizontal drilling sites for the Mariner
      East 2 pipeline have been examined by regulators from an environmental

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      perspective – Did the spill pollute a creek? Did it foul drinking water or cause
      erosion?

      Those things draw fines and require the company to rethink its processes.

      But the earth’s reaction to the pipeline can also be considered from the lens of
      safety: If the underground rock and soil shifted easily when prodded, will they do
      so again when a pipeline is installed, pressurized and filled with a highly volatile
      liquid?

      These concerns have been articulated most forcefully by residents in a
      Philadelphia suburb in Chester County, where attempts to bore underground
      opened up sinkholes in people’s backyards.

      What if the ground moves again, they asked Sunoco when its officials were put on
      the stand at an administrative hearing earlier this year.

      State Sen. Andy Dinniman, a Democrat from Chester County who has been the
      leading political voice against Sunoco, suggested that laying pipelines in karst
      geology - which exists where limestone has eroded underground and left voids
      behind - could be unsafe.

      John Zurcher, a pipeline safety expert hired by Sunoco to testify at the May 10
      hearing, disagreed.

      Of all the thousands of miles of transmission lines in Pennsylvania, he said, “I
      know of no incidents that any one of those pipeline companies have had with
      subsidence or anything else due to these formations.”

      Zurcher said he consulted a database of pipeline incidents maintained by the
      Pipeline & Hazardous Materials Safety Administration before making his claim.
      “There’s never been a failure of a pipeline in one of these areas caused by
      geology or a sinkhole or even mining subsidence that we have here in
      Pennsylvania.”

      Checking the records

      The PHMSA records, which date back several decades, show more than a dozen
      such incidents across the country, including in Pennsylvania…

      In the same testimony in which he said that subsidence has never broken a
      pipeline in this region, Zurcher, who worked as a safety manager at Columbia Gas
      Transmission from 1997 until 2003, noted seven protective measures that Sunoco
      had included in its permit to mitigate the risk of earth movement on Mariner East
      2.




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       For example, for areas where there is a risk of subsidence from karst or mining
       activity, Sunoco’s experts suggested keeping the pipe somewhat loose in the bore
       - not cementing it tightly against the hole.

                                        *       *      *

       Mine-related subsidence has foiled Sunoco’s Mariner East 2 drilling plans in
       several other sites in western Pennsylvania.

       417.     On October 29, 2018, PDEP ordered a subcontractor to immediately stop work

on Revolution because of unreported landsides and soil erosion from the pipeline route into

waterways. PDEP noted that this was in violation of Chapter 102, and ordered Energy Transfer

to provide a detailed plan to control erosion and landslides by November 9, 2018.

       418.     This news caused Energy Transfer’s unit price to fall from $15.46 per unit at

market close on October 26, 2018, to $14.84 per unit on October 29, 2018, the next trading day,

a 4% decline.

       419.     On December 19, 2018, DA Hogan announced Chester County’s investigation

into Energy Transfer and its conduct. Hogan stated that “these pipelines rip through the heart of

Chester County” and that reports of “not-so-subtle bullying of Chester County citizens by big

corporate interests” had reached his office. DA Hogan further stated that the DA office had

expected that state regulators and Governor Wolf would “step in and assure the safety of

Pennsylvanians. They have not.”

       420.     In the announcement, DA Hogan also referenced the September 2018

Revolution Explosion. DA Hogan stated that he had visited affected homeowners in West

Whiteland, and that he “could see the terrible damage that had been done to their property,

and… could see the fear on their faces about what was going on… We’ve gone from

hypothetical risk to actual harm… We want to make sure that anything that happens here in

Chester County, people understand they could be liable.” He stated that he realized the


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jurisdiction of the DA is limited, but that the DA office could make sure that operations

complied with all criminal laws. He further stated that he hoped the very fact of the

investigation would dissuade further criminal behavior by the company. DA Hogan’s

announcement of this investigation was widely reported, including by local news KYW News

Radio and international news Reuters.

       421.    News of the criminal investigation caused Energy Transfer’s unit price to fall

from $12.97 per unit at market close on December 19, 2018, to $12.24 per unit at market close

on December 21, 2018, a 5.6% decline.

       422.    On December 21, 2018, in response to news of DA Hogan’s investigation,

Defendants caused the Company to issue a press release that falsely denied any wrongdoing on

the part of the Company, stating the following:

       We were surprised to learn that the Chester County District Attorney believes
       there is a legal basis for conducting a criminal investigation into our company and
       the Mariner East pipelines. We vehemently deny any such wrongdoing and we
       take issue with the many factual inaccuracies contained in the District
       Attorney’s press release. We have worked closely with Commonwealth officials
       and inspectors to respond to citizen concerns as evidenced by the information on
       our project that is readily available on the PUC and DEP websites. We are
       confident that we have not acted to violate any criminal laws in the
       Commonwealth of Pennsylvania and we are committed to aggressively
       defending ourselves against these baseless allegations. We look forward to
       opening a dialogue with the District Attorney’s Office in the hope that we can
       bring this matter to an appropriate resolution.

       423.    On August 8, 2019, DA Hogan arrested and charged two Constables in

connection with the investigation into Energy Transfer’s misconduct. The arrests were reported

in the media that same day. 3 CBS Philly reported the following:

       Two Pennsylvania constables have been arrested after prosecutors say they
       improperly used their elected positions for personal profit while working security
       on the Mariner East Pipeline. The Chester County District Attorney’s Office
       announced the arrests of 47-year-old Kareem Johnson, a constable in Coatesville,
       and 58-year-old Michael Robel, a constable in Northumberland County, on
       Thursday.
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       Prosecutors say Johnson and Robel were hired by a Harrisburg-based company
       called Raven Knights as private security guards along the construction area of the
       Mariner East Pipeline in Chester.

       The Chester County District Attorney’s Office opened a criminal investigation in
       connection to the Mariner East Pipeline project in December 2018. Investigators
       say Chester County residents reported that armed security guards identified
       themselves as state constables on their property…

       “We cannot have elected law enforcement officials hiring themselves out and
       using their public positions for person[al] profit,” Chester County District
       Attorney Chief of Staff Charles Gaza said. “It undermines the integrity and
       independence of law enforcement and our government.”

       Johnson and Robel have been charged with official oppression, Ethics Act
       violations and other related offenses…

       “There is a troubling aspect to this investigation that bears note,” Chester County
       District Attorney Tom Hogan said. “[PDEP] is charged with protecting
       Pennsylvania residents… However [PDEP] has retained criminal defense
       lawyers to represent them in this investigation and have insisted that all
       communications go through those lawyers.

       “Imagine if the West Chester Police Department was investigating a burglary with
       the DAO [District Attorney’s Office] but retained criminal defense lawyers to
       represent the police department and would only communicate with the DAO
       through the defense lawyers. In almost 30 years working in the criminal justice
       system, I have never seen a state or federal agency retain criminal defense
       lawyers to communicate with the prosecutors that the agencies were supposed to
       be helping.”

       424.   On the same issue, NPR and another local nonprofit news source reported the

following:

       DA Thomas Hogan said Michael Robel, 58, of Shamokin in Northumberland
       County and Kareem Johnson, 47, of Coatesville in Chester County also violated
       laws on bribery when they worked for Raven Knights, a Harrisburg company that
       was hired by Sunoco to provide security for pipeline construction.

       As state constables, the defendants are elected officials who are authorized for
       tasks including transporting criminal defendants, serving arrest warrants, and in
       limited circumstances making arrests, Hogan said in a news release.

       But he said they are not allowed to hire themselves out as security guards while
       working as constables, and must declare any income of $1,300 or more…



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       According to the complaint, Johnson’s activities included instructing a freelance
       journalist not to step into the street at Lisa Drive, where sinkholes opened up
       during pipeline construction starting in late 2017. The complaint against Robel
       said he told a plain-clothes detective not to park on a part of Lisa Drive near
       where Sunoco was working. Robel was wearing a firearm and displayed a state
       constable badge, the complaint said…

       The charges include “official oppression,” meaning that the defendants were
       using their status as constables to keep people away from public property where
       they had a right to be present, [Hogan’s chief of staff, Charles] Gaza said…

       425.    News of the arrests caused Energy Transfer’s unit price to fall from $14.03 per

unit at market close on August 8, 2019, to $13.38 per unit on August 12, 2019, a 4.6% decline.

       426.    Following the arrests, Defendants caused the Company to release a statement

which falsely claimed that Energy Transfer had no association with the Constables who had

been arrested. Spokesperson Lisa Coleman stated:

       Constables Johnson and Robel were not Sunoco or Energy Transfer employees.
       They were employed by Raven Knights, who provided security services and
       personnel. We have a code of conduct for all of [our] contractors and third party
       vendors that clearly states what are acceptable behaviors and business
       practices, and we expect our contractors and their employees to adhere to that.

       427.    This was materially false and misleading because in fact, Defendants had caused

Energy Transfer to enact an “unwritten policy” of hiring “on duty” law enforcement personnel

to provide private security for pipeline projects, including ME2, in direct and knowing violation

of the Code of Conduct the Defendants purported to follow, a knowingness demonstrated by the

extensive efforts taken to conceal payments to and association with the Constables.

       428.    On November 12, 2019, the Associated Press published a report on its website

titled, “FBI eyes how Pennsylvania approved pipeline.” The report revealed to the public that

the FBI had begun a corruption investigation into Governor Wolf’s administration in connection

with the ME2 permits, stating the following:

       HARRISBURG, Pa. (AP) — The FBI has begun a corruption investigation into
       how Gov. Tom Wolf’s administration came to issue permits for construction on a

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       multibillion-dollar pipeline project to carry highly volatile natural gas liquids
       across Pennsylvania, The Associated Press has learned.

       FBI agents have interviewed current or former state employees in recent weeks
       about the Mariner East project and the construction permits, according to three
       people who have direct knowledge of the agents’ line of questioning.

       All three spoke on condition of anonymity because they said they could not speak
       publicly about the investigation.

       The focus of the agents’ questions involves the permitting of the pipeline, whether
       Wolf and his administration forced environmental protection staff to approve
       construction permits and whether Wolf or his administration received anything in
       return, those people say.

       The Mariner East pipelines are owned by Texas-based Energy Transfer LP, a
       multibillion-dollar firm that owns sprawling interests in oil and gas pipelines and
       storage and processing facilities. At a price tag of nearly $3 billion, it is one of the
       largest construction projects, if not the largest, in Pennsylvania history.

       However, the construction has spurred millions of dollars in fines, several
       temporary shutdown orders, lawsuits, protests and investigations. When
       construction permits were approved in 2017, environmental advocacy groups
       accused Wolf’s administration of pushing through incomplete permits that
       violated the law.

       429.   The Philadelphia Inquirer also reported on the FBI investigation, stating the

following in a November 12, 2019 report:

       The FBI is investigating how Gov. Tom Wolf’s administration issued
       construction permits for the $5.1 billion Mariner East project, the latest official
       inquiry into the contentious cross-state pipeline project that carries highly volatile
       gas liquids to a Delaware River export terminal.

       The federal probe has been running for at least six months and started in
       response to similar inquiries launched in the last year by the district attorneys of
       Delaware and Chester Counties as well as state Attorney General Josh Shapiro,
       according to three sources who spoke on the condition of anonymity because they
       were not authorized to publicly discuss the case.

       The FBI’s investigation, first reported by The Associated Press, has focused on
       whether Wolf administration officials forced staff of the [PDEP] to ignore
       shortcomings and approve the pipeline’s construction permits, according to the
       sources, who include current and former Wolf administration officials. A fourth
       source described the investigation as being in its preliminary stages…


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       Chester County District Attorney Thomas P. Hogan, who launched the first
       criminal probe of the pipeline’s construction last year, said Tuesday he has three
       prosecutors forging ahead. He welcomed news of the FBI’s involvement. “It
       doesn’t impact our investigation, which has been going full steam ahead,” he said.
       “However, it’s always good to see federal authorities bringing their resources to
       the table in an investigation of this complexity and magnitude.”

       430.       On this news, the price of Energy Transfer’s units dropped by approximately

6.77% over the course of the next two trading sessions, from $11.97 per unit at the close of

trading on November 11, 2019, to $11.16 per unit at the close of trading on November 13, 2019.

       431.       On November 13, 2019, the Allegheny Front published an article commenting on

the Associated Press report published the prior day and on the implications of the FBI’s

investigation, stating the following:

       Mariner East 2 went into service in December 2018. It has a long track record of
       drilling mud spills, fines and regulatory shutdowns. As of August, the [PDEP] had
       entered into several consent orders and agreements with the company resulting
       from permit violations, and issued just under 100 separate notices of violations
       resulting in more than $13 million in penalties.

                                         *      *      *

       Rich Raiders, an eminent domain attorney who has represented landowners
       fighting the pipeline, called the FBI’s investigation a “major development.” He
       said people have been concerned that “political actors” got involved in the
       permitting process.

       “The fact that the FBI is involving itself in this matter tells me that a lot of the
       questions the citizens have been raising over time have some merit or potentially
       have some merit,” Raiders said. “The permitting process seemed to be unusual in
       that the questions being asked by the agency in the late 2016 deficiency letters
       never seemed to get answered.”

       432.       On November 14, 2019, an industry news source, SNL Energy’s Daily Gas

Report, stated:

       Energy Transfer LP shares saw their highest volume of trading since April
       2016 as investors reacted to reports that the FBI is investigating Pennsylvania’s
       permitting of subsidiary Sunoco Pipeline LP’s Mariner East family of NGL
       pipelines.


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       More than 55.6 million Energy Transfer units traded hands Nov. 13, with the
       stock price down nearly 4.3% to $11.16 per share.

       FBI agents interviewed current or former state employees about the construction
       permits granted to Sunoco and whether Gov. Tom Wolf or members of his
       administration pressured environmental regulators to move the permits along, The
       Associated Press reported Nov. 12. The agents are also trying to find out whether
       Wolf or his administration gained anything in return for approving the permits,
       the report said.

       The Mariner East 2 pipeline project, which has had a string of problems with
       construction, is operating at a reduced capacity, moving NGLs to a shipping
       terminal in Marcus Hook, Pa., for export for producers. The line takes NGLs
       from Ohio, West Virginia and western Pennsylvania to Marcus Hook, on the
       Delaware River near Philadelphia.

       Mariner East 1 was shut down for three months earlier in the year after a sinkhole
       was found in a community in Chester County.

       433.    On December 3, 2019, DA Hogan’s office followed up on the earlier charges

against Constables employed as private security with charges against Energy Transfer’s head of

security for the Mariner East System, Recknagel, and four individuals associated with security

contractors TigerSwan and Ravens Knight. These serious criminal charges included bribery,

conspiracy, dealing in proceeds of an unlawful activity, violations of the Pennsylvania

Constables Act, and violations of the Pennsylvania Ethics Act. DA Hogan’s office issued a

press release, which stated:

       This is a pretty simple case. State Constables sold their badges and official
       authority. Energy Transfer bought those badges and authority, then used them as a
       weapon to intimidate citizens. And the defendants attempted to conceal their
       activity through a maze of companies and payments.

                                       *       *      *

       Energy Transfer decided they needed security for the pipeline. However, rather
       than simply hiring a private security firm, Energy Transfer decided to recruit
       and hire armed Pennsylvania Constables to act as a private security force for
       the pipeline. Pennsylvania Constables are elected officials, who are permitted to
       carry out enumerated official duties, and are governed by the Pennsylvania Ethics
       Act. Pennsylvania State Constables are not permitted to use their official
       position or badges for private security jobs.

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       434.    Although Defendants no longer claimed that the Company had not hired the

Constables, as they had when DA Hogan brought charges against the Constables, Defendants

continued to misleadingly claim that the Company’s employment of constables had been

aboveboard. As the Philadelphia Inquirer stated in a December 3, 2019 article:

       Vicki A. Granado, a spokesperson for Energy Transfer Partners, said . . . local
       law enforcement officials did not object to the company’s plan to hire
       constables when it was discussed with them. Later Tuesday, West Whiteland
       Township police said they were unaware that the company had hired constables
       for security. Energy Transfer, they said, told them the company had hired a
       private security firm.

       435.    News of the charges against Recknagel and the security contractors caused

Energy Transfer’s unit price to fall from $11.63 per unit at market close on December 2, 2019,

to $11.40 per unit at market close on December 3, 2019, a decline of 2%.

       436.    On January 27, 2020, the Guardian published an article commenting on the

current state of affairs regarding the ME2 permits and the FBI’s investigation, and further

highlighting the dubiousness of the permit approvals in light of the controversies and

misconduct surrounding the pipeline. 12 The article stated the following, in relevant part:

       Sam Rubin, from Food and Water Watch, said: “There have been questions about
       the quality of the permits since they were granted in 2014 … there is a pattern of
       malfeasance that is established and known which was overlooked when permits
       were granted by the DEP and Wolf administration.”

                                          *       *       *

       Still, the project is also subject to criminal and civil investigations, which include:

           •   A FBI corruption investigation into Wolf’s administration handling of the
               permit process.

           •   State and county investigations into alleged corruption, criminal
               misconduct and environmental crimes.

_________________________________
12
        https://www.theguardian.com/us-news/2020/jan/27/pennsylvania-residents-mariner-east-
pipelines-drinking-water-contamination (last visited July 29, 2020).
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           •   At the end of 2019, security personnel working with Energy Transfer
               were charged with bribery and criminal conspiracy for allegedly
               recruiting, hiring, and hiding payments to state police officers. The
               company says the charges have no merit.

           •   A homeowner is suing Sunoco, claiming its drilling punctured the aquifer
               supplying his water well and led to E coli contamination that made him
               ill[.]

           •   Residents who live close to the pipeline – known as the Safety Seven –
               have an ongoing case with the regulator, the PUC, to shut down the
               project on the grounds it poses unacceptable safety risks, and the company
               has failed to develop a credible evacuation plan.

                           DAMAGES TO ENERGY TRANSFER

       437.    As a direct and proximate result of the General Partner and the Individual

Defendants’ conduct, Energy Transfer will lose and expend many millions of dollars.

       438.    These expenditures include, but are not limited to, legal fees associated with the

Securities Class Action filed against the Company and certain of the Individual Defendants, and

any internal investigations, and amounts paid to outside lawyers, accountants, and investigators

in connection thereto.

       439.    These expenditures also include, but are not limited to, any fees associated with

the FBI’s corruption investigation, the Chester County District Attorney’s investigation, the

Delaware County District Attorney’s investigation, the Pennsylvania Attorney General’s

investigation, the U.S. Attorney for the Western District of Pennsylvania’s investigations, and

any other governmental, regulatory, or criminal investigations or proceedings initiated in

connection with the Pipeline Misconduct, as well as additional costs caused by stop work

injunctions and other regulatory delays.

       440.    Additionally, these costs include the “historic” $12.6 million and $30.6 million

fines from PDEP, as well as many millions of dollars in other fines and cost from PDEP,

WCCD, and other governmental, regulatory, or criminal investigations or proceedings initiated

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in connection with the Company’s environmental misconduct, and amounts and settlements

paid out to parties affected by Defendants’ misconduct, such as the $800,000 spent to purchase

just two of the Lisa Drive homes that suffered severe sinkholes.

       441.    These expenditures further include costs related to the civil litigation brought by

affected parties such as the Lisa Drive homeowners’ suit, State Senator Dinniman and

environmental advocates’ suits, and suits brought by customers including EdgeMarc and

PennEnergy.

       442.    As a direct and proximate result of the General Partner and the Individual

Defendants’ conduct, Energy Transfer has also suffered and will continue to suffer a loss of

reputation and goodwill, and a “liar’s discount” that will plague the Company’s stock in the

future due to the Company’s and their misrepresentations and the Individual Defendants’

breaches of fiduciary duties and unjust enrichment.

                                DERIVATIVE ALLEGATIONS

       443.    Plaintiffs bring this action derivatively and for the benefit of Energy Transfer to

redress injuries suffered, and to be suffered, as a result of the Defendants’ breaches of their

fiduciary duties as general partner and directors and/or officers of Energy Transfer, gross

mismanagement, abuse of control, waste of corporate assets, unjust enrichment, as well as the

aiding and abetting thereof.

       444.    Energy Transfer is named solely as a nominal party in this action. This is not a

collusive action to confer jurisdiction on this Court that it would not otherwise have.

       445.    Plaintiffs are, and have been at all relevant times, unitholders of Energy Transfer.

Plaintiffs will adequately and fairly represent the interests of Energy Transfer in enforcing and

prosecuting its rights, and, to that end, have retained competent counsel, experienced in

derivative litigation, to enforce and prosecute this action.
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                               DEMAND FUTILITY ALLEGATIONS

        446.    Plaintiffs incorporate by reference and re-allege each and every allegation stated

above as if fully set forth herein.

        447.    A pre-suit demand on the General Partner is futile and, therefore, excused.

Demand is excused as to the General Partner because Defendant LE GP faces a significant

likelihood of liability as a result of its knowing engagement in the Pipeline Misconduct and the

scheme to cause the Company to make false and misleading statements and omissions of

material fact to the investors and the general public that falsely represented the Company’s

performance and value. As the primary controller and beneficiary of the above-alleged schemes,

the General Partner benefited at the expense of the Company. As the General Partner breached

its fiduciary duties to the Company, it faces a substantial likelihood of liability, and it is not

independent or disinterested, and thus demand on the General Partner is futile.

        448.    Additionally, as the Company admitted in its 2019 10-K, the General Partner and

its affiliates have conflicts of interests, which may cause them to favor their own interests to the

detriment of the Company and its unitholders. The 2019 10-K stated the following:

        Conflicts of interest may arise among our general partner and its affiliates, on the
        one hand, and us, on the other hand. As a result of these conflicts, our general
        partner may favor its own interests and the interests of its affiliates over our
        interests.

        449.    As a result of the foregoing, the General Partner breached its fiduciary duties,

faces a substantial likelihood of liability in this Action, is not disinterested, and demand upon it

is futile, and thus excused.

        450.    Additional reasons that demand on the General Partner is futile follow.

        451.    First, all of the directors on the Board of the General Partner have fiduciary

duties to the General Partner, and in controlling the General Partner, they would cause it not to


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consider a demand fairly because granting the demand would damage it.

       452.    Second, the majority of the Board of the General Partner is not independent or

disinterested, as each of them either knowingly or recklessly participated in the conduct alleged

herein, in complete abdication of their fiduciary duties to the Company, which renders them

unable to impartially investigate the charges and decide whether to pursue action against

themselves and the General Partner. At the time of filing of this action, the Board of directors of

the General Partner consisted of Defendants Warren, Long, McReynolds, McCrea, Ramsey,

Anderson, Brannon, Davis, Grimm, and Washburne (the “Director-Defendants”), along with

non-party James R. (Rick) Perry (together, the “Directors”). The Pipeline Projects were of

enormous financial importance to the Company, and were intensely scrutinized by investors and

by the media during the Relevant Period. As such, each of the Director-Defendants—who held

themselves out as knowledgeable with respect to the Company’s business and operations—

certainly would have been fully aware of the Pipeline Misconduct and the other highly material,

yet undisclosed issues with the Pipeline Projects described herein.

       453.    Additional reasons that Defendant Warren is not independent or disinterested

follow. Defendant Warren is a co-founder of the Company, and has served as the General

Partner’s Chairman and CEO since 2007. He is also the majority owner of the General Partner.

Thus, as the Company admits, he is a non-independent director. Defendant Warren was

ultimately responsible for all of the false and misleading statements and omissions that were

made, including those contained in the SEC filings referenced herein, all of which he signed or

authorized the signing of. As the General Partner’s highest officer and as a trusted Director, he

conducted little, if any, oversight of the Pipeline Misconduct and the scheme to make false and

misleading statements, consciously disregarded his duties to monitor such controls over



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reporting and engagement in the schemes, and consciously disregarded his duties to protect

corporate assets. Moreover, Defendant Warren is a defendant in the Securities Class Action.

For these reasons, Defendant Warren breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus would not cause the General

Partner to consider a demand fairly.

       454.    Additional reasons that Defendant Long is not independent or disinterested

follow. Defendant Long has served as the General Partner’s CFO since February 2016, and has

served as a director of the General Partner since April 2019. Thus, as the Company admits, he is

a non-independent director. The General Partner provides Defendant Long with his principal

occupation, and he receives handsome compensation, including $6,609,967 in 2018 and

$4,845,208 in 2019 for his services. As such, Defendant Long is beholden to the General

Partner. As the General Partner’s CFO and as a trusted Director, he conducted little, if any,

oversight of the Pipeline Misconduct and the scheme to make false and misleading statements,

consciously disregarded his duties to monitor such controls over reporting and engagement in

the schemes, and consciously disregarded his duties to protect corporate assets. Furthermore,

Defendant Long signed, and thus personally made the false and misleading statements in the

2016 10-K, the 2017 10-K, and the 2018 10-K. Moreover, Defendant Long is a defendant in the

Securities Class Action. For these reasons, Defendant Long breached his fiduciary duties, faces

a substantial likelihood of liability, is not independent or disinterested, and thus would not cause

the General Partner to consider a demand fairly.

       455.    Additional reasons that Defendant McReynolds is not independent or

disinterested follow. Defendant McReynolds served as the President of the General Partner from

March 2005 until October 2018, on which date he became Special Advisor to the General



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Partner. He has also served as a director of the General Partner since August 2005. Thus, as the

Company admits, he is a non-independent director. The General Partner provides Defendant

McReynolds with his principal occupation, and he receives handsome compensation, including

$1,422,273 in 2018 for his services. As such, Defendant McReynolds is beholden to the General

Partner. As the General Partner’s President and as a trusted Director, he conducted little, if any,

oversight of the Pipeline Misconduct and the scheme to make false and misleading statements,

consciously disregarded his duties to monitor such controls over reporting and engagement in

the schemes, and consciously disregarded his duties to protect corporate assets. Furthermore,

Defendant McReynolds signed, and thus personally made the false and misleading statements in

the 2016 10-K, the 2017 10-K, and the 2018 10-K. Moreover, Defendant McReynolds is a

defendant in the Securities Class Action. For these reasons, Defendant McReynolds breached

his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus would not cause the General Partner to consider a demand fairly.

       456.    Additional reasons that Defendant McCrea is not independent or disinterested

follow. Defendant McCrea has served as the President and CCO of the General Partner since

October 2018, and has served as a director of the General Partner since December 2009. Thus,

as the Company admits, he is a non-independent director. The General Partner provides

Defendant McCrea with his principal occupation, and he receives handsome compensation,

including $10,780,120 in 2018 and $11,601,341 in 2019 for his services. As such, Defendant

McCrea is beholden to the General Partner. As the General Partner’s President and CCO, and as

a trusted Director, he conducted little, if any, oversight of the Pipeline Misconduct and the

scheme make false and misleading statements, consciously disregarded his duties to monitor

such controls over reporting and engagement in the schemes, and consciously disregarded his



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duties to protect corporate assets. Furthermore, Defendant McCrea signed, and thus personally

made the false and misleading statements in the 2016 10-K, the 2017 10-K, and the 2018 10-K.

Moreover, Defendant McCrea is a defendant in the Securities Class Action. For these reasons,

Defendant McCrea breached his fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus would not cause the General Partner to consider a

demand fairly.

       457.      Additional reasons that Defendant Ramsey is not independent or disinterested

follow. Defendant Ramsey has served as the COO of the General Partner since October 2018,

and has served as a director of the General Partner since July 2012. Thus, as the Company

admits, he is a non-independent director. The General Partner provides Defendant Ramsey with

his principal occupation, and he receives handsome compensation, including $4,400,195 in

2018 and $4,715,743 in 2019 for his services. As such, Defendant Ramsey is beholden to the

General Partner. As the General Partner’s COO and as a trusted Director, he conducted little, if

any, oversight of the Pipeline Misconduct and the scheme to make false and misleading

statements, consciously disregarded his duties to monitor such controls over reporting and

engagement in the schemes, and consciously disregarded his duties to protect corporate assets.

Furthermore, Defendant Ramsey signed, and thus personally made the false and misleading

statements in the 2016 10-K, the 2017 10-K, and the 2018 10-K. Moreover, Defendant Ramsey

is a defendant in the Securities Class Action. For these reasons, Defendant Ramsey breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus would not cause the General Partner to consider a demand fairly.

       458.      Additional reasons that Defendant Anderson is not independent or disinterested

follow. Defendant Anderson has served as a director of the General Partner since June 2018.



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Defendant Anderson has received and continues to receive compensation for his roles with the

Company as described above. As a trusted Director, he conducted little, if any, oversight of the

Pipeline Misconduct and the scheme to make false and misleading statements, consciously

disregarded his duties to monitor such controls over reporting and engagement in the schemes,

and consciously disregarded his duties to protect corporate assets. Furthermore, Defendant

Anderson signed, and thus personally made the false and misleading statements in the 2018 10-

K. For these reasons, Defendant Anderson breached his fiduciary duties, faces a substantial

likelihood of liability, is not independent or disinterested, and thus would not cause the General

Partner to consider a demand fairly.

       459.    Additional reasons that Defendant Brannon is not independent or disinterested

follow. Defendant Brannon has served as a director of the General Partner since March 2016.

Defendant Brannon has received and continues to receive compensation for his roles with the

Company as described above. As a trusted Director, he conducted little, if any, oversight of the

Pipeline Misconduct and the scheme to make false and misleading statements, consciously

disregarded his duties to monitor such controls over reporting and engagement in the schemes,

and consciously disregarded his duties to protect corporate assets. Furthermore, Defendant

Brannon signed, and thus personally made the false and misleading statements in the 2016 10-

K, the 2017 10-K, and the 2018 10-K. For these reasons, Defendant Brannon breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus would not cause the General Partner to consider a demand fairly.

       460.    Additional reasons that Defendant Davis is not independent or disinterested

follow. Defendant Davis is a co-founder of the Company, and has served as a director of the

General Partner since July 2018. Defendant Davis has received and continues to receive



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compensation for his roles with the Company as described above. As a trusted Director, he

conducted little, if any, oversight of the Pipeline Misconduct and the scheme to make false and

misleading statements, consciously disregarded his duties to monitor such controls over

reporting and engagement in the schemes, and consciously disregarded his duties to protect

corporate assets. Furthermore, Defendant Davis signed, and thus personally made the false and

misleading statements in the 2018 10-K. For these reasons, Defendant Davis breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus would not cause the General Partner to consider a demand fairly.

       461.    Additional reasons that Defendant Grimm is not independent or disinterested

follow. Defendant Grimm has served as a director of the General Partner since October 2018.

Defendant Grimm has received and continues to receive compensation for his roles with the

Company as described above. As a trusted Director, he conducted little, if any, oversight of the

Pipeline Misconduct and the scheme to make false and misleading statements, consciously

disregarded his duties to monitor such controls over reporting and engagement in the schemes,

and consciously disregarded his duties to protect corporate assets. Furthermore, Defendant

Grimm signed, and thus personally made the false and misleading statements in the 2018 10-K.

For these reasons, Defendant Grimm breached his fiduciary duties, faces a substantial likelihood

of liability, is not independent or disinterested, and thus would not cause the General Partner to

consider a demand fairly.

       462.    Additional reasons that Defendant Washburne is not independent or disinterested

follow. Defendant Washburne has served as a director of the General Partner since April 2019.

As a trusted Director, he conducted little, if any, oversight of the Pipeline Misconduct and the

scheme to make false and misleading statements, consciously disregarded his duties to monitor



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such controls over reporting and engagement in the schemes, and consciously disregarded his

duties to protect corporate assets.     For these reasons, Defendant Washburne breached his

fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus would not cause the General Partner to consider a demand fairly.

       463.    Additional reasons that the Director-Defendants are not independent or

disinterested follow.

       464.    The Directors-Defendants control the General Partner and have longstanding

business and personal relationships with each other and the Individual Defendants that preclude

them from acting independently.

       465.    In violation of the Code of Conduct, the Director-Defendants conducted little, if

any, oversight of the Company’s internal controls over public reporting, of the Company’s

engagement in the Pipeline Misconduct, of the scheme to issue materially false and misleading

statements to the public, and of the scheme to facilitate and disguise the Defendants’ violations

of law, including breaches of fiduciary duty, unjust enrichment, abuse of control, gross

mismanagement, and waste of corporate assets. In violation of the Code of Conduct, the

Director-Defendants failed to comply with the law. Thus, the Director-Defendants face a

substantial likelihood of liability and are not independent or disinterested.

       466.    In violation of the Code of Ethics, Defendants Warren and Long conducted little,

if any, oversight of the Company’s internal controls over public reporting and of the Company’s

engagement in the scheme to allow the Company to make use of permits that were obtained

through the use of coercion, bribery, or other improper methods, and to issue materially false

and misleading statements to the public and to facilitate and disguise the Defendants’ violations

of law, including breaches of fiduciary duty, unjust enrichment, abuse of control, gross



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mismanagement, and waste of corporate assets. In violation of the Code of Ethics, Defendants

Warren and Long failed to comply with the law. Thus, Defendants Warren and Long face a

substantial likelihood of liability and are not independent or disinterested.

       467.    Energy Transfer has been and will continue to be exposed to significant losses

due to the wrongdoing complained of herein, yet the General Partner has not filed any lawsuits

against itself or others who were responsible for that wrongful conduct to attempt to recover for

Energy Transfer any part of the damages Energy Transfer suffered and will continue to suffer

thereby. Thus, any demand upon the General Partner would be futile.

       468.    The Defendants’ conduct described herein and summarized above could not have

been the product of legitimate business judgment as it was based on bad faith and intentional,

reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim exculpation

from their violations of duty pursuant to the Company’s Partnership Agreement (to the extent

such a provision exists). As a majority of the Directors face a substantial likelihood of liability,

they are self-interested in the transactions challenged herein and cannot be presumed to be

capable of exercising independent and disinterested judgment about whether to cause the

General Partner to pursue this action on behalf of the unitholders of the Company.

       469.    The acts complained of herein constitute violations of fiduciary duties owed by

the General Partner and its officers and directors, and these acts are incapable of ratification.

       470.    The Director-Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the unitholders of Energy Transfer. If there is a directors’ and

officers’ liability insurance policy covering the Directors, it may contain provisions that



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eliminate coverage for any action brought directly by the Company against the Directors,

known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the Director-

Defendants were to cause the General Partner to sue themselves or certain of the officers of the

General Partner, there would be no directors’ and officers’ insurance protection. Accordingly,

the Director-Defendants cannot be expected to cause the General Partner to bring such a suit.

On the other hand, if the suit is brought derivatively, as this action is brought, such insurance

coverage, if such an insurance policy exists, will provide a basis for the Company to effectuate a

recovery. Thus, demand on the General Partner is futile and, therefore, excused.

       471.       If there is no directors’ and officers’ liability insurance, then the Director-

Defendants will not cause General Partner to sue the Defendants named herein, since, if they

did, they would face a large uninsured individual liability. Accordingly, demand is futile in that

event, as well.

       472.       Thus, for all of the reasons set forth above, the General Partner cannot consider a

demand with disinterestedness and independence. Consequently, a demand upon the General

Partner is excused as futile.

                                           FIRST CLAIM

                        Against Defendants for Breach of Fiduciary Duties

       473.       Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       474.       Defendants owed to the Company the duty to exercise candor, good faith, and

loyalty in the management and administration of Energy Transfer’s business and affairs.

       475.       Defendants violated and breached their fiduciary duties of candor, good faith,

loyalty, reasonable inquiry, oversight, and supervision.



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        476.    Defendants’ conduct set forth herein was due to their intentional, reckless, or

negligent breach of the fiduciary duties they owed to the Company, as alleged herein.

Defendants intentionally, recklessly, or negligently breached or disregarded their fiduciary

duties to protect the rights and interests of Energy Transfer.

        477.    In breach of their fiduciary duties owed to Energy Transfer, Defendants willfully

or recklessly caused the Company to make use of permits that were obtained through the use of

coercion, bribery, or other improper methods, and make false and misleading statements and

omissions of material fact that that failed to disclose, inter alia, that: (i) the construction permits

issued by PDEP in connection with the ME2 and ME2X were obtained by the Company through

the use of coercion, bribery, or other improper methods; (ii) construction of the Company’s

pipelines was not conducted in conformity with the Company’s permits and violated both the

permits and applicable laws and regulations; (iii) the Company had in place an “unwritten

policy” to hire on-duty law enforcement officials to provide private security for its Pipeline

Projects, which constituted bribery and violated numerous laws; (iv) the foregoing misconduct

substantially increased the risk that the Company would be subjected to material investigations

and/or litigation commenced by government authorities and others; and (v) the Company failed

to maintain internal controls. As a result of the foregoing, the Company’s public statements

were materially false and misleading at all relevant times.

        478.    Defendants failed to correct and/or caused the Company to fail to rectify any of

the wrongs described herein or correct the false and/or misleading statements and omissions of

material fact referenced herein, rendering them personally liable to the Company for breaching

their fiduciary duties.




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       479.    Also in breach of their fiduciary duties, Defendants failed to maintain an

adequate system of oversight, disclosure controls and procedures, and internal controls.

       480.    Defendants had actual or constructive knowledge that they had caused the

Company to improperly engage in the fraudulent scheme set forth herein and to fail to maintain

adequate internal controls. Defendants had actual knowledge that the Company was engaging

in the fraudulent scheme set forth herein, and that internal controls were not adequately

maintained, or acted with reckless disregard for the truth, in that they caused the Company to

improperly engage in the fraudulent scheme and to fail to maintain adequate internal controls,

even though such facts were available to them.           Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of

Energy Transfer’s units and benefitting third parties.

       481.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       482.    As a direct and proximate result of Defendants’ breaches of their fiduciary

obligations, Energy Transfer has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, Defendants are liable to the Company.

       483.    Plaintiffs on behalf of Energy Transfer have no adequate remedy at law.

                                        SECOND CLAIM

                          Against Defendants for Unjust Enrichment

       484.    Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       485.    By their wrongful acts, violations of law, and false and misleading statements

and omissions of material fact that they made and/or caused to be made, the Defendants were

unjustly enriched at the expense of, and to the detriment of, Energy Transfer.

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       486.    The Defendants either benefitted financially from the improper conduct,

including from the receipt of bonuses, unit options, or similar compensation from the General

Partner that was tied to the performance or artificially inflated valuation of Energy Transfer, or

received compensation that was unjust in light of the Defendants’ bad faith conduct.

       487.    Plaintiffs, as unitholder and representatives of Energy Transfer, seek restitution

from the Defendants and seek an order from this Court disgorging all profits, including from

benefits and other compensation, including any performance-based or valuation-based

compensation, obtained by the Defendants due to their wrongful conduct and breach of their

fiduciary and contractual duties.

       488.    Plaintiffs on behalf of Energy Transfer have no adequate remedy at law.

                                         THIRD CLAIM

                           Against Defendants for Abuse of Control

       489.    Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       490.    Defendants’ misconduct alleged herein constituted an abuse of their ability to

control and influence Energy Transfer, for which they are legally responsible.

       491.    As a direct and proximate result of Defendants’ abuse of control, Energy

Transfer has sustained significant damages. As a direct and proximate result of Defendants’

breaches of their fiduciary obligations of candor, good faith, and loyalty, Energy Transfer has

sustained and continues to sustain significant damages. As a result of the misconduct alleged

herein, Defendants are liable to the Company.

       492.    Plaintiffs on behalf of Energy Transfer have no adequate remedy at law.




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                                       FOURTH CLAIM

                        Against Defendants for Gross Mismanagement

       493.    Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       494.    By its actions alleged herein, Defendants, either directly or through aiding and

abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard to

prudently managing the assets and business of Energy Transfer in a manner consistent with the

operations of a limited partnership.

       495.    As a direct and proximate result of Defendants’ gross mismanagement and

breaches of duty alleged herein, Energy Transfer has sustained and will continue to sustain

significant damages.

       496.    As a result of the misconduct and breaches of duty alleged herein, Defendants

are liable to the Company.

       497.    Plaintiffs on behalf of Energy Transfer have no adequate remedy at law.

                                         FIFTH CLAIM

                       Against Defendants for Waste of Corporate Assets

       498.    Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       499.    As a result of the foregoing, and by failing to properly consider the interests of

the Company and its public unitholders, Defendants have caused Energy Transfer to waste

valuable corporate assets, to incur many millions of dollars of regulatory fines (including, inter

alia, the largest single fine ever levied by the DEP), to incur many millions of dollars of legal

liability and costs to defend unlawful actions, to engage in internal investigations, and to lose



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financing from investors and business from future customers who no longer trust the Company

and its products.

       500.    As a result of the waste of corporate assets, the Defendants are each liable to the

Company.

       501.    Plaintiffs on behalf of Energy Transfer have no adequate remedy at law.

                                         SIXTH CLAIM

        Against Defendants Warren, Long, McReynolds, McCrea, and Ramsey for
              Contribution Under Sections 10(b) and 21D of the Exchange Act

       502.    Plaintiffs incorporate by reference and re-allege each and every allegation set

forth above, as though fully set forth herein.

       503.    Energy Transfer, along with Defendants Warren, Long, McReynolds, McCrea,

and Ramsey are named as defendants in the Securities Class Action, which asserts claims under

the federal securities laws for violations of Sections 10(b) and 20(a) of the Exchange Act, and

SEC Rule 10b-5 promulgated thereunder. If and when the Company is found liable in the

Securities Class Action for these violations of law, the Company’s liability will be in whole or

in part due to Defendants Warren, Long, McReynolds, McCrea, and Ramsey’s willful and/or

reckless violations of their obligations as officers and directors of Energy Transfer.

       504.    Through their positions of control and authority as officers and directors of

Energy Transfer, Defendants Warren, Long, McReynolds, McCrea, and Ramsey were able to

and did, directly and/or indirectly, exercise control over the business and corporate affairs of the

Company, including the wrongful acts described in the Securities Class Action and herein.

       505.    As such, Defendants Warren, Long, McReynolds, McCrea, and Ramsey are

liable under 15 U.S.C. § 78j(b), which creates a private right of action for contribution, and



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Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a

private right of action for contribution arising out of violations of the Exchange Act.

       506.    Accordingly, the Company is entitled to receive all appropriate contribution or

indemnification from Defendants Warren, Long, McReynolds, McCrea, and Ramsey.

                                    PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiffs demand judgment in the Company’s favor against

all Defendants as follows:

               (a)     Declaring that Plaintiffs may maintain this action on behalf of Energy

Transfer, and that Plaintiffs are adequate representatives of the Company;

               (b)     Declaring that the Defendants have breached their fiduciary duties to

Energy Transfer;

               (c)     Determining and awarding to Energy Transfer the damages sustained by

it as a result of the violations set forth above from each of the Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;

               (d)     Directing Energy Transfer and the Defendants to take all necessary

actions to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect Energy Transfer and its unitholders from a repeat of the

damaging events described herein, including, but not limited to, putting forward for unitholder

vote the following resolutions for amendments to the Company’s Partnership Agreement and

the following actions as may be necessary to ensure proper corporate governance policies:

                       1.      a proposal to strengthen Defendant LE GP’s Board’s supervision

               of operations and develop and implement procedures for greater unitholder input

               into the policies and guidelines of the Board;



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                       2.     a provision to permit the unitholders of Energy Transfer to

               nominate at least six candidates for election to the Board; and

                       3.     a proposal to ensure the establishment of effective oversight of

               compliance with applicable laws, rules, and regulations.

               (e)     Awarding Energy Transfer restitution from Defendants, and each of

them;

               (f)     Awarding Plaintiffs the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)     Granting such other and further relief as the Court may deem just and

proper.


                                     JURY TRIAL DEMANDED

Plaintiffs hereby demand a trial by jury.


Dated: September 8, 2020                     Respectfully submitted,

                                             STECKLER GRESHAM COCHRAN PLLC


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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on Defendants’ counsel

of record via the Court’s Electronic Case Filing system on this the 9th day of September, 2020.

                                            /s/ R. Dean Gresham
                                            R. Dean Gresham




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